Case 1:18-md-02865-LAK   Document 813-2   Filed 06/10/22   Page 1 of 114




                         Exhibit 2
  Case 1:18-md-02865-LAK   Document 813-2      Filed 06/10/22   Page 2 of 114




CONFIDENTIAL PURSUANT TO RULE 26(C) PROTECTIVE ORDER



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



In re

CUSTOMS AND TAX ADMINISTRATION OF THE             MASTER DOCKET
KINGDOM OF DENMARK (SKATTEFORVALTNINGEN)
TAX REFUND SCHEME LITIGATION                      18-md-2865 (LAK)




              REBUTTAL EXPERT REPORT OF GRAHAM WADE

                            FEBRUARY 1, 2022
       Case 1:18-md-02865-LAK                           Document 813-2                     Filed 06/10/22                 Page 3 of 114



Table of Contents

I.      INTRODUCTION .......................................................................................................................... 1
II.     SUMMARY OF OPINIONS ON DR. CARR’S AND MR. WARREN’S REPORTS ..............2
        A.           Summary of Opinions on Dr. Carr’s Report.................................................................2
        B.           Summary of Opinions on Mr. Warren’s Report ...........................................................3
III.    BASES FOR OPINIONS ON DR. CARR’S REPORT ...............................................................4
        A.       Opinion 1: The Solo Transactions Were Not Real, but Even if They Were, Dr. Carr
        Fails to Recognize That They Were Not Commercial, Arm’s-Length Transactions ...............6
              1.     There Were No Shares ....................................................................................................... 6
              2.     The Trades Were Not and Could Not be Settled ...............................................................9
              3.     There Were No Dividends ............................................................................................... 11
              4.     Credit Terms Were Ignored or Not on an Arm’s-Length Basis .......................................12
              5.     These Were Not Genuine Investment Strategies by the Pension Plans ...........................19
              6.     The Number of Shares and Financing Arrangements Were Implausible ........................22
        B.      Opinion 2: The Counterparties to Solo Were Not Genuine Arm’s-Length Market
        Participants with the Financial Capacity to Conduct the Purported Solo Trades with the
        Pension Plans ................................................................................................................................ 27
              1.     The Kaye Scholer Plans ................................................................................................... 27
              2.     The Amalthea Counterparty............................................................................................. 30
              3.     The Colbrook Counterparty ............................................................................................. 33
        C.       Opinion 3: The Solo Trades Were Not Dividend Arbitrage Strategies of the Sort
        Cited to in the Academic Literature That Dr. Carr Cites ........................................................ 34
        D.        Opinion 4: Dr. Carr’s trade analysis, which is based on the selective review of parts
        of the circular Solo trades, is incomplete, incorrect, and substantially misrepresents the two
        transactions he analyzed. This narrow approach also ignores the obvious circularity of the
        fabricated Cum-Ex scheme. All of the opinions in respect of the Solo Transactions in the
        Wade Initial Report apply equally to these transactions. ........................................................ 42
              1.     The RJM MAERSKB 2013 Transaction ......................................................................... 42
              2.     Proper Pacific CHRH 2014 Transaction .......................................................................... 51
              3.     Basalt Ventures MAERSKB 2015 Transaction ............................................................... 57
        E.       Opinion 5: Dr. Carr Ignores the Fact That Designing the Cum-Ex Transactions to
        Include Multiple Pension Plans and IDBs Appears to Have Had No Legitimate Purpose
        Other than to Further Conceal the Scale and Deception of the Trades. Numerous Aspects
        of Their Design Raise Regulatory Concerns Related to: Money Laundering, Know Your
        Customer (“KYC”) Rules, Prearranged Wash Trading in Futures and Netting Practices,
        Position Size Disclosure Requirements and Restrictions, and Capital Requirements. These
        transactions could only have been executed because their structural improprieties were
        disregarded by participants in the first place. ........................................................................... 62




                                                                          ii
      Case 1:18-md-02865-LAK                             Document 813-2                      Filed 06/10/22                 Page 4 of 114



         F.      Opinion 6: Dr. Carr’s Understanding of the Nature of Cum-Ex Transactions and
         the Meaning of Ex-Dividend Date Are Both Wrong and Undermine the Analysis Which
         Flows from These Errors ............................................................................................................. 72
IV.      SUMMARY OF OPINIONS ON MR. WARREN’S REPORT ................................................78
         A.           Background .................................................................................................................... 78
         B.           Organization of My Response to the Warren Report .................................................81
         C.           Summary of Opinions Related to the Warren Report................................................82
         D.     Comparison of Nomenclature and Categorization Mapping in the Warren and
         Wade Initial Reports .................................................................................................................... 83
         E.           Background on SWIFT Messages ................................................................................ 85
               1.     SWIFT Message Format .................................................................................................. 86
               2.     SWIFT MT566 Messages ................................................................................................ 86
               3.     SWIFT MT545 Messages ................................................................................................ 88
         F.       Explanation of The Analysis Performed in Respect of the Transactions in TDC
         shares in March 2014 ................................................................................................................... 90
V.       BASES FOR OPINIONS ON MR. WARREN’S REPORT ..................................................... 93
         A.      Opinion 7: The Custody Records Show That the Only TDC Shares That ED&F
         Man Actually Owned Over the March 11, 2014 Record Date Were Those from Cum-Cum
         Transactions .................................................................................................................................. 93
         B.       Opinion 8: For the Reasons Given in the Wade Initial Report and Expanded on
         Further Below, the Pension Plans Never Acquired the Shares Related to the Tax Vouchers
         Issued by ED&F Man for the Cum-Ex Transactions but Instead Settled the Cum-Ex
         Transactions in Matching, Same Day, In-and-Out, Small Shapes of Shares which Facilitated
         Settling Large Transactions with a Much Smaller Quantity of Shares ...................................95
         C.      Opinion 9: The Only Real Dividends Received by ED&F Man in respect of TDC
         shares on March 12, 2014 Were from The Cum-Cum Transactions. The Pension Plans Did
         Not Receive Any Real Dividends in Respect of the Cum-Ex Transactions, and, in Fact, the
         Analysis Produced in the Warren Report Supports This Conclusion and Is Consistent with
         the Opinions I Expressed in the Wade Initial Report on This Matter ....................................99
               1.     Extension of TDC March 2014 Conclusions to Other Dividend Events .......................101
Appendix A: Materials Considered ...................................................................................................... 105




                                                                            iii
    Case 1:18-md-02865-LAK         Document 813-2   Filed 06/10/22   Page 5 of 114



List of Appendices

Appendix A: Materials Considered




                                           iv
     Case 1:18-md-02865-LAK                  Document 813-2             Filed 06/10/22          Page 6 of 114




I.       INTRODUCTION

1.       I have been asked by Counsel for SKAT, the Customs and Tax Administration of the Kingdom

of Denmark, to respond to the reports of Mr. Adam L. Warren (“Warren Report”) and Dr. Emre Carr

(“The Carr Report”), dated December 31, 2021. For purposes of this report, I incorporate the definitions,

background, analyses, and opinions detailed in my report dated December 31, 2021 (“Wade Initial

Report”). 1 My qualifications were detailed in Section II of the Wade Initial Report and my curriculum

vitae was also included in that report as Appendix A.


2.       I affirm that this report is my independent work product and contains my objective unbiased

opinions in relation to matters within my expertise. I believe that the facts and analyses stated in this

expert report are true, and the opinions I have expressed represent my true and complete professional

opinions.


3.       I have prepared this report to state my expert opinions; to describe the bases for those opinions

and the reasons underlying them; to disclose the facts and data which I considered in reaching my

opinions; and to make all other appropriate disclosures. My opinions in this report are based on

specialized knowledge arising from my education, training, study, and experience (which is set out in

Section II of the Wade Initial Report). I express no legal opinions in this report and the information in

this report is based upon discovery to date and the information that is currently available. I have

considered and compiled materials as cited herein with the assistance of various CRAI personnel working

under my direction and supervision. 2 In addition to the materials considered in the Wade Initial Report,

a listing of additional materials that I have considered for this matter as of the date of this report is



1
 See, Expert Report of Graham Wade In re Customs and Tax Administration of the Kingdom of Denmark
(Skatteforvaltningen) Tax Refund Scheme Litigation, December 31, 2021.
2
 I confirm that all opinions which I express in this report are mine alone, and not necessarily reflective of the
opinions of CRAI or any of its personnel.


                                                           1
     Case 1:18-md-02865-LAK                 Document 813-2           Filed 06/10/22      Page 7 of 114



contained in Appendix A, as well as the citations in the footnotes to the text and tables presented in this

report.


4.        The remainder of this report is organized as follows. In Section II I summarize my opinions in

response to Dr. Carr’s and Mr. Warren’s reports. In Section III, I offer opinions specific to Dr. Carr’s

Report. In Sections IV and V, I offer opinions specific to Mr. Warren’s Report.


5.        Throughout this report capitalized terms which are not otherwise defined take their meaning from

the Wade Initial Report.



      II.        SUMMARY OF OPINIONS ON DR. CARR’S AND MR. WARREN’S REPORTS


          A.       Summary of Opinions on Dr. Carr’s Report

6.        The following are my opinions on the Carr Report:


               1. Opinion 1: The Solo transactions were not real, but even if they were, Dr. Carr fails to

                   recognize that they were not commercial, arm’s-length transactions.


               2. Opinion 2: The counterparties to Solo were not genuine arm’s-length market participants

                   with the financial capacity to conduct the purported Solo trades with the Pension Plans.


               3. Opinion 3: The Solo transactions were not dividend arbitrage strategies of the kind

                   referred to in the academic literature that Dr. Carr cites.


               4. Opinion 4: Dr. Carr’s trade analysis, which is based on the selective review of parts of

                   the circular Solo trades, is incomplete, incorrect, and substantially misrepresents the two

                   transactions he analyzed. This narrow approach also ignores the obvious circularity of

                   the fabricated Cum-Ex scheme. All of the opinions in respect of the Solo Transactions

                   in the Wade Initial Report apply equally to these transactions.



                                                         2
     Case 1:18-md-02865-LAK               Document 813-2         Filed 06/10/22        Page 8 of 114



            5. Opinion 5: Dr. Carr ignores the fact that designing the Cum-Ex transactions to include

                 multiple pension plans and IDBs appears to have had no legitimate market purpose other

                 than to further conceal the scale and deception of the trades. Numerous aspects of their

                 design raise regulatory concerns related to money laundering, Know Your Customer

                 (“KYC”) rules, prearranged wash trading in futures and netting practices, position size

                 disclosure requirements and restrictions, and capital requirements. These transactions

                 could only have been executed because their structural improprieties were disregarded

                 by participants in the first place.


            6. Opinion 6: Dr. Carr’s understanding of the nature of Cum-Ex transactions and the

                 meaning of Ex-Dividend Date are both wrong and undermine the analysis which flows

                 from these errors.



       B.        Summary of Opinions on Mr. Warren’s Report

7.     The following are my opinions on Mr. Warren’s Report:


            1.       Opinion 7: The custody records show that the only TDC shares that ED&F Man

                     actually owned over the March 11, 2014 Record Date were those from Cum-Cum

                     transactions.


            2.       Opinion 8: For the reasons given in the Wade Initial Report and expanded on further

                     below, the Pension Plans never acquired the shares related to the Tax Vouchers

                     issued by ED&F Man for the Cum-Ex transactions but instead settled the Cum-Ex

                     transactions using matching, same day, in-and-out, small shapes of shares that

                     facilitated settlement of large transactions with a much smaller quantity of shares.


            3.       Opinion 9: The only real dividends received by ED&F Man in respect of TDC shares

                     on March 12, 2014 were from the Cum-Cum transactions. The Pension Plans did


                                                       3
       Case 1:18-md-02865-LAK                   Document 813-2           Filed 06/10/22         Page 9 of 114



                           not receive any real dividends in respect of the Cum-Ex transactions, and, in fact, the

                           Warren Report’s analysis supports this conclusion and is consistent with the opinions

                           expressed in the Wade Initial Report on this matter.


            III.    BASES FOR OPINIONS ON DR. CARR’S REPORT

8.            Dr. Carr’s observations and opinions appear to attempt to normalize and explain the Solo

transactions that are the subject of this matter as if they were customary dividend arbitrage strategies. In

his report, Dr. Carr describes the Solo transactions as follows:


              “The Analyzed Transactions that I discuss in detail in this report are an example of dividend arbitrage
              strategies.” 3

              “Dividend arbitrage strategies are neither new nor unique examples of how tax incentives influence
              financial decisions and investment strategies. Academic research has shown that investors in numerous
              countries have engaged in dividend arbitrage.” 4



9.            The Solo transactions that form the basis for Dr. Carr’s opinions are anything but customary; and

were in fact not even real. The theoretical and academic underpinnings 5 that form the basis for Dr. Carr’s

opinions on dividend arbitrage 6 are wholly unrelated in practice to, and ignore the actual facts of, the Solo

transactions. As explained in the Wade Initial Report, and further described herein, the Solo transactions

did not involve trading any actual shares of Danish companies or any receipt of any actual dividends of

Danish companies, and even if they did, no reputable market participant would have considered the Cum-

Ex transactions that were executed by Solo, its affiliates, and captive IDBs as legitimate or customary. 7



3
    Carr Report, Summary of Opinions, ¶ 17.
4
    Ibid.

5
    Carr Report, Section, ¶¶ 129 - 143.

6
    Carr Report, Section VII, ¶¶ 144 – 150.
7
  In this report, I use the terms “Solo Cum-Ex transactions” and “Solo transactions” to refer to the transactions that
I analyzed in the Wade Initial Report as well as additional transactions that I have analyzed in this report. It is my


                                                             4
      Case 1:18-md-02865-LAK               Document 813-2             Filed 06/10/22         Page 10 of 114



10.      Further, the Solo transactions were not dividend arbitrage transactions. They were not even

legitimate trading strategies, either when taken in the context of the literature which Dr. Carr cites or

based on the customs and practices that I have witnessed throughout my career in equity finance and

structured transactions. More importantly, the Solo trades were not real. Even without factoring in the

absence of shares or dividends in the Solo trades, these transactions raise a number of serious issues which

would have deterred any reputable market participant from participating in or facilitating them. This

view is corroborated by concerns raised about wash trading in futures by JP Morgan and SEB, 8, the

subsequent removal of Solo’s regulatory license, the FCA’s imposition of fines for serious financial crime

control failings in relation to Cum-Ex trading involving Solo, and the ongoing censure of various captive

Solo counterparties. 9


11.      Finally, Dr. Carr fundamentally misunderstands and misconstrues the characteristics of the Solo

Cum-Ex transactions. Dr. Carr inappropriately dismisses as inconsequential detail crucially important

matters related to the design of the transactions, settlement, receipt of real dividends, and the requirements

to make legitimate tax reclaims, as well as the significant legal and regulatory issues which appear to

have been ignored by the participants. 10 Many of these ignored or misapprehended issues are readily

apparent from the evidence I have reviewed related to the transactions at issue in this matter and should




understanding that the transactions I have reviewed are representative of the other transactions by the Solo
defendants, and my opinions apply equally to these other trades to the extent my understanding is correct.
8
    ELYSIUM-01746161; ELYSIUM-02521340.
9
  Regulators have imposed various penalties on brokerage firms that purportedly executed trades for Solo clients,
including the Pension Plan defendants in this case. For Sunrise Brokers LLP, see,
https://www.fca.org.uk/news/press-releases/sunrise-brokers-llp-fine-serious-financial-crime-control-failings,
accessed January 11, 2022. For Sapien Capital Limited, see, https://www.fca.org.uk/publication/final-
notices/sapien-capital-limited-2021.pdf, accessed January 11, 2022.
10
   According to Dr. Carr, “upon the trade’s execution, the investor immediately bears the economic risk of holding
[the] shares and is exposed to any gains (or losses) from price changes from that moment onwards… This is true,
irrespective of the time taken to complete the ‘background’ [emphasis added] processes of clearing and settling
the trade.” Carr Report, ¶ 36. Dr. Carr also states that post-trade execution services “are operational in nature
[emphasis added] and generally occur after the trade date.” Carr Report, ¶ 43 e.


                                                          5
      Case 1:18-md-02865-LAK                  Document 813-2            Filed 06/10/22        Page 11 of 114



be obvious to anyone with an understanding of the actual customs and practices in equity financing. I

discuss these issues in detail in this report. 11



           A.       Opinion 1: The Solo Transactions Were Not Real, but Even if They Were, Dr. Carr
                    Fails to Recognize That They Were Not Commercial, Arm’s-Length Transactions



                    1.       There Were No Shares

12.        It cannot be over-emphasized that there were no shares involved in any of the Solo transactions.

As explained in the Wade Initial Report, none of the sub-custodians used by Solo actually ever held any

Danish shares on Solo’s behalf. 12 The FCA has publicly stated that it “has found no evidence of

ownership of the shares by the Solo Clients, nor custody of the shares or settlement of the trades by the

Solo Group. This, coupled with the high volumes of shares purported to have been traded, is highly

suggestive of sophisticated financial crime.” 13


13.        Dr. Carr cites multiple rules and provides descriptions of the operational logistics of VP

Securities, the Denmark Central Securities Depositary (“CSD”). 14                However, these references are

irrelevant since there were no shares held or settled at VP Securities by Solo or its clients.




11
   Throughout this report I may discuss a Solo transaction’s individual characteristic or component as if it were a
real transaction. However, such reference should not be interpreted as my implicit acceptance of any of these
transactions, in whole or in part, as real.
12
     Wade Initial Report, ¶ 234 - 237.
13
  See, https://www.fca.org.uk/news/press-releases/sunrise-brokers-llp-fine-serious-financial-crime-control-
failings, last accessed January 11, 2022.
14
     See, for example, Carr Report ¶¶ 46, 48, 50, 51, 58, 60, and 62.


                                                             6
      Case 1:18-md-02865-LAK               Document 813-2             Filed 06/10/22          Page 12 of 114



14.        There is no evidence to suggest that Solo itself was a member of VP Securities. 15              Only JP

Morgan, SEB, or Société Generale, in their roles as sub-custodians, could have settled securities

transactions for Solo on behalf of its clients and the confirmations referenced above make clear that they

did not. In addition, Sanjay Shah has admitted that throughout the relevant period its claim to shares and

dividend payments from its sub-custodian “netted off” such that it “held claims against JP Morgan and

SEB in the sum of zero”. 16 Therefore, none of the share transactions in the purported Solo trades were

even processed by VP Securities. As a result, VP Securities made no book entries in respect of any of

the legs of the Solo transactions.


15.        In any event, had the Solo transactions been genuine, independent trades, it is highly unlikely

that Solo could have met Denmark’s VP Securities’ liquidity buffer requirements or that the sub-custodian

would have been prepared to provide this liquidity on its behalf without Solo providing an unencumbered

pool of high-quality collateral of an equivalent value. 17 It also seems improbable that Solo would have

met the U.K.’s FCA’s capital requirements for processing the purported transactions on its clients’ behalf.

A liquidity buffer refers to the amount of funds a custodian is expected to provide to complete transactions

on behalf of its clients to ensure that fails by a CSD’s members do not impact other transactions.

Custodians who provide funds to settle their clients’ failed trades are responsible for following up with

the clients to resolve the fails. Separately, the FCA requires custodians to maintain sufficient capital



15
   It would be very surprising to me, based on my experience, if a firm like Solo had been a member of VP
Securities because typically the membership would be restricted to clearing banks, domestic custodians, and the
largest international custodians.
16
     In the High Court of Justice, Business and Property Courts of England & Wales, Commercial Court, SKAT v.

Solo Capital Partners (in Special Administration) & Others, Sanjay Shah Defendants’ Response to Claimant’s
Request Dated June 4, 2019, for Further Information Under CPR 18 (“Shah Response”), p. 15, Response 21.
17
   VP Rule Book Part 4 (Settlement Rules), November 22, 2021, 7.1.4 p. 6 of 21, “Each Settlement Participant
must compute a liquidity buffer, having particular regard to the consequences if a part of delivery is delayed or not
delivered.” Available at: https://www.vp.dk/Legal-Framework/VP-Rulebook, accessed January 11, 2022.
Causing the failure of or failing to have the appropriate liquidity buffer in place attracts penalties in the form of
fines. The liquidity buffer requirement would have been significant for the size Solo purportedly transacted.


                                                           7
      Case 1:18-md-02865-LAK                Document 813-2            Filed 06/10/22          Page 13 of 114



resources to cover any of their exposures, including credit and settlement exposure. 18 The sizes of the

purported Solo transactions in individual Danish companies that I have reviewed go up to DKK7 billion. 19

For comparison, Solo’s equity capital was approximately DKK168 million. 20                     A fail on a single

transaction would have required Solo to provide cash liquidity to cover the full settlement balance.

Further, had a transaction fail resulted from a customer credit event, a share price move of 5% in the

wrong direction for the relevant Danish shares would have been enough to completely wipe out Solo’s

equity capital, which is further evidence that these transactions could not and did not really happen.


16.        Dr. Carr makes various points about the problems which can arise in trying to trace transactions

through custodians and sub-custodians to the underlying CSD, including in particular issues for shares

held by U.K. custodians in an omnibus account. 21 However, none of these issues arise in the Solo

transactions because neither JP Morgan, SEB, nor Société Générale ever held any Danish shares. In other

words, Dr. Carr’s discussion of a complicated chain of custody is completely irrelevant since the first link

in the chain never existed.




18
  A full discussion of these rules is beyond the scope of this report. Current liquidity buffer requirement rules are
explained in the FCA Handbook in the General Prudential (“GENPRU”) sourcebook. Available at:
https://www.handbook.fca.org.uk/handbook/GENPRU/1/?date=2016-03-07&view=chapter, last accessed January
22, 2022.19 In just one day, April 11, 2013, Solo purportedly served as the custodian for class A and class B shares
of A.P. Maersk A/S with a notional value of just above DKK 7 billion, which is equivalent to GBP 0.8 billion at
the prevailing exchange rate (1GBP:8.5724DKK. Source: Bloomberg). ELYSIUM-01553174 and ELYSIUM-
01555519 (transaction summaries from the two executing brokers, FGC Securities and Novus Capital, show
twenty equity purchase transactions in each share class, i.e., 40 purchase transactions overall).
19
  In just one day, April 11, 2013, Solo purportedly served as the custodian for class A and class B shares of A.P.
Maersk A/S with a notional value of just above DKK 7 billion, which is equivalent to GBP 0.8 billion at the
prevailing exchange rate (1GBP:8.5724DKK. Source: Bloomberg). ELYSIUM-01553174 and ELYSIUM-
01555519 (transaction summaries from the two executing brokers, FGC Securities and Novus Capital, show
twenty equity purchase transactions in each share class, i.e., 40 purchase transactions overall).
20
   Solo Capital Partners LLP, Report and financial statements for the period ended March 31, 2013, available at
Companies House, https://find-and-update.company-information.service.gov.uk/company/OC367979/filing-
history?page=3, last accessed January 23, 2022. This was the equivalent of DKK 168m at the exchange rate on 11
April 2013 (GBP1:8.5724DKK Source: Bloomberg)
21
     Carr Report, ¶¶ 61 – 65.


                                                           8
      Case 1:18-md-02865-LAK                Document 813-2          Filed 06/10/22        Page 14 of 114




                    2.          The Trades Were Not and Could Not be Settled

17.        Second, while Dr. Carr’s discussion of post-trade execution clearing and settlement 22 is a

textbook-like description of some of the main theoretical concepts that apply to post-trade operations in

the securities market, it completely ignores the fact that none of Solo’s customers ever obtained shares of

the relevant Danish companies and, as a result, any internal netting of book entries to establish ownership

by its customers was pure fiction.


18.        The Solo trades could not have been and were not actually ever settled. Dr. Carr discusses the

fact that the Solo Trades settled on non-market standard dates. But his view that the choice of settlement

date could be a function of various factors 23 overlooks the crucial fact that none of the transactions in the

Solo trades ever settled at all.


19.        It is my understanding that Solo’s position is that two offsetting positions between clients justify

Solo’s unilaterally creating entries in its records as if the Pension Plans had established a real long position

in the shares without regard to the existence of shares or cash to support those positions. This position is

plainly wrong and is not one that any reputable custodian would have permitted. Solo’s position

overlooks the fact that to create a genuine position the custodian needs to settle the transactions.


20.         The European Central Bank describes the role of a custodian in respect of settling transactions

as follows: “When securities are bought or sold, the custodian takes care of the delivery and receipt of

securities against the agreed amount of cash. This process, i.e., the exchange of securities against funds,

is commonly called ‘settlement’”. 24 Similarly, the Solo Client Custody Agreement states that Solo “will

settle all transactions undertaken by the Custodian subject to holding or receiving all necessary documents



22
     Carr Report, ¶¶ 44 – 52.
23
     Carr Report, ¶ 50.
24
  ECB Occasional Paper No.68, August 2007, “The Securities Custody Industry”, section 1.1.1, p. 6, available at:
https://www.ecb.europa.eu/pub/pdf/scpops/ecbocp68.pdf, last accessed January 23, 2022.


                                                         9
      Case 1:18-md-02865-LAK                Document 813-2          Filed 06/10/22       Page 15 of 114



or funds and will do so on such basis as is market practice for the type of investment and market concerned

and normally on the basis of ‘cash vs delivery’.” 25 The allusion to cash against delivery is a reference to

DVP, which I explained in the Wade Initial Report. 26 However, it is not possible to give effect to a DVP

settlement without first having actual shares in the custodian’s possession.


21.        Reinforcing this point, through various legislation, EU regulators have been clear on their intent

to prohibit the creation or reduction of issued securities. For example, Article 37 of the Central Securities

Depositaries Regulation (“CSDR”) EU 909/2014 requires the “integrity of the issue” to be maintained,

CSDs to take “appropriate reconciliation measures to verify that the number of securities making up a

securities issue … is equal to the sum of securities recorded on the accounts [of its participants]”, and

also states that “securities overdrafts, debit balances or securities creation shall not be allowed.” 27


22.        It is also important to understand the transactions Solo purportedly settled and, on whose

behalf, the purported settling was done. To illustrate, in the Delvian Carlsberg 2013 transaction

described in the Wade Initial Report 28 there were three transactions to be settled:


                1.       a Cum-Ex purchase between Delvian and Gulf Management Group;


                2.       a stock loan between Gulf Management Group and Aquila; and


                3.       a stock loan between Aquila and Delvian.




25
  See, Section 7.1 of the Client Custody Agreement between Solo Capital Limited and The Batavia Capital
Pension Plan, which I understand to be typical of the agreements with other Pension Plans. MPSKAT00000961 –
89, at 65.
26
     Wade Initial Report, ¶¶ 51 – 52.
27
  Available at: https://eur-lex.europa.eu/legal-content/EN/TXT/PDF/?uri=CELEX:32014R0909&rid=1, last
accessed January 16, 2022.
28
     Wade Initial Report, ¶¶ 227 – 233 and Figure 11.


                                                        10
      Case 1:18-md-02865-LAK                   Document 813-2              Filed 06/10/22          Page 16 of 114



23.         Each transaction created distinct legal obligations between each pair of counterparties and each

transaction needed to be independently settled. None of these transactions could be independently settled

by the counterparties because none of them had any shares nor could they obtain the cash for the offsetting

transactions without shares to provide in exchange.


24.         From the custody and client agreements that I have seen for Solo, there was no basis for Solo to

step in and settle these transactions for its clients. 29 Moreover, even if there was a legal basis, Solo could

not have settled these transactions because it did not actually have the shares or sufficient cash for all of

the transactions it purported to undertake.


25.         Thus, I conclude that the entries in the statements issued by Solo were fictitious and do not

represent transactions which actually settled.



                     3.       There Were No Dividends

26.         Finally, there were no dividends at all. I have never witnessed the creation of dividends from

thin air. Solo’s position essentially appears to be that as long as two counterparties use the same

custodian, there is literally no limit to the long and short positions they can generate. In fact, neither the

Pension Plans nor the other Solo counterparties held any shares before, during, or after the Record Date. 30

Despite the absence of shares, the Pension Plans were credited with an amount equal to the net dividend

and Solo produced a Tax Voucher as if the amounts received by the Pension Plans were real dividends. 31

It is hard to describe such transactions as anything other than fictitious.




29
     In any event, settling transactions for its clients is a highly unusual and inappropriate thing for a custodian to do.
30
  See the extensive discussion earlier in the report concerning the fact that no Solo client ever held any Danish
shares.
31
     See, Roadcraft - SKAT_MDL_001_00056852.


                                                              11
      Case 1:18-md-02865-LAK                Document 813-2             Filed 06/10/22         Page 17 of 114



27.      Following this to its logical conclusion, there is no limit on the reclaims that could have been

claimed. To illustrate, if the Cum-Ex scheme was legitimate, why not just buy 100% or even 200% of

the Maersk or Carlsberg share capital as long as one has a counterparty willing to turn a blind eye and

take the opposite position? Solo’s position suggests that two parties can simply generate dividends and

tax reclaims from thin air by exchanging automated emails without either party ever having any real

shares. This is complete fiction.


28.      In fact, we learn from the testimony of Mr. Markowitz that the real limit on the size of artificially

created dividends was a determination to avoid large holding disclosure rules, which I discuss in more

detail later in this report. 32



                   4.       Credit Terms Were Ignored or Not on an Arm’s-Length Basis

29.      None of the Solo counterparties could legitimately have entered into the purported transactions

on the basis Solo claims. As I will explain in Opinion 2 below, the Pension Plans and counterparties are

shell-like entities with minimum capital which was wholly inadequate to support the types of transactions

they claimed occurred.



32
  See the testimony of Mr. Markowitz, which explains that the true cap was based on reporting rules. According
to Mr. Markowitz, “A My recollection of these financial models is that one of the variables is a cap or constraint
relative to market cap; 5 percent, 3 percent, as it states above. And that was a limit. The number of shares that an
investor bought would be based on the liquidity in the marketplace. It could have been lower than that amount,
equal to that amount. But even if the liquidity was more than 5 percent, the model would not allow or not factor
into any more purchases above that cap. Q And why was that cap being used, 5 percent? A I believe 5 percent
was being used because, under German regulatory rules, if an investor exceeded 5 percent, similar to the SEC
rules, they would have to have some reporting requirement to the company or to the stock exchange. And in
Belgium, we think -- I think the understanding was that it was a 3 percent limit.” Deposition Transcript of
Richard Markowitz, April 8, 2021, 143: 1 – 23. I completely discount his comment on liquidity on the grounds
that this is not a concern when there are no actual shares being sourced. Mr. Markowitz further testified they
“could have put [the liquidity allocated by Shah] into one entity, but that probably would have required certain
reporting requirements.” Ibid, at 356:3-6.

Email correspondence from Mr. Markowitz shows that, in relation to potential reclaims to Belgium, Solo was
concerned with the volume of reclaims submitted based on what was typically filed in Belgium by others seeking
reclaims. See WH_MDL_00461595. See also, WH_MDL_00476560.

Taken together, I infer that the avoidance of detection was a primary design feature for this scheme.


                                                          12
      Case 1:18-md-02865-LAK                Document 813-2              Filed 06/10/22          Page 18 of 114



30.        The only security arrangements between the parties to the trades that I am aware of are guarantees

from Solo to some of the IDBs. 33 I consider these guarantees to be of fairly limited value to the IDBs

given Solo’s limited equity capital of £20m (approximately DKK170m), 34 an amount that could scarcely

protect the IDB from a complete failure of even one of the Pension Plans. Furthermore, the lack of

transparency that the IDBs would have had regarding Solo’s other transactions, which is entirely normal

for a Broker/Custodian and its third-party counterparties, meant that the IDBs could not rely on a claim

against Solo’s equity capital because they had no way of knowing which other IDBs or counterparties

could have had similar claims.


31.        It is my view that the Solo guarantees would have been a necessary but insufficient condition for

genuine arm’s-length transactions. The guarantees would have served as evidence to a third party that

Solo had some ‘skin in the game’ but they would not have adequately mitigated credit concerns associated

with the purported transactions’ sizes.


32.        For example, according to Dr. Carr, in a forward contract “the party with a gain would face credit

risk as the counterparty may not honor the obligation to pay the amount required under the contract.” 35

Dr. Carr’s observation here is correct and in fact, the Wade Initial Report discussed similar issues that


33
  See, for example, the Guarantee Deed Solo Capital Partners LLP entered into in respect of the obligations of the
Delvian Pension Plan in favor of FGC Securities, which I understand to be typical of the other guarantees
provided. FGC_SKAT-0000780.
34
  See Solo Capital Partners Report and Financial Statements for the Period Ended 31 March 2012; Solo Capital
Partners Report and Financial Statements for the Period Ended 31 March 2013; Solo Capital Partners Report and
Financial Statements for the Period Ended 31 March 2014; Solo Capital Partners Report and Financial Statements
for the Period Ended 31 March 2015. These statements are public records and are available at https://find-and-
update.company-information.service.gov.uk/company/OC367979/filing-history, last accessed February 1, 2022

The currency conversion uses the GBP: DKK rate from Bloomberg for July 31, 2013. The exchange rate varied
during the period the purported transactions occurred, so the value of Solo’s capital ranges from approximately
DKK170m to approximately DKK212m. I have used the lowest value in the range because from a regulatory
capital perspective Solo would have been required to manage with exchange rate fluctuations in its regulatory
capital and would also have had to maintain buffers to cover realistic stress scenarios as part of its Internal Capital
Adequacy Assessment process. For more details, see
https://www.handbook.fca.org.uk/handbook/IFPRU/2/2.html, last accessed January 27, 2022.
35
     Carr Report, ¶ 84.


                                                           13
      Case 1:18-md-02865-LAK              Document 813-2            Filed 06/10/22         Page 19 of 114



arose related to stock loans and futures.         In the Roadcraft Novozymes Class-B (NZYMB) 2015

transaction, Roadcraft, the Pension Plan, purchased 681,437 NZYMB shares on February 25, 2015 for

approximately DKK220m and simultaneously entered a forward contract to sell them to Sole Capital

Limited (“Sole”). 36 The forward contract matured on June 19, 2015, approximately 4 months after the

initial transaction. Prior to the forward’s expiration, NZYMB share prices varied by nearly 15%, with a

high of DKK344.9 and a low of DKK301.2. Compared to Roadcraft’s net assets of DKK0.4m 37, peak

exposure under the forward was approximately DKK16.9m. 38 Had this been a genuine arm’s-length

transaction, the counterparty to the forward would have demanded significant collateral. Likewise,

Roadcraft would have been concerned about Sole’s corresponding obligation to complete the forward.


33.       In view of Roadcraft’s limited capital, the absolute minimum collateral amount that a true arm’s-

length counterparty would have required was a pledge of the shares underlying the forward contract.

Absent such a pledge (which Roadcraft could not have made since it had already used the shares as

collateral for the stock loan to obtain the cash used to purchase the shares), initial and daily maintenance

margin requirements would have been at least as onerous as the margin requirements for the equivalent

future, which would have been at the upper end of customary requirements for a counterparty like

Roadcraft - meaning 10% of the gross notional of the future (i.e., DKK22m simply to execute future in

the first place). 39 Roadcraft was not in a position to provide such collateral because apart from the


36
     ELYSIUM-03853867, ELYSIUM-03860310.
37
  According to an account statement from Solo, Roadcraft’s cash assets peaked at approximately USD61,000 in
2015, equivalent to DKK0.4m. ELYSIUM-07639612. Roadcraft’s starting capital at its formation in 2014 was
even smaller, at USD100, or about DKK667. ELYSIUM-10259211. (I use the exchange rate on Feb. 27, 2015,
1USD: 6.668DKK)
38
  Calculated as: (Maximum difference between the forward price and the spot price) x Number of shares i.e.,
(DKK344.9 – DKK320.1105) x 681,437 = DKK16,892,483. Data obtained from Bloomberg.
39
  For comparison the current Key Information Document on Single Stock Futures issued by ICE Futures Europe
(one of the largest exchanges in Europe) indicates that margin will include: “Initial margin (approximately 5% -
10% of total contract value)”. See
https://www.theice.com/publicdocs/futures/Futures_Europe_Single_Stock_Futures_KID.PDF. Last accessed
January 27, 2022.


                                                        14
      Case 1:18-md-02865-LAK                   Document 813-2        Filed 06/10/22          Page 20 of 114



minimal balances in the Solo custody account discussed above, it appears that the only other asset which

Roadcraft had at this time was USD28 in its Wells Fargo bank account. 40 Moreover, even if Roadcraft

had provided such collateral, additional guarantees, control account agreements, or covenants would have

been required by Sole to agree to enter into such a forward. No such negotiations appear to have occurred

as to the basis on which Roadcraft and Sole would enter into the forward.


34.        Fourth, as discussed at length in the Wade Initial Report, various stock loan terms including loan

pricing were completely off-market which further demonstrates the contrived circularity of the Solo

transactions. 41 Dr. Carr cites a Securities and Exchange Commission (“SEC”) report on securities loans

which found that “90% of securities lending transactions [in the U.S.] take place with collateral margins

in the range of 100% to 111%.” 42 He then points out that the stock loan in the RJM MAERSKB 2013

transaction had collateral of 106.6%. 43 However, this fact is completely irrelevant to the transactions at

hand for two reasons:


                1. The vast majority of securities loans occur between the world’s largest banks and entities

                    such as large pension funds, investment managers, and agent lenders, which are all highly

                    regulated and well-capitalized counterparties that often use third-party custodians to

                    manage collateral. 44




40
  This amount reflects the original USD100 deposited when the Roadcraft account was set up, less monthly fees
to Wells Fargo of USD12 per month. See, RC00000056, at 56. In his deposition, Mr. Ronald Altbach, who set up
Roadcraft, confirms that this USD100 was the only amount deposited for this Pension Plan. See, Deposition
Transcript of Ronald Altbach, October 30, 2020, 146-147.
41
     See, for example, Wade Initial Report, ¶¶ 160 – 166.
42
     Carr Report, ¶ 116 (footnotes omitted).

43
     Carr Report, ¶ 117.
44
   For example, the International Securities Lending Association (“ISLA”) estimated that 43% of all European
stock lending took place through tri-party lending arrangements, which are arrangements that involve a major
clearing bank or custodian providing segregation of collateral and cash to protect the borrower and lender in the
transaction (Clearstream, Euroclear, JP Morgan, Bank of New York, and State Street are the primary providers).


                                                            15
     Case 1:18-md-02865-LAK                 Document 813-2             Filed 06/10/22          Page 21 of 114



             2. The 106.6% collateral in the RJM MAERSKB 2013 transaction is a random amount that

                  resulted from the deliberate decision to misprice the stock loan by using an out-of-date

                  price in order to ensure the settlement date cash flows matched perfectly. 45 Dr. Carr

                  arrives at the 106.6% figure by taking the difference between the trade price used for the

                  Cum-Ex purchase and the closing price on the day immediately prior to the settlement.

                  Independent from the fact that the stock loan trade confirmation actually states that the

                  contractual haircut is 0% (meaning that the cash collateral should exactly equal the

                  market value of the shares), Dr. Carr’s basic assertion is wrong, since one can easily see

                  that even if the parties had used this closing price to set the margin, it was the equivalent

                  of agreeing on a collateral margin level by the equivalent of rolling dice. For example, I

                  have looked at what the collateral margin rate would have been had the parties entered

                  into the same trades over the same time period over which the RJM MAERSKB 2013

                  transaction took place. 46 Specifically, I have assumed that: (i) a stock loan is executed

                  on each date between April 16, 2013 and June 13, 2013 and (ii) the value of the cash

                  collateral provided is based on the T – 3 closing price of the shares (consistent with what

                  the Solo Pension Plans did). The chart below shows the effective margin provided, which

                  is the ratio of the value of shares given to the value of cash collateral provided. The



See the Securities Lending Market Report, September 2019, available at: https://www.islaemea.org/assets/smart-
pdfs/isla-securities-lending-market-report/files/downloads/ISLA_SLReport_Sep2019.pdf, last accessed January
22, 2022.
45
  To explain this point, in the RJM MAERSKB 2013 transaction (which I discuss in detail later in this report)
RJM purchased 10,400 MAERSKB shares for approximately DKK454.3m on 11 April 2013. On the day the
stock loan was executed, the market value of the 10,400 shares was approximately DKK426m, meaning that if the
stock loan had been executed at the market level and with no haircut, as prescribed by the stock loan confirmation,
the Pension Plan would have had a shortfall of DKK28.3m. This is the same shortfall which Dr. Carr claims is a
margin of 6.6%. Other than its arithmetical accuracy, this claim is completely wrong and inconsistent with both
the evidence terms of the stock loan and market practice. See ELYSIUM-01574029 (RJM confirmation for stock
loan to Colbrook with no haircut.)
46
  This is the period that the stock loan was in place for this particular transaction. Source: Refinitiv Eikon data.
Had I chosen any random time period, the result would likely have been very similar because over any given 3-
day window, the movement of share prices is unpredictable.


                                                           16
      Case 1:18-md-02865-LAK            Document 813-2          Filed 06/10/22        Page 22 of 114



                 results of this analysis clearly and unsurprisingly show that the margin level is entirely

                 dependent on 3-day market price moves which are random in nature and range from 95%

                 to 107% of the cash collateral received. Therefore, far from justifying the collateral

                 margin terms, Dr Carr’s analysis simply highlights the non-commercial and contrived

                 nature of the arrangements.




                                                          Figure 1




             3. Finally, and to conclusively demonstrate the point made above, I note that in at least one

                 transaction which I have reviewed the approach led to a negative haircut. In the Delvian

                 COLOB 2014 transaction, Delvian claims to have purchased 649,227 shares on May 8,

                 2014, at the price of DKK468.1 per share for a total consideration DKK303.9m 47.

                 Delvian financed this position by entering into a stock loan with Colbrook on May 13,


47
     ELYSIUM-03064431.


                                                     17
      Case 1:18-md-02865-LAK               Document 813-2           Filed 06/10/22        Page 23 of 114



                    2014, using the same price 48. The market price for the shares lent under the stock loan

                    on May 13, 2014, was DKK473.6 49 per share meaning that the market value of the shares

                    which Delvian financed was DKK307.5m. Using the approach put forward by Dr. Carr,

                    the margin level of the cash collateral was 98.8% (or put another way there was a negative

                    haircut of 1.2%). The suggestion that the back-dated pricing of the stock loans was a

                    deliberate or arms’-length security arrangement is clearly nonsensical. The parties used

                    back-dated prices for the stock loans purely to ensure there was no net cash to transfer

                    on the settlement date because none of the parties had sufficient cash to execute the trades

                    they claim to have undertaken.


35.        The final point to note in respect of the stock loans is that under section 5.4 of the GMSLA, which

Dr. Carr highlights in his report, there is a requirement for the parties to perform a daily mark-to-market

of the shares and collateral provided and to adjust the collateral balances accordingly. The custody

statements for RJM include various schedules of the calculations of the stock lending fees and a “Daily

MTM” column throughout the life of the stock loan but there is no evidence in the cash account statements

suggesting that any variation margin was actually settled between the counterparties. 50 In fact, there are

three entries in the EUR cash statement for Initial Margin, Variation Margin and Stock Margin which are

all zero. 51 Even if they had performed a daily mark-to-market accounting of the shares and collateral




48
     ELYSIUM-03078154.

49
     Source: Refinitiv Eikon.

50
   See, MPSKAT00068151 (GMSLA between RJM Capital and Colbrook), MPSKAT00135581 (custody
statement for RJM Capital, 2013). The stock loan calculations in respect of the 10,400 MAERSKB shares are on
p. 23 of the custody statement.
51
  The EUR Cash statement is the relevant one because the GMSLA has a Base Currency of Euro (Section 2 of the
Schedule at MPSKAT00068151, at 83), although there are similar zero entries in the DKK Cash account (see,
MPSKAT00135581, at 49 onwards for the Cash Statements)


                                                         18
      Case 1:18-md-02865-LAK                Document 813-2             Filed 06/10/22         Page 24 of 114



provided in order to adjust the collateral balances accordingly, these would simply have been fictitious

book entries because RJM did not have any cash to make the variation margin adjustments anyway.



                    5.      These Were Not Genuine Investment Strategies by the Pension Plans

36.        An analysis of the profit and loss outcomes of the transactions makes it clear that the transactions

were strictly part of a tax reclaim generating scheme with no other commercial drivers or opportunities

for gain or loss.


37.        Dr. Carr does not include the stock loans in his profit and loss calculations, yet they were clearly

critical to the transactions. Accordingly, I have computed the profit and loss from the two trades in the

Wade Initial Report and independently recomputed the two additional transactions analyzed by Dr.

Carr. 52


38.        The following table shows that these transactions were entirely circular and the only pre-tax

economic consequences for the parties were the transaction fees paid to Solo and the IDBs. Solo carefully

managed the pricing of the instruments to generate zero net cash flows for all parties (excluding

transaction fees and the tax reclaim), which is a clear indicator that these were not market transactions. 53


39.        It is also apparent that the effective dividend pricing in these transactions was 73% (i.e., the

Pension Plan acquired a net dividend compensation payment for consideration equal to the net dividend),

which is well below the market level established by the contemporaneous ED&F Man Cum-Cum

transactions. Had the Pension Plan genuinely acquired Cum-Dividend shares it would have had to

compensate the seller or lender around 90% of the gross dividend (meaning that it would have had to pass


52
  My detailed analysis of the RJM Maersk B 2013 transaction and the Proper Pacific CHRH 2014 transaction are
included later in this report.
53
  It is not credible that one could execute a stock purchase, forward, and stock loan so that the cash flows net out
to zero so perfectly. As I explained earlier, the stock loan was priced using a backdated price and the rates were
carefully managed to obtain the desired result (sometimes by ignoring the terms of the trades executed as
explained in my original report). See, Wade Initial Report, ¶260.


                                                          19
      Case 1:18-md-02865-LAK                 Document 813-2           Filed 06/10/22           Page 25 of 114



about 62% (= (90% - 73%)/27%) of the value of the tax reclaim to the share seller/lender 54. However,

the Solo transactions were structured so that the Pension Plan received 100% of the tax reclaim.


40.        I have calculated the pre-tax profit for each of the four transactions, which is the net result from

all of the transactions and ignores transaction fees and the tax reclaim. I then show the impact of

transaction fees on the net pre-tax profit. As seen in the table below, the net pre-tax profit was always a

small negative number which not more than 0.03% of the transaction notional amounts. In trading terms,

each transaction amounted to a loss of between 0 and 3 basis points.




                              Table 1: Net Pre-Tax Profit for Various Solo Transactions


                                                                                                            Adjusted Net Loss
                                                                                                              (% of net profit
                                 Number     Cum-Ex                                              Adjusted        compared to
                                 of         Purchase    Notional       Trade     Transaction       Net            Notional
 Solo Transaction                shares     Price       (DKK)          Profit    Fees             Profit    % (and bps)
 RJM Maersk B 2013               10,400     43,680.29   454,275,009    22,085    (31,340)       (9,254)     - 0.002 % (0.2 bps)
 Proper Pacific CHRH 2014        839,500    258.90      217,346,550    0         (63,944)       (63,944)    - 0.030 % (3bps)
 Delvian CARLB 2013              600,000    586.4698    351,881,880    31,490    (52,395)       (20,905)    - 0.006 % (0.6bps)
 Roadcraft NZYMB 2015            681,437    322.5       219,763,433    0         (2,763)        (2,763)     - 0.001 % (0.1bps)



41.        It is completely implausible that the Pension Plans or IDBs entered into transactions with notional

sizes of DKK200-500m where the net result, excluding the tax reclaim, was no gain or loss, give or take

a few basis points. Further, as I explained in the Wade Initial Report 55 and also address later in this report,

in some cases even these marginal outcomes appear to have been retrospectively corrected by Solo to

ensure the Pension Plans precisely made no gain or loss. 56



54
     See, Wade Initial Report, ¶¶ 264 and 265.

55
     Wade Initial Report, ¶¶ 259 – 266.
56
  The only plausible conclusion to be drawn is that while the trades were structured so that that all trades should
net perfectly to zero, because some of the transactions involved entering into futures and forwards and then


                                                          20
      Case 1:18-md-02865-LAK                Document 813-2              Filed 06/10/22          Page 26 of 114



42.        The marginal trade profit of DKK 31,490 made by Delvian on the alleged Carlsberg transactions

appear to have been ultimately lost through retrospectively corrected interest rates on other DKK trades,

according to the Delvian 2013 annual statement from Solo. 57 As shown in the Wade Initial Report, Solo

transactions were altered after the fact to ensure that the trades netted nearly perfectly to zero. 58 Solo’s

annual statement for Delvian shows evidence of this conduct too. The statement shows that the sum of

all of Delvian positions was DKK -83.87 at the end of the year. 59              This amount is only achieved by

artificially increasing some of the interest payments beyond what was purportedly agreed to in the original

trade confirmations.        For example, the interest payment made by Delvian in connection with its

Novozymes A/S Class B 2013 transaction is calculated as 1.87%, 60 even though the relevant trade

confirmation states that the interest rate would be DKK Overnight LIBOR + 70 basis points, meaning

that the correct rate was around 0.79%. 61 A similar adjustment is made on other interest payments in the

statement, including Delvian’s interest payments in connection with its Novo Nordisk Class B 2013

transaction. 62 Furthermore, the annual statement for 2013 no longer uses the amended interest rate for

the Chr. Hansen trades reflected on the March 2013 statement outlined in the Wade Initial Report.63




terminating them with offsetting contracts before their contractual maturity, it was impossible to guarantee the
results perfectly due to interest rate breakage costs. The stock loan fee adjustments were used to deal with such
minor fluctuations.
57
     MPSKAT00166249
58
   Wade Initial Report, ¶ 264. As I have explained earlier in this report it is simply not plausible that this occurred
either by chance or as a result of true arm’s-length pricing.
59
  This is the total of the alleged DKK equity settlements, dividends, stock loan interest & fees and the realized
futures loss. MPSKAT00166249 at 328.
60
     MPSKAT00166249 at 269.
61
   ELYSIUM-01365057. DKK Overnight LIBOR did not exceed 0.09% during the period, as shown, for example,
in the calculation of Delvian’s stock lending fees for the same transaction. MPSKAT00166249, at 271.
62
  See ELYSIUM-01482447. The calculation is found in MPSKAT00166249, at 275. The interest rate used in this
case was 1.40%.
63
     Wade Initial Report, ¶ 264.


                                                           21
      Case 1:18-md-02865-LAK              Document 813-2            Filed 06/10/22         Page 27 of 114



Instead, the amended interest rate payments on other interest payments on Danish shares now negate the

profit, leading to a net trading loss across all DKK trades for Delvian in 2013 of DKK83.87.


43.       Based on this analysis, these transactions could not have represented real trading or investment

opportunities. Instead, they were carefully constructed circular shams that were designed to create the

illusion of real positions and real dividends for the Pension Plans to facilitate the filing of tax reclaims.

This fact is apparent from the complete analysis of the trades, which demonstrates they were circular. Dr.

Carr ignores the circularity of the transactions and as a result fails to grapple with the reality of this

scheme.



                  6.      The Number of Shares and Financing Arrangements Were Implausible

44.       The Pension Plans purportedly purchased very significant positions in Danish shares without

having any agreed funding in place to finance the purchases. Notably, but inexplicably, the Trade Date

for the stock loans was three trading days after the Trade Date for the Cum-Ex Purchases, meaning that

the Pension Plans were exposed to the obligation to settle purchases of a large number of shares for up to

five days, but had no confirmed means by which to do so. 64 I have seen no evidence and nothing in the

testimony of the Pension Plan participants suggests that the Pension Plans had access to independent

liquidity facilities. 65 It is simply inconceivable that a broker/custodian would have authorized clients like

the Pension Plans to commit to such large purchases without ensuring they had adequate funding lines in




 See for example, the Wade Initial Report ¶¶ 227 – 233, where I show that the Cum-Ex purchase in the Delvian
64

CARLB 2013 transaction had a Trade Date of March 21, 2013 and the stock loan was transacted on the Record
Date which was March 26, 2013.
65
   Liquidity facilities here refer to pre-agreed lending facilities from a bank or prime broker that would have
allowed the Pension Plans to draw funds on demand. For example, some hedge funds have pre-agreed borrowing
facilities that they use to fund leveraged trading positions. Such borrowing facilities are typically subject to
specific terms and conditions, including collateral and diversification requirements.


                                                        22
      Case 1:18-md-02865-LAK                Document 813-2             Filed 06/10/22          Page 28 of 114



place or itself agreeing to provide the required funding. 66 If the Pension Plans’ intention was to refinance

the shares and use them to fund the purchase, the broker/custodian would have required that such

borrowing be confirmed prior to the purchase. Likewise, a prudent Pension Plan would not have placed

an order for what, at times, was several multiples of the ADTV 67 of the shares of a listed company and

extreme multiples of the net assets of the Pension Plan without some significant due diligence on the

ability of its counterparty to locate and deliver the shares. 68


45.        As discussed in the Wade Initial Report, there would have been significant challenges and stiff

competition to locate positions of this size, particularly around Record Date, and yet these hurdles appear

to have been completely ignored by the parties. A settlement failure by either Pension Plan or Broker

would have posed an existential risk 69 to the transaction counterparties as well as Solo, but it seems to

have been completely disregarded by the participants.


46.        The testimony of Richard Markowitz is telling as to the artificiality of these trades. He testified

as follows: 70


           Q        …Typically, in a stock lending transaction when you negotiate the price and the terms,
           the starting point is what's the market value of the shares today, and then, do we need a haircut
           or a premium. Isn't that how it typically works?


66
  I note that the Solo Client Custody Agreements do envisage the theoretical possibility of the Custodian
advancing funds to settle transactions. See, for example, Section 4 of the agreement for the Batavia Capital
Pension Plan, MPSKAT00000961, at 63). However, I dismiss this possibility for the following reasons: (i) as
previously discussed in detail, Solo did not have access to cash to settle the trades anyway, (ii) had Solo actually
intended to use these provisions, I would have expected to see clear terms providing for credit limits, collateral
requirements, etc. and (iii) in any event, for the reasons discussed earlier in this report, Solo would not have had
enough regulatory capital to support such lending.
67
     Average Daily Trading Volume: the average number of shares of a given stock traded in a single day.
68
  For example, in the Proper Pacific CHRH 2014 transaction detailed later in the report, Proper Pacific claims to
have purchased 839,500 shares which was approximately 384% of the ADTV of these shares around the dividend
date as shown in Appendix D of the Wade Initial Report.
69
  An existential risk is a loss that would potentially have resulted in the counterparty becoming insolvent or
otherwise unable to conduct its other business.
70
     Deposition Transcript of Richard Markowitz, Vol. 1, April 8, 2021, 183:1 – 184:24.


                                                           23
      Case 1:18-md-02865-LAK             Document 813-2            Filed 06/10/22        Page 29 of 114



         A       Yes.
         Q       Okay. But here, with respect to the shares purchased in Danish securities, in every
         case, the stock lending transaction that takes place six days later is at the same price as the
         purchase price from six days earlier. Isn’t that right?
         A       Yes.
         Q      Okay. And that -- sometimes that market might have gone up on certain shares,
         sometimes it might have gone down, and in varying amounts. Correct?
         …
         Q        Is that right? six days, in every case, the stock lender gave the amount of money based
         on the price of the purchase six days earlier. Right?
         A       In every case, that’s what the pension plan requested in terms of collateral to be posted.
         Q       Okay. And regardless of whether the share price had gone up, down, or something
         in between, in every case, the lender was willing to meet the request of the pension plan to use
         the price at the time of the purchase?
         A        Again, the pension plan had hedged its position, so it knew exactly what the value of
         its assets were. Its asset value was -- between the shares it owned, and the futures contract it
         sold was a price below the price at which it purchased the shares. And so, in every case, the
         stock loan was for an amount in excess of the value in the pension plan’s hands. You’re
         ignoring the hedging transaction that is critical to an investor in these trades.
         Q       Right.   And that’s -- the hedging
         A       Yes.


47.      A security purchase such as that described above may be hedged with the sale of a future or

forward contract, but in actuality there is no such thing as a ‘perfect hedge’. The security and futures or

forward prices may become uncoupled for various reasons, including liquidity issues, slippage in trade

execution, priority differences in potential default, settlement issues, and different views about the interest

rate during the holding period. This uncoupling is reflected in different market prices between subsets of

securities holders on one hand and forward or futures holders on the other and is precisely why futures

exchanges demand initial margin requirements to protect against the possibility of loss, even where a

trade involves hedging.


48.      Mr. Markowitz also ignores another fundamental point about the consequences of the Pension

Plans failing to settle their purchases as a result of the stock loan either not being executed or failing. If

such a situation occurred in a real arm’s-length situation, then the Pension Plan would default on its Cum-



                                                       24
      Case 1:18-md-02865-LAK                   Document 813-2             Filed 06/10/22     Page 30 of 114



Ex purchase. Regardless of whether the default was sufficient to cause the Pension Plan to become

insolvent, it would need to notify the forward counterparty of its default and then it would entirely be up

to the forward counterparty to determine the price at which to unwind the forward. 71 The ISDA

convention is that non-defaulting counterparty can re-establish its own hedge in whatever way it sees fit

and use the new hedging price as the unwind value for the existing forward. 72 In an arm’s-length situation

such a default would in all likelihood have led to very significant losses for the Pension Plan.


49.        Furthermore, Mr. Markowitz’s testimony completely mischaracterizes the risk that the stock loan

counterparty actually undertakes. The stock loan counterparty provides financing in the form of cash

collateral but only has the shares it receives in return as security. 73 Notwithstanding that the Pension Plan

has a future or forward hedge in the trades I have reviewed, it is of no value to the stock loan counterparty

in the event of a default by the Pension Plan. The counterparty only has a right to liquidate the shares

and then make an unsecured claim against the estate of the Pension Plan for any shortfall. As I have

already demonstrated earlier in this report, the ratio of the value of the shares to the value of the cash

collateral exhibits significant volatility. For example, a default on the Settlement Date of the RJM

MAERSKB 2013 transaction by RJM would have left the stock loan counterparty, Colbrook, with




71
  See, for example, MPSKAT00119640, which is a long form confirmation for a forward undertaken by a
Pension Plan and I understand is typical of all the forwards undertaken. According to it, the calculation agent is
the counterparty entering into the forward with the Pension Plan, and it does not have any protections that would
be customary in an arm’s-length situation (e.g., reference to independent price sources or panel of dealers). As a
result, the forward counterparty has significant discretion to decide what price to terminate the forward at.
72
   Based on my experience structuring, executing, and managing ISDA-based contracts and disputes thereon, there
are numerous situations which could easily transpire where the forward close out price could depart significantly
from the share price for all contracts, for example, if the market moved significantly during the default period, if
the forward counterparty could not easily find an alternative hedging transaction (which would be highly likely
given the size of positions), or if there were simply funding or execution costs for the forward counterparty.
73
     Recall in the Solo transactions there was, of course, no actual cash or shares.


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      Case 1:18-md-02865-LAK               Document 813-2            Filed 06/10/22          Page 31 of 114



unsecured exposure of DKK28.3m (i.e., precisely the same amount which Dr. Carr described as margin

in his report). 74


50.      Settlement risk, a serious concern for regulators and reputable market participants, is formally

addressed in the EU’s Central Securities Depositories Regulation (“CSDR”). 75 The CSDR imposes

formal rules which permit parties to failed trades to effectively cancel their trades, ‘buy-in’ 76 the missing

securities from another counterparty, require the failing party to provide compensation for any losses

incurred, as well as impose penalties.          Long before formal regulations were introduced, market

participants would carefully monitor and report their settlement exposures to risk functions and

regulators. To take the RJM Maersk B 2013 transaction as an example, the gross settlement risk was

equal to the share purchase price of DKK454.3m. A 5-day settlement delay could easily have seen share

price moves of 5% of more leading to a potential risk of loss of DKK22.7m on a single transaction.

Without considering the other transactions they were party to this amount alone could not have been

sustained by the Pension Plans or stock loan counterparties and would have wiped out well over 10% of

Solo’s regulatory capital. 77 The only plausible explanation for the fact that this risk was ignored entirely

is that all the parties knew that they were entering into entirely circular and self-cancelling trades.




 The RJM MAERSK 2013 transaction is discussed in full later in this report and the stock loan discrepancies
74

were discussed in the previous section.
75
  See, EU Regulation 909/2014, available at: https://op.europa.eu/en/publication-detail/-/publication/e58428b4-
2e81-11e4-8c3c-01aa75ed71a1/language-en, last accessed January 16, 2022.
76
  The International Capital Markets Association (“ICMA”) describes the buy-in as a mechanism that “provide[s]
a buyer of securities the contractual right to source the securities elsewhere (usually for guaranteed delivery),
cancel the original trade, and settle between the two original counterparties any differences arising from the net
costs of the original transaction and the buy-in transaction.” See, ICMA briefing note on CSDR Settlement
Discipline – Mandatory Buy-ins (August 2019). Available at:
https://www.icmagroup.org/assets/documents/Regulatory/Secondary-markets/CSDR-Settlement-
Regulation/CSDR-Brochure-August-2019-190819.pdf, last accessed January 16, 2022.
77
  Earlier in this report, I mentioned that I estimated Solo’s equity capital as approximately DKK170m. So, this
loss would be approximately 12.5% of its capital (=DKK22.7m/DKK170m). Notably, the illustrative 5% move in
the market that I chose was far from the worst-case scenario in view of the volatility of individual share prices.


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      Case 1:18-md-02865-LAK               Document 813-2             Filed 06/10/22          Page 32 of 114




         B.       Opinion 2: The Counterparties to Solo Were Not Genuine Arm’s-Length Market
                  Participants with the Financial Capacity to Conduct the Purported Solo Trades
                  with the Pension Plans



                  1.       The Kaye Scholer Plans

51.      The testimony of Robert Klugman provides an insight into certain of the Solo Counterparties.

Mr. Klugman was involved in setting up approximately 40 Pension Plan accounts that traded with Solo. 78

Minimum capital requirements were waived for the Kaye Scholer Plans. 79 Their accounts were

established with as little as USD1,000 to USD2,000 in initial capital. 80 Not a single Solo custodian

required the Kaye Scholer Plans to put up cash in the custodial accounts. 81 Mr. Klugman essentially

rejected the notion that there was counterparty risk in the Solo trades, except as to the forward




78
  “Q: At the time of that dinner, do you know how many plans had been set up between you, Mr. Markowitz, and
Mr. Van Merkensteijn? A: I don't know. It was -- it could have been the full 40. There were fits and starts. I think
not all of the plans traded in August. I'm having trouble remembering exactly, but it would have been -- you
know, it would have been somewhere along the spectrum between zero and 40, or between six and 40, since I had
six set up.” Deposition Transcript of Robert Klugman, January 28, 2021, 66:19 – 67:5. One of Mr. Klugman’s
six plans – The TENS Services LLC 401k Plan – did not receive any reclaims from SKAT. Id. at 86:19-25. I
refer to these Pension Plans as the “Kaye Scholer Plans” because Mr. Klugman, Mr. Markowitz, and Mr. van
Merkensteijn used the services of defendant Michael Ben-Jacob and the law firm Kaye Scholer LLP in
establishing and maintaining these Pension Plans. See Deposition Transcript of Robert Klugman, January 28,
2021, 62:23 – 64:9.
79
  “Q What about this -- the minimum, 500,000 Euro? What -- how was it that you did not put 500,000 Euro into
your plan accounts? A It wasn't required by the custodian. Q And can you tell us, was there any -- how did that
come to be? Because you can see here, it says, "The plan is required unless otherwise waived in writing." Was
there a waiver in writing? A There may have been. I don't know. Q When you say it wasn't required, tell us what
you mean. A Solo Capital didn't require 500,000 Euros. I believed they asked for 40,000 -- $40,000, perhaps. Q
And what did you do when they asked for the 40,000? A Well, I remember there was an issue of transferring
money into that plan, a personal tax issue on my part. So, I had asked if it could be waived for all my plans. Q So,
for all of your plans, the 40,000 requirement was waived? A Yes.” Ibid, 87:15 – 88:16.
80
   “Q In terms of an initial funding, did you ever make any initial funding of your plan accounts with any -- with
any cash? A Yes, I did. Q And how much in cash did you put into your plan accounts? A It was smaller amounts.
It was -- it would have been like 1,000 or $2,000.” Ibid, 83:10 to 84:9.

 “Q Did anyone from any custodian ever contact you and tell you that you needed to transfer cash to meet a
81

minimum account balance? A No, I don't remember that happening.” Ibid, 102:6 – 11.


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      Case 1:18-md-02865-LAK               Document 813-2             Filed 06/10/22          Page 33 of 114



counterparty. 82 According to him, if the pricing had moved against the Plans, the transactions would

unwind with no loss to his Pension Plan: 83


           “Q And what is that risk?

           A Well, that would be if -- if the stock went -- let me make sure I got the direction correct. If the
           stock went down, and they -- the forward counterparty owed us money and couldn't pay it.
           Q Was there any other counterparty risk if the stock loan party fails and doesn't deliver
           cash? Is that a counterparty risk?

           A Not really, no.

           Q Why not?

           A Well, because then the transactions would unwind with no loss to the -- to my plan
           [emphasis added].”




82
   “Q And what did the counterparties here -- well, let me ask you. What did you do to determine -- what due
diligence did you do to determine whether -- what the significance of the counterparty risk was with respect to the
people -- to the counterparties that the plans were trading with? MR. ALLISON: Object to form. A Well, the only
-- the only real counterparty risk that I can think of, and now I don't know whether this was what I was thinking
then or thinking now, would be from the forward counterparty. Q And what is that risk? A Well, that would be if
-- if the stock went -- let me make sure I got the direction correct. If the stock went down, and they -- the forward
counterparty owed us money and couldn't pay it. Q Was there any other counterparty risk if the stock loan party
fails and doesn't deliver cash? Is that a counterparty risk? A Not really, no. Q Why not? A Well, because then the
transactions would unwind with no loss to the -- to my plan. Q And what if there's a custodian fail? Is there a risk
of loss there? A In what way -- a custodian fail? Q The stock was not available to one or more counterparties
because the custodian has failed. A I'm -- I'm sorry. I'm missing – I understood how you described the other fails,
but I'm -- I'm not seeing how the custodian fails, or you're -- I'm not understanding the hypothetical. I apologize.
Q You're familiar with the financial crisis, obviously? A Yes. Q And the failure of some large banks, including
Lehman? A Yes. Q And you're aware that some – for some fairly lengthy period of time, hedge funds and other
market participants were not able to access securities at certain institutions? A Yes. Q Okay. So you're aware that
that caused some hedge funds to have considerable distress and even failures? A I imagine so, yes.” Ibid, 127:14 -
129:20.
83
     Ibid, 128:3 – 18.


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      Case 1:18-md-02865-LAK                  Document 813-2             Filed 06/10/22      Page 34 of 114



52.        When establishing the Plans, Mr. Klugman performed no due diligence to evaluate the

counterparty risk, 84 claiming there was little counterparty risk associated with the stock lending

counterparty (similar to the claims he made about the forward counterparty). 85 He testified that: 86


           “A If it's just -- let's say the stock is 100, and then, on the date of the settlement -- I'm just going
           to use a very simplified example -- it goes down to 95. So you've -- or maybe I have the wrong –
           it should be -- no, because we're talking about the failure of the stock loan. I'm trying to figure
           out which way the risk is. Let's say it's 105. I think it's 105 -- let's use 95. And if it doesn't work
           out in the right direction, I'm going to go to 105. Ninety-five, the stock's gone down by five, and
           it's time to pay for the stock and no one has given us a hundred dollars. And so, gosh, we've lost
           five dollars on that stock. Someone is going to have to it pay for it. And someone is going to
           come to look for us -- when I say "us," the pension plan, someone's going to look to the pension
           plan for five dollars. And right now, the pension plan has nothing except it does. It does have a
           five-dollar asset in the form of the forward contract, which is a perfect hedge. So at the end of
           the day, yes, they'll never take delivery of the shares because no one's -- because they can't pay
           it unless they find some other stock lender at the time, which I guess is possible. But there's no
           real loss because they would unwind the forward contract and somehow get the five dollars
           that is owed to them on the forward contract, use that to pay off the cost of the failure on
           the stock purchase, and that's it [emphasis added]. Does that make sense?

           Q Well, just except for one thing. How would the plan unwind the forward contract if there had
           been a default?




84
   “Q And are you aware of any due diligence that anyone performed on any forward counterparty? A Specific due
diligence? No. Q Are you aware of any due diligence that any forward counterparty performed on any plan or any
other participant in the Danish trading transactions? MR. ALLISON: Object to form. A No, I'm not familiar with
that, no. Q Are you aware of any due diligence that any party to the Danish trading transactions performed on any
other party? MR. ALLISON: Object to form. A Well, I do know there was a lot of due diligence done originally
on Solo Capital by the Argre team. There [was] various successful transactions done over the years and I don't
know specifically what was done in 2012, 2013, and in the first part of 2014, before I got involved. But I know
they were -- all the transactions were successful and there were no failures involved. Q Is there any due diligence
that you're aware of, by any party, that was done by any other party to the Danish trading transactions, other than
what the Argre team did with Solo and the earlier successful transaction? A Well, I also know that Kaye Scholer
was involved in those earlier transactions as well, as well as other law firms involved in -- in the -- you know,
reviewing all the documents on other transactions. Specifically, what exactly they did, I can't speak to. Q Okay.
So other than what the Argre people may have done, and the Kaye Scholer law firm may have done, are you
aware of any due diligence by any party, on any other party to the Danish trading transaction? A Other than what
the Argre team did and Kaye Scholer, no, I'm not aware of anything other than those parties. Q And what can you
tell us about the due diligence on Solo that the Argre team did? A Well, when they were initially contemplating
transactions with them, I know they did a crawl search, both on Sanjay Shah and on Solo Capital. Q Anything
else? A I don't know other -- I mean, before entering into any transactions, like before even contemplating
transactions, looking at transaction documents, et cetera, no, I don't know of anything else.” Ibid, 133:25 – 136:7.
85
     For a more detailed discussion of the issue, see, Ibid, 136:21 – 142:17.
86
     Ibid, 140:15 – 142:17.


                                                             29
      Case 1:18-md-02865-LAK                Document 813-2             Filed 06/10/22          Page 35 of 114



           A I imagine there's an early settlement provision in the forward contract, or it could be a
           negotiated early settlement provision. You know, the forward counterparty again -- the forward
           counterparty would probably be interested in doing that.

           Q But if it was unable to negotiate, then you would have -- if the plan was not able to negotiate
           an early settlement, then it would be uncovered?

           A Theoretically, yes.”


53.        In the end, with none of the Pension Plans’ Solo custodian accounts funded with more than

$40,000, and some with no money at all, and with little to no counterparty due diligence, the 40 Kaye

Scholer Plans would go on to trade in transactional volume in the range of billions of dollars over a one-

month period. 87 Such massive-scale transactions would simply not have been possible if the transactions

conducted by Solo had been legitimate market-facing competitive trades between arm’s-length

counterparties.



                   2.      The Amalthea Counterparty

54.        Additional documents produced in this matter are also helpful in shedding light on the nature of

the counterparties to the Solo transactions. One of the counterparties to the Solo transactions was

Amalthea Enterprises Limited (“Amalthea”). It was incorporated in the Cayman Islands on February 14,

2013. 88     According to Amalthea’s Memorandum of Association, its capital at registration was


87
   “Q Okay. Were you aware at any time that the 40 plans had billions of dollars of holdings in Danish stock? MR.
ALLISON: Object to form. A I knew we made, over the time, billions of -- likely made billions of purchases. I
don't know what is the determination for the TIC Form S reporting of how they calculate purchases of foreign
equities. Q So you understood that, over time, plans had purchased many billions of dollars’ worth of Danish
stock. Is that correct? A Again, I'd have to look back, but I wouldn't be surprised at overall purchases in -- what is
that -- ten figures or 11, whatever, in the billions, yeah. Q But do you understand this report is not over all time?
This is over a one-month period and has the holdings during that period. A I don't know if it has the holdings
during that period. It has the purchases. Q Right. Okay. So were you -- A I don't know -- I don't know what -- you
know, I -- from these forms, there's always different calculation methods and different determinations. So I don't
know exactly what went into putting these numbers in. Q Were you aware that, under any calculation method, the
40 plans had many billions of dollars of purchases of Danish shares during May of 2015? A I'd have to look back.
I don't know how much trading was done in May of 2015. Q You did receive this e-mail. Right? A Yes, I did. I
was copied on it.” Ibid, 146:17 to 148:8.
88
  ELYSIUM-09758834. See also CAYMAN_00004211 (Affidavit of Cory Macculloch of Sterling Trust
(Cayman), Amalthea’s Corporate Services Provider).


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      Case 1:18-md-02865-LAK               Document 813-2            Filed 06/10/22         Page 36 of 114



USD50,000. 89 There is no indication that its capital increased, since Amalthea issued no changes to its

Memorandum of Association.


55.          According to its onboarding documents with Solo that were filed a week after Amalthea’s

incorporation, 90 100% of Amalthea’s shares were owned by Guenther Grant-Klar, who was also the

firm’s director and its sole authorized trader and authorized signatory. 91 Apart from Mr. Grant-Klar, I

found no record of any additional staff who worked at the company.


56.          Mr. Grant-Klar, resided in Dubai at the time and was known to Solo at the time of Amalthea’s

onboarding, as Solo already had an account for Daintree Capital, where he was a director and owner. 92

Moreover, until 2012 (i.e., approximately a year before Amalthea was incorporated), Mr. Grant-Klar had

been an employee or affiliate of Solo, both in the U.K. and in Dubai. 93


57.          Based, it appears, on its declaration only, Solo approved Amalthea’s treatment as a professional

counterparty. Acting on behalf of Amalthea, Mr. Grant-Klar declared his intent to transact in trades larger

than EUR 500,000 with Solo. 94 He received Solo’s approval on March 1, 2013. 95




89
  “The share capital of the Company is USD 50,000.00 divided into 50,000.00 Ordinary shares of par value USD
1.00 each.” Ibid.
90
     ELYSIUM-01307083.

91
     Ibid.
92
  According to Companies House, Daintree Capital was incorporated on October 5, 2012. Guenter Grant-Klar
was its sole director. The company issued one share at par value of GBP 1.00. See, https://find-and-
update.company-information.service.gov.uk/company/08242493/filing-history, last accessed January 27, 2022.
93
  According to Companies House, Grant-Klar was a director of FTJ (Non-Trading) Limited, whose registered
address was as Solo Capital Ltd., through its dissolution on January 31, 2012. See, https://find-and-
update.company-information.service.gov.uk/company/07101175, last accessed January 27, 2022. Grant-Klar was
also listed as a secretary of Elysium Global (Dubai) Limited, a subsidiary of Solo Capital Ltd., through January
24, 2012. See, https://www.difc.ae/public-register/elysium-global-dubai-limited/, last accessed January 27, 2022.
94
     ELYSIUM-01307083.
95
     ELYSIUM-01342518.


                                                        31
      Case 1:18-md-02865-LAK            Document 813-2           Filed 06/10/22        Page 37 of 114



58.       A few days later, Mr. Grant-Klar signed GMSLA agreements with 34 counterparties, which

included the Solo Pension Plans and various counterparties to their transactions. 96 Within days of signing

the GMSLA agreements, Amalthea was a party to stock loans of Danish stocks with a notional value of

close to DKK 1 billion, that were transacted with seven of these counterparties. 97


59.       Its account statement from Solo showed no cash, even as it purportedly engaged in stock lending

and borrowing transactions with notional values in billions of DKK and USD. 98


60.       In sum, this record paints a clear picture that far from being an arm’s-length counterparty,

Amalthea was a shell company that appears to be nothing but a cover for Mr. Grant-Klar’s fictitious

trading activity and an entity designed to obfuscate the circularity of the transactions in the Solo scheme.

Put differently, Amalthea is the very picture of extreme counterparty risk. No prudent or reputable market

participant would have traded with such a counterparty.


61.       According to its 2014 Q1 statement from Solo, Amalthea was party to 504 forward purchases

during the quarter, with an aggregate notional value of over DKK330 billion. All of these positions were

open at the end of the quarter. Even a 0.1% adverse change in the value of the underlying Danish stocks

would have caused a mark-to-margin loss of over DKK330m. Yet there is no indication that Solo or any

of Amalthea’s counterparties were concerned about this risk or took any action to protect themselves.

This is further evidence that these purported forward transactions were fictitious.




96
     ELYSIUM-01450347.
97
  See, Stock Loan Transaction Statement (ELYSIUM-01744706), showing Amalthea borrowed over 20 million
shares of TDC A/S on March 12, 2013 from five different pension plans, and lent the same shares to other
counterparties.
98
     ELYSIUM-01744706.


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       Case 1:18-md-02865-LAK                Document 813-2          Filed 06/10/22        Page 38 of 114




                      3.      The Colbrook Counterparty

62.           Amalthea is, in fact, just one of many counterparties that were incorporated in late 2012 or

early 2013. 99 Colbrook Limited (“Colbrook”) is another example of a counterparty with the

characteristics I just described. Colbrook was incorporated in the Cayman Islands on February 18,

2013, 100 four days after the incorporation of the Amalthea counterparty. According to its Memorandum

of Association, its capital at registration was also USD50,000. 101 There is also no indication that the

capital increased, as Colbrook’s Amended and Restated Memorandum of Association also stated that

the share capital of the company was USD50,000. 102


63.           According to a Cayman Islands document, as of March 8, 2013, the company’s directors were

Alexander Glen Smith and Martin Glen Smith. 103 Martin Smith was the sole owner and authorized

signatory, and Alex Smith was an authorized trader. 104 Both individuals provided Solo with telephone

numbers registered in the United Arab Emirates (“UAE”). 105


64.           Following the same steps as Amalthea, Colbrook was quickly onboarded into the Solo system.

On March 12, 2013, less than a month after its incorporation, Colbrook also engaged in exactly the same

trades Amalthea did, except with different Pension Plans and counterparties: it borrowed TDC A/S shares



99
  Aquila (Cayman) Limited, D.D.C (Cayman), BluMarble Capital, Chem Capital, Gulf Management Group and
SPK 23 (Cayman) Inc were all incorporated in 2012 or 2013. CAYMAN_00004215, CAYMAN_00002756,
ELYSIUM-00879476, CAYMAN_00002658, ELYSIUM-01363300 and CAYMAN_00000083.

  ELYSIUM-01475804. See also CAYMAN_00005688 (Affidavit of Brian Kevin Mulvihill of Harney Fiduciary
100

(Cayman), Colbrook’s Corporate Services Provider).
101
   “The share capital of the Company is USD 50,000.00 divided into 50,000.00 Ordinary shares of par value USD
1.00 each.” Ibid.
102
      CAYMAN_00002698, at 99.
103
      Ibid.
104
      ELYSIUM-01311710.
105
      Ibid.


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       Case 1:18-md-02865-LAK                   Document 813-2        Filed 06/10/22          Page 39 of 114



from 10 different Pension Plans and lent them back to two other counterparties, D.D.C (Cayman) and

Chem Capital. 106 The total notional value of these loans was DKK 2.2bn. 107


65.        Similar to Amalthea, the documents I have reviewed paint a clear picture of Colbrook. Far from

being an arm’s-length counterparty, Colbrook was a shell company that appears to be nothing but a cover

for the trading activity of Mr. Smith. Colbrook presented as much counterparty risk as Amalthea. Not

coincidentally, these two, supposedly independent, traders performed exactly the same trades, on the

same terms, except with different counterparties. 108 I conclude that both Amalthea and Colbrook were

not real counterparties; rather, they were integral parts of Solo’s trade loops. 109



           C.       Opinion 3: The Solo Trades Were Not Dividend Arbitrage Strategies of the Sort
                    Cited to in the Academic Literature That Dr. Carr Cites

66.        Dr. Carr argues that the Pension Plans’ strategy is supported by academic research. According

to him, “the Pension Plan strategy pursued in the Analyzed Transactions is a hedged dividend capture

strategy and is a type of dividend arbitrage” 110 and “dividend arbitrage strategies are neither new nor

unique examples of how tax incentives influence financial decisions and investment strategies.” 111 Dr.




106
   Chem Capital was also incorporated shortly before the trading at Solo allegedly commenced. Chem Capital
was incorporated on November 29, 2012. CAYMAN_00002658. See also CAYMAN_00005688 (Affidavit of
Brian Kevin Mulvihill of Harney Fiduciary (Cayman), Chem Capital’s Corporate Services Provider).
107
      ELYSIUM-01744940.

  Compare ELYSIUM-01744940 (Colbrook’s custody statement for March-April 2013), with ELYSIUM-
108

01744706 (the same for Amalthea.)
109
    Mr. Smith was the sole or partial ultimate beneficial owner of another seven entities that traded on the Solo
platform, and Mr. Grant-Klar was the sole or partial ultimate beneficial owner of two others. ELYSIUM-
05822425. I see no reason for these individuals to use multiple entities to engage in near identical trades except to
illegitimately avoid the reporting requirements mentioned elsewhere in this report and to obfuscate the true nature
of the scheme.
110
      Carr Report, ¶ 129 (footnotes omitted).
111
      Carr Report, ¶ 133 (footnotes omitted).


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       Case 1:18-md-02865-LAK                  Document 813-2           Filed 06/10/22        Page 40 of 114



Carr cites several academic articles 112 about dividend arbitrage strategies in the U.S., Australia, Finland,

and Taiwan and concludes that “in short, academic research has shown that investors in numerous

countries have engaged in dividend arbitrage strategies.” 113


67.        I agree with Dr. Carr that dividend arbitrage trading strategies are neither new nor novel. In fact,

evidence of dividend arbitrage strategies is well established as a matter of both economic theory and

empirical fact, which include the studies cited by Dr. Carr. However, for various reasons that I explain

below, there is no way in which one can look at the studies Dr. Carr cites and infer anything about the

legitimacy of the Solo transactions and any attempts to do so are misplaced.


68.        First, as I discussed earlier, the Solo trades were not real. In contrast, all the studies on dividend

arbitrage refer to transactions involving real trades.


69.        Second, even if the Solo trades were real, they would pertain to a different type of dividend

arbitrage from the literature Dr. Carr cites in his report. As background, dividend arbitrage is a term

which covers a wide range of activities including:


                1.          Individuals acquiring shares that are taxed beneficially to supplement retirement

                            income or disposing of shares or exchange traded funds (“ETFs”) shortly before the

                            income payment date to convert income to capital gains which generally receive

                            preferential tax treatment depending on jurisdiction and investor type.


                2.          Sophisticated market participants such as hedge funds expressing outright market

                            risk positions through complex trades of particular shares that are based on statistical

                            theories of price movements around dividend date.




112
      Carr Report, ¶¶ 133 – 142.
113
      Carr Report, ¶ 142.


                                                             35
       Case 1:18-md-02865-LAK                Document 813-2            Filed 06/10/22       Page 41 of 114



                3.       Moving shares from tax disadvantaged holders to more advantaged holders through

                         cross-border equity financing transactions.


70.        Dr. Carr attempts to characterize the Solo transactions as if they belong in the third category,

stating that: 114


           Modern finance theory recognizes that investors hold different portfolios, and these differences
           reflect the differences in investors’ financial situations, including their wealth, risk tolerance,
           investment horizon, tax status, and expectations about the future performance of investments. In
           particular, some investors are more willing to invest in dividend-paying stocks than others.

           Dividend arbitrage strategies are neither new nor unique examples of how tax incentives
           influence financial decisions and investment strategies. Tax motivated arbitrage trading has been
           studied in the literature for decades.



71.        However, several studies cited by Dr. Carr belong in the first two categories, which renders the

trading strategies they use to be non-comparable to the Solo transactions that Dr. Carr analyzes. Below is

an illustrative list of papers cited by Dr. Carr that belong to the first two categories of dividend arbitrage

strategies:


                1.       Henry and Koski (2017) 115 studies the trades of institutional investors, who are

                         sophisticated market participants that are able to detect and quickly act on any

                         mispricing, which places the study in the second dividend arbitrage category.


                2.       Rantapuska (2008) 116 examines the profitability of overnight trading around the Ex-

                         Dividend date. The paper’s sample primarily consist of taxable domestic investors

                         (87% of the sample), who would fit in the first dividend arbitrage category. The



114
      Carr Report, ¶¶ 132 – 133 (footnotes omitted).
115
   Henry, Tyler R. and Jennifer L. Koski, “Ex-Dividend Profitability and Institutional Trading Skill,” Journal of
Finance, 2017, 72(1), pp. 461 - 493.
116
   Rantapuska, Elias, “Ex-Dividend Day Trading: Who, How, and Why? Evidence from the Finnish Market,”
Journal of Financial Economics, 2008, 88(2), pp. 355 – 374.


                                                         36
      Case 1:18-md-02865-LAK            Document 813-2           Filed 06/10/22        Page 42 of 114



                     remaining trade observations relate to nontaxable investors (11%) and foreigners

                     (2%). The nontaxable investors are mutual funds and nonprofit institutions, who fall

                     in the second dividend arbitrage category. Foreign investors’ trades can only be seen

                     at the nominee institution level, which makes it difficult to establish their reasons to

                     trade.


             3.      Koski and Scruggs (1998) 117 examines securities dealers’ trades around ex-dividend

                     days, which places the study in the second dividend arbitrage category. Again, it is

                     not really possible for the researchers to know what the reasons for any given trades

                     were.


72.      Third, Dr. Carr’s attempts to characterize the Solo transactions as if they belong in the third

dividend arbitrage category (moving shares from tax disadvantaged holders to more advantaged holders

through cross-border equity financing transactions) are misguided on account of the lack of evidence of

the Solo transactions being executed to move securities from a legitimate tax-disadvantaged holder to a

tax-advantaged party. This is because the purported sellers of shares in the Solo trades did not hold the

shares and were not going to be subject to any tax.


73.      Fourth, even if one were willing to accept that the Pension Plans’ strategy was similar to dividend

arbitrage studies that have been studied in the literature, numerous features of the settings of the studies

cited by Dr. Carr are markedly different from the Solo trades he analyzed. For example, Dr. Carr does

not address certain distinguishing features of the Solo transactions or assert that any of the transactions

that are the subject of the literature he cites shared similar features with the Solo transactions. A key

feature of the Solo transactions is that they were structured to hedge away any possible economic gain,



  Koski, Jennifer L. and John T. Scruggs, “Who Trades Around the Ex-Dividend Day? Evidence from NYSE
117

Audit File Data,” Financial Management, 1998, 27(3), pp. 58 - 72.




                                                      37
      Case 1:18-md-02865-LAK                Document 813-2              Filed 06/10/22          Page 43 of 114



and therefore netted to zero (meaning zero gain or loss). Another feature of the Solo transactions is that

they involved zero investment of a Pension Plan’s own money to acquire Danish shares because all the

funding to buy the shares was provided by a stock loan counterparty orchestrated by Solo. Dr. Carr does

not assert that any of the transactions that are the subject of the literature share either of those features.

For illustrative purposes below I enumerate a few additional differences in detail between the Solo trades

and the literature Dr. Carr cites:


              1.       Unhedged market risk and holding periods: One of the papers cited by Dr. Carr

                       as an example of a setting where dividend arbitrage occurs (Brown and Lummer

                       (1984)) examines trading in the U.S. around dividend events. 118 The suggested

                       strategy in Brown and Lummer (1984) involves a U.S. investor buying shares with

                       U.S. dividends and benefitting from the dividend received deduction (“DRD”). 119

                       However, U.S. rules in place at the time of the study required investors who wanted

                       to benefit from the deduction to hold shares for 46 out of 90 trading days around a

                       dividend event. The Brown and Lummer (1984) strategy involved being long a share

                       with only a call option hedge, which is a very different risk proposition with

                       considerable unhedged market risk, unlike the forwards and futures in this case.

                       Such a transaction would be punitive from a regulatory capital perspective because

                       the call option hedge does not hedge the share position in all market circumstances120


118
   Brown, Keith C., and Scott L. Lummer, “The Cash Management Implications of a Hedged Dividend Capture
Strategy,” Financial Management, 1984, pp. 7-17.
119
    The dividends received deduction (“DRD”) is a federal provision in the U.S. under which “for tax years
beginning before 31 December 2017, a US corporation generally may deduct 70% of dividends received from
other US corporations in determining taxable income. The... DRD is increased from 70% to 80% if the recipient
of the dividend distribution owns at least 20% but less than 80% of the distributing corporation… For tax years
beginning after 31 December 2017, P.L. 115-97 reduces the 70% DRD to 50% and the 80% DRD to 65%.” See,
https://taxsummaries.pwc.com/united-states/corporate/income-determination, last accessed January 15, 2022.
120
   For instance, if the share price was lower than the call option’s strike price at expiry, the call option would not
be exercised, and the investor would be exposed to the full share price decline. In market parlance the delta of a
call option is below 1 unless the share price of the equities is substantially above the strike price of the option.


                                                           38
       Case 1:18-md-02865-LAK                  Document 813-2           Filed 06/10/22        Page 44 of 114



                            and is nothing like what the Solo Pension Plans claimed they did with forwards and

                            futures. The trades in Brown and Lummer (1984) would not have been permitted on

                            financial institutions’ equity finance desks, even at the largest banks, due to the

                            significant price risk exposure.


                2.          Settlement cycles: Dr. Carr cites a paper by Koski and Scruggs (1998). 121 According

                            to Dr. Carr, Koski and Scruggs (1998) “find ‘strong evidence of significant abnormal

                            volume by securities dealers around ex-dividend days.’ They report ‘strong evidence

                            that securities dealers sell these high-yield stocks cum-dividend and buy ex-

                            dividend.’” 122 However, the trades in Koski and Scruggs (1998) exclude trades with

                            non-standard settlements. 123 The authors exclude such trades precisely because they

                            are looking for evidence of different trading behavior around the Ex-Dividend Date

                            and they understand that the Ex-dividend Date for non-standard settlement trades is

                            not the same as that for market standard settlement transactions.. In contrast, all the

                            Solo trades involved non-standard settlement terms, which were longer than the

                            standard settlement cycle. 124 The longer settlement cycles that were characteristic


The relevant EU rules on calculating market risk regulatory requirements require the delta to be calculated and
applied in such transactions. See, Capital Requirements Regulation (CRR), Regulation (EU) No. 575/2013,
Chapter 2 (Prudential Consolidation), available at: https://www.eba.europa.eu/regulation-and-policy/single-
rulebook/interactive-single-rulebook/504, last accessed January 23, 2022.

  Koski, Jennifer L. and John T. Scruggs, “Who Trades Around the Ex-Dividend Day? Evidence from NYSE
121

Audit File Data,” Financial Management, 1998, 27(3), pp. 58-72.
122
      Carr Report, ¶ 136.

 See, Koski, Jennifer L. and John T. Scruggs, “Who Trades Around the Ex-Dividend Day? Evidence from
123

NYSE Audit File Data,” Financial Management, 1998, 27(3), pp. 58-72, footnote 4.
124
   As another example, the Carr Report cites a study in Italy by Michaely and Murgia (1995) and states that “the
authors ‘bring evidence consistent with the hypothesis that a significant portion of the ex-[dividend] day [trading]
activity is motivated by differential dividend tax[es].’” Carr Report, ¶ 140. The Solo trades would not have
worked in the Italian stock market which is a forward market where “actual settlement of the trade occurs
anywhere between 15 and 45 days after the purchase order.” Michaely, Roni and Maurizio Murgia, “The Effect of
Tax Heterogeneity on Prices and Volumes around the Ex-Dividend Day: Evidence from the Milan Stock
Exchange,” Review of Financial Studies, 1995, 8(2), pp. 369-399, p. 396.


                                                               39
      Case 1:18-md-02865-LAK              Document 813-2             Filed 06/10/22         Page 45 of 114



                      of the Solo trades render them non-comparable to the trades examined by Koski and

                      Scruggs (1998).


             3.       Profitability/Returns to dividend arbitrage: Several of the papers cited by Dr. Carr

                      note that the returns to dividend arbitrage strategies are quite small even before

                      including transaction costs. 125 This is in large part because they are market risk

                      taking transactions unlike the Solo transactions. In addition, because the Solo

                      Pension Plans did not in fact source any shares, they were not even subject to the

                      normal dividend pricing elements which apply in genuine equity finance

                      transactions, which I explained in the Wade Initial Report, so I do not see any valid

                      comparison. However, it is worth highlighting that some of the research which Dr.

                      Carr cites demonstrates the reasons why few investors would actually undertake the

                      types of strategies being discussed in the papers. For example, Henry and Koski

                      (2017) find the small returns to the strategy are not significantly positive after

                      including transaction costs, except for trading desks that are highly skilled – although

                      again they have no real basis for reaching this conclusion as they in fact attempt to

                      infer motive and behavior from an anonymized dataset. 126 In Rantapuska (2008), the

                      average trading profit from overnight buy/sell transactions is EUR 1,594.94 for

                      Finnish households (87% of the sample’s trades) and EUR 17,776.89 for foreign

                      investors. The trading profits are even smaller when one looks at the median, with


125
   See, for example, Henry, Tyler R. and Jennifer L. Koski, “Ex-Dividend Profitability and Institutional Trading
Skill,” Journal of Finance, 2017, 72(1), pp. 461-493; Rantapuska, Elias, “Ex-Dividend Day Trading: Who, How,
and Why? Evidence from the Finnish Market,” Journal of Financial Economics, 2008, 88(2), pp. 355 – 374;
Chen, Hung-Ling, Edward H. Chow, and Cheng-Yi Shiu, “Ex-Dividend Prices and Investor trades: Evidence from
Taiwan,” Pacific-Basin Finance Journal, 2013, 24, pp. 39-65; Brown, Keith C., and Scott L. Lummer, “The Cash
Management Implications of a Hedged Dividend Capture Strategy,” Financial Management, 1984, pp. 7-17.
126
   See Henry, Tyler R. and Jennifer L. Koski, “Ex-Dividend Profitability and Institutional Trading Skill,” Journal
of Finance, 2017, 72(1), pp. 461-493. The authors state that, “Although we do not have identifying information
from Abel Noser about the institutions in our sample, we explore some cross-sectional characteristics of their
trading activity to try to infer their identity and economic motives.”


                                                         40
      Case 1:18-md-02865-LAK                Document 813-2             Filed 06/10/22          Page 46 of 114



                       EUR 1,230.36 for Finnish households and EUR 177.10 for foreign investors. Such

                       returns would have been too small to justify the risk associated with the purported

                       Solo trades, a view that is informed by my experience that paper profits from back

                       testing are never as good in real life. Generally, it is very typical that a trade with a

                       Sharpe ratio of 2 in back testing yields a Sharpe Ratio of 1 in real life, which is

                       reflective of a combination of real-life factors that cannot be incorporated in a model,

                       such as sampling bias and market impact. 127 Moreover, academic researchers

                       recognize that the estimated returns to dividend arbitrage strategies are not reflective

                       of actual returns that can be earned in practice. According to Boyd and Jagannathan

                       (1994), one of the papers Dr. Carr cites, “a stock’s suitability for arbitrage or

                       dividend capturing trading depends on other features besides its dividend yield-

                       especially its risk, transaction costs, and the quantity of stock available. These other

                       attributes are either unknown or imperfectly observed by the researcher.” 128


             4.        Investor type: Most of the cited papers focus on profitability of trades for different

                       types of investors (e.g., a combination of domestic and foreign investors; a




127
   The Sharpe Ratio is “commonly used to gauge the performance of an investment by adjusting for risk. The
higher the ratio, the greater investment return relative to the amount of risk taken, and thus, the better the
investment.” See, https://corporatefinanceinstitute.com/resources/knowledge/finance/sharpe-ratio-definition-
formula/, accessed January 9, 2022.

The following are Sharpe Ratio grading thresholds: less than 1 is bad; 1 – 1.99 is adequate/good; 2 – 2.99 is very
good; greater than 3 is excellent. Ibid.

Market impact refers to the fact that as soon as an investor begins to trade an investment strategy, those trades
affect the market price and many other market participants will either try to copy the investor’s trades or trade
against the investor (hedge funds often use sophisticated algorithms to detect trading patterns of other market
participants), thus reducing the arbitrage the investor is trying to capture.
128
   Boyd, John H. and Ravi Jagannathan, “Ex-Dividend Price Behavior of Common Stocks,” Review of Financial
Studies, 1994, 7(4), pp. 711-741.




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      Case 1:18-md-02865-LAK               Document 813-2             Filed 06/10/22         Page 47 of 114



                        combination of financial and nonfinancial investors) 129, whereas the Solo trades

                        solely involve foreign investors. Further, due to the type of data the authors cited by

                        Dr. Carr use, it is impossible to know the full terms and arrangements of their actual

                        trades or their motivations. Different investors have different reasons to engage in

                        trading around dividend events. Dr. Carr is silent on any of the different participants’

                        identities or motivations and whether these attributes are relevant for the Solo trades.


74.      In summary, none of the academic literature cited in the Carr Report is relevant to, applicable

to, or supportive of the purported dividend arbitrage strategies that the Solo Pension Plans engaged in.



         D.       Opinion 4: Dr. Carr’s trade analysis, which is based on the selective review of parts
                  of the circular Solo trades, is incomplete, incorrect, and substantially misrepresents
                  the two transactions he analyzed. This narrow approach also ignores the obvious
                  circularity of the fabricated Cum-Ex scheme. All of the opinions in respect of the
                  Solo Transactions in the Wade Initial Report apply equally to these transactions.
                  130



75.      Dr. Carr reviewed two transactions. The first transaction was the RJM Mærsk B 2013

transaction and the second was The Proper Pacific CHRH 2014 transaction. A description of the

economics of the two transactions analyzed in the Carr Report follows below.



                  1.        The RJM MAERSKB 2013 Transaction

76.      Dr. Carr analyzes the RJM Capital Pension Plan’s (“RJM”) trades around the dividend issued by

A.P. Møller Mærsk A/S (“Mærsk”) for its Class B shares in April 2013. Below, I review these trades and


129
   See, for example, Rantapuska, Elias, “Ex-Dividend Day Trading: Who, How, and Why? Evidence from the
Finnish Market,” Journal of Financial Economics, 2008, 88(2), pp. 355 – 374; Michaely, Roni and Maurizio
Murgia, “The Effect of Tax Heterogeneity on Prices and Volumes around the Ex-Dividend Day: Evidence from
the Milan Stock Exchange,” Review of Financial Studies, 1995, 8(2), pp. 369-399.
130
   Solo was an FCA-regulated entity and should not therefore have undertaken these transactions. In addition,
many of the counterparties or the participants who acted as officers for these entities held or had held Approved
Person status at regulated firms. It is my experience that anyone with such status was subject to various education
and certification requirements which cover many, if not all, of the regulatory issues I raise in this report.


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       Case 1:18-md-02865-LAK                 Document 813-2        Filed 06/10/22    Page 48 of 114



calculate the actual economic profit earned by RJM. I show that in all material respects, this transaction

is identical to the Delvian transaction I analyzed in the Wade Initial Report. 131


77.           As background, the parties to the transaction were:


                  1. RJM, a U.S. Pension Plan that was a client of Solo.


                  2. FGC Securities (“FGC”), a U.S. broker-dealer which served as an executing broker and

                      futures intermediary.


                  3. Colbrook Ltd. (“Colbrook”), a Cayman-registered entity which served as a stock loan

                      intermediary.


                  4. D.D.C. (Cayman) (“DDC”), a Cayman-registered entity which served as a short seller.


78.           Mærsk declared a dividend of DKK1,200 for its Class-B shares on February 22, 2013. The Ex-

Date was April 12, 2013, the Record Date was April 16, 2013, and the Payment Date was April 17,

2013. 132


79.           On April 11, 2013, RJM purportedly bought 10,400 Mærsk Class-B (“MAERSKB”) shares, at a

price of DKK43,680.2893 per share. 133 The settlement date was April 17, 2013, i.e., this was a T+4 trade,

one business day longer than the standard settlement period at the time. 134 The trade was executed by

FGC Securities. 135 Dr. Carr does not mention or identify the counterparty to the trade. He explains:




131
      Wade Initial Report, ¶¶ 227-233 and Figure 11.
132
      Carr Report, ¶ 152 and Exhibit 4.
133
      ELYSIUM-03200803; see also MPSKAT00135581, at 82.
134
      Ibid.
135
    Carr Report, ¶¶43, 154; see also, ELYSIUM-01552935 (trade approval from Solo), ELYSIUM-01554930
(trade confirmation from FGC).


                                                          43
      Case 1:18-md-02865-LAK              Document 813-2         Filed 06/10/22       Page 49 of 114



“Consistent with the trade confirmation, the account statement shows only the RJM Plan’s side of the

trade, not that of any counterparty.”


80.        Dr. Carr is curiously blinkered here. The production evidence, in fact, clearly shows that the

counterparty to the trade was DDC which has the same set of documents that Dr. Carr cites for RJM’s

side of the transaction: a give-up agreement (“GUA”) between RJM, Solo, and FGC, 136 a trade approval

from Solo, 137 a trade confirmation from FGC, 138 and an account statement from Solo. 139 The latter three

documents all show that DDC took the exact opposite trade to RJM Capital.


81.        DDC, like Colbrook and other counterparties, was incorporated shortly before participating in

the alleged trading of Danish shares. DDC was incorporated on September 19, 2012, less than six months

before the MAERSKB 2013 Transaction. 140 Evidence in the record indicates that DDC took part in

circular trades at Solo as early as on November 30, 2012, less than three months after incorporation. 141


82.        Further evidence is provided by an FGC Securities summary spreadsheet which shows all

MAERSKB trades the broker executed on April 11, 2013. The spreadsheet lists parties to a given trade

together under the same “Ticket #”. 142




136
      ELYSIUM-01354486.
137
      ELYSIUM-01552936.
138
      ELYSIUM-08521698.
139
      ELYSIUM-01744925.
140
   CAYMAN_00002756. See also, CAYMAN_00005688 (Affidavit of Brian Kevin Mulvihill of Harney
Fiduciary (Cayman), DDC’s Corporate Services Provider).
141
      ELYSIUM-01001178.
142
      ELYSIUM-01553174, “Stock” tab. The RJM-DDC equity trade is Ticket #7.


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       Case 1:18-md-02865-LAK              Document 813-2         Filed 06/10/22      Page 50 of 114



83.           Also, on April 11, 2013, RJM hedged its stock purchase by selling forward 104 single-stock

futures contracts for MAERSKB at a price of DKK 42,821.31. 143 The trade was also executed by FGC, 144

and the counterparty again was DDC. 145


84.           On April 16, 2013 (the Record Date), RJM financed its stock purchase by agreeing to lend its

MAERSKB shares to Colbrook, to settle on the next day. The shares were valued at the original purchase

price of DKK43,680.2893, and margin was 100%. 146 The shares were lent at an interest rate of Overnight

DKK LIBOR plus 70 basis points, and the lending fee was Overnight DKK LIBOR plus 49.55 basis

points. 147 RJM and Colbrook had already signed a GMSLA. 148


85.           Dr. Carr does not ask or identify how Colbrook came up with the necessary cash. Again, the

production record is very clear: Colbrook re-lent the shares to DDC, on the same day and exactly under

the same terms. 149


86.           Colbrook and DDC also had also signed a GMSLA. 150 The GMSLAs were highlighted by Dr.

Carr when he compared the executed agreement to the standard GMSLA, 151 presumably to indicate that

they were standard GMSLAs. My observation, based on my experience negotiating many GMSLAs and



143
   Carr Report, ¶¶ 87-89, 154. See also ELYSIUM-01552940 (trade approval from Solo), ELYSIUM-01554930
(trade confirmation from FGC).
144
      Ibid.

145
      ELYSIUM-01552933. See also ELYSIUM-01553174, tab “Futures”. The RJM-DDC futures trade is Ticket #7.
146
      Carr Report, ¶ 117.
147
      ELYSIUM-01574029. See also Carr Report, ¶ 155.
148
      Carr Report ¶ 157 and Ex. 11.

  ELYSIUM-01574028. Colbrook’s account statement from Solo does not show any DKK cash balance.
149

ELYSIUM-01744940.
150
      ELYSIUM-09318785.
151
      Carr Report, Footnote 133.


                                                       45
      Case 1:18-md-02865-LAK           Document 813-2         Filed 06/10/22       Page 51 of 114



similar agreements, is somewhat different. It is notable to me based on the comparison of the documents

that the parties appear to have had no meaningful negotiation of these GMSLA and there is no notable

departure from the standard GMSLA terms. It is also notable that the Equities Annex, which covers

various situations that arise in equity security-based stock lending, appears to have been omitted. I do

not consider these GMSLAs to have been properly negotiated on an arm’s-length basis.




                                               Figure 2




87.      As in the Delvian transaction that I analyzed in the Wade Initial Report, the RJM MAERSKB

2013 transaction is a complete circle. The purported source of the shares DDC was to deliver to RJM on

the Settlement Date was a stock loan from Colbrook, who borrowed the same shares from RJM. The

purported source of the cash RJM would deliver to DDC as payment on the Settlement Date was the

100% collateral posted by Colbrook, who in turn received the same collateral from DDC. The trading


                                                   46
       Case 1:18-md-02865-LAK                Document 813-2          Filed 06/10/22        Page 52 of 114



pattern between the Delvian and RJM MAERSKB 2013 transactions is identical; the only differences are

the identities of the players and the stock over which a dividend event arose.


88.           On June 13, 2013, the trade loop began moving in the opposite direction:


       1.         RJM recalled its loan to Colbrook, who in turn recalled its loan to DDC. 152


       2.         RJM sold its shares back to DDC, again through FGC Securities. 153 The shares were priced

                  at DKK40,750.2863 per share. 154


       3.         RJM bought back the futures contracts it had sold forward in April 2013. Again, FGC

                  intermediated, and DDC was the counterparty. 155 The contracts were traded based on an

                  underlying price of DKK40,750.94 per share. 156


89.           Dr. Carr offers a calculation of the profitability of the trade to RJM 157 (which deviates

significantly from the calculation made in RJM’s annual statement from Solo), 158 yet is silent as to the

possible reasons for this difference. There are two main differences between both sets of calculations:




152
   ELYSIUM-01860759 (recall approval from Solo to RJM), ELYSIUM-01860774 (recall approval from Solo to
Colbrook). See also Carr Report, ¶ 159, where Dr. Carr mentions only the recall by RJM, but ignores the
corresponding recall by Colbrook.
153
   ELYSIUM-01823054 (trade approval from Solo to RJM), ELYSIUM-01823066 (trade approval from Solo to
DDC). See also Carr Report, ¶¶ 56 and 158, where Dr. Carr mentions only the RJM side of the trade and ignores
the counterparty.
154
      Ibid.
155
   ELYSIUM-01823083 (trade approval from Solo to RJM), ELYSIUM-01823082 (trade approval from Solo to
DDC). See also Carr Report, ¶ 158, where Dr. Carr mentions only the RJM side of the trade and ignores the
counterparty.
156
      Ibid.
157
      Carr Report, ¶¶ 160-162 and Table 1.
158
      MPSKAT00135581.


                                                          47
      Case 1:18-md-02865-LAK                Document 813-2             Filed 06/10/22         Page 53 of 114



      1.       Dr. Carr appropriately includes the tax reclaim in the profit calculation, whereas the Solo

               annual statement treats it as a separate global payment which is then offset against global

               invoices from Solo.


      2.       Dr. Carr appropriately includes the trading and clearing fees in his calculation, whereas the

               Solo annual statement treats those as separate payments.


90.        By ignoring these differences between his own, theoretically correct calculation, and the quite

unusual calculation presented in the Solo annual statement, Dr. Carr has presumably avoided drawing

attention to a telling feature of the Solo transactions, which is that they all net-off to essentially zero. 159


91.        Dr. Carr calculates a net profit of DKK3,360,345.58 in the RJM MAERSKB 2013 Transaction.

The following table, however, presents the calculation based on the Solo annual statement alone:




  I reference this feature of the Solo transactions in my initial report, in the context of a Delvian Chr. Hansen
159

2012 transaction. Wade Initial Report, ¶¶ 259-266.


                                                          48
       Case 1:18-md-02865-LAK               Document 813-2              Filed 06/10/22          Page 54 of 114



                                                           Table 2


                             Step                           Value (DKK)


                             Equity Buy                              (454,275,008.72)


                             Futures Sale                              445,341,624.00


                             Net Dividend                                 9,110,400.00


                             Equity Sale                               423,802,977.52


                             Futures Purchase                        (423,809,776.00)


                             Stock Loan Interest                          (588,401.43)


                             Stock Loan Fee                                 440,269.76


                             Total to RJM                                  22,085.13 160


Source: MPSKAT00135581.




92.        In other words, by treating the tax reclaim and all broker, exchange, and clearing fees separately,

the transaction nets off to DKK22,085 (the equivalent of approximately USD3,900). In fact, accounting

for the trading and clearing fees, which Dr. Carr calculates as DKK31,339.55, 161 the RJM MAERSKB




160
    For reference this net result is less than 0.5 basis points of the Cum-Ex purchase notional of DKK454.3m and
is the equivalent of approximately USD3.9k using the exchange rate of 0.1757 USD per DKK. This was the
exchange rate on April 11, 2013, the date of the first trade in this series of transactions. Source: Refinitiv Eikon.
161
      Carr Report, Ex. 16.


                                                           49
       Case 1:18-md-02865-LAK                Document 813-2             Filed 06/10/22          Page 55 of 114



2013 transaction resulted in a small loss to the Pension Plan. Put differently, Dr. Carr’s calculated net

profit of DKK 3,360,345.58 is almost entirely driven by the tax reclaim of DKK3,369,600.00. 162


93.         As shown in the Wade Initial Report, some Solo transactions were altered after the fact to ensure

that the trades netted nearly perfectly to zero. 163 Solo’s annual statement for RJM shows evidence of this

conduct too. The statement shows that the sum of all of RJM’s positions was DKK-2.13 (less than

USD0.50) at the end of the year, an amount which is essentially zero. 164 However, this amount is only

achieved by artificially increasing some of the interest payments beyond what was purportedly agreed to

in the original trade confirmations. For example, the interest payment made by RJM in connection with

its Carlsberg Class B 2013 transaction is calculated as 1.44%, 165 even though the relevant trade

confirmation states that the interest rate would be DKK Overnight LIBOR + 70 basis points, meaning

that the correct rate was around 0.77%. 166 A similar adjustment is made in the statement for RJM’s

interest payments in connection with its Novo Nordisk Class B 2013 transaction. 167


94.        I conclude that this RJM MAERSKB 2013 transaction analyzed by Dr. Carr shares all the

essential fictitious features with the Delvian transaction analyzed in the Wade Initial Report. The opinions

in the Wade Initial Report with respect to the Delvian transaction therefore apply in full to the RJM

MAERSKB 2013 transaction analyzed here.




162
      The calculated net profit comprises 99.7% of the amount of tax reclaim.
163
   Wade Initial Report, ¶ 264. As I have explained earlier in this report it is simply not plausible that this
occurred either by chance or as a result of true arms’-length pricing.
164
      MPSKAT00135581, at 581, 649.
165
      MPSKAT00135581, at 593.
166
   ELYSIUM-01488492. DKK Overnight LIBOR did not exceed 0.07% during the period, as shown, for
example, in the calculation of RJM’s stock lending fees for the same transaction. MPSKAT00135581, at 595.
167
   See ELYSIUM-01482371. The calculation is found in MPSKAT00135581, at 592. The interest rate used in
this case was 1.52%.


                                                           50
      Case 1:18-md-02865-LAK              Document 813-2         Filed 06/10/22       Page 56 of 114




                   2.      Proper Pacific CHRH 2014 Transaction

95.        The second transaction analyzed by Dr. Carr is the Proper Pacific CHRH 2014 Transaction. Dr.

Carr analyzed the Proper Pacific LLC 401(k) Plan (“Proper Pacific”) trades around the dividend paid by

Chr. Hansen Holding A/S (“Chr. Hansen” for the company or “CHRH” for the shares) in November 2014.

Below, I review these trades and calculate the economic profit accrued to Proper Pacific.


96.        The parties to the transaction were:


      1.       Old Park Lane Capital Ltd. (“Old Park Lane”), which served as custodian.


      2.       Proper Pacific, a U.S. Pension Plan which was a client of Old Park Lane.


      3.       Bastion Capital London Ltd. (“Bastion Capital”), a U.K. broker-dealer which served as an

               executing broker.


      4.       Ballygate Capital Ltd, a Cayman-registered entity which served as an equity intermediary.


      5.       Amalthea, a Cayman-registered entity which served as a forward counterparty.


      6.       LDW Consultants Ltd. (“LDW”), a British Virgin Islands-registered entity which served as

               a forward intermediary.


      7.       Gnosis Capital Ltd. (“Gnosis”), a British Virgin Islands-registered entity which served as a

               stock loan intermediary.


      8.       Esengi Investments Ltd. (“Esengi”), a Cayman-registered entity which served as a stock loan

               intermediary.


      9.       Aronex Partners Ltd. (“Aronex”), an entity which served as a short seller and ultimate

               forward counterparty.




                                                      51
       Case 1:18-md-02865-LAK                Document 813-2          Filed 06/10/22         Page 57 of 114



97.           Most of the non-broker parties to the transaction were incorporated shortly before taking part in

this or other similar circular transactions of Danish shares. Amalthea took part in alleged trading less than

a month after its incorporation. 168 Aronex was incorporated on September 16, 2013 and took part in

alleged Danish transactions less than six months later, on February 26, 2014. 169 Esengi was incorporated

on September 30, 2013 and took part in alleged Danish transactions less than a year later on August 12,

2014. 170 Gnosis Capital was incorporated on June 25, 2014 and took part in alleged Danish transactions

less than two months later on August 12, 2014. 171


98.           Chr. Hansen declared a dividend of DKK3.77 on October 22, 2014. The Ex-Date was November

28, 2014, the Record Date was December 1, 2014, and the Payment Date was December 2, 2014. 172


99.           On November 27, 2014, Proper Pacific bought 839,500 CHRH shares, at a price of DKK258.90

per share. 173 The Settlement Date was December 2, 2014, i.e., this was a T+3 trade at a time when the

standard settlement in Europe was T+2. 174 The trade was executed by Bastion Capital. 175 To satisfy the

demand for Chr. Hansen shares, Bastion Capital purchased 20,892,979 shares from Ballygate Capital,

again under exactly the same terms. 176



168
      Supra, ¶ 58.
169
   BVI_00016570, ELYSIUM-02997512. See also BVI_00016691 (Affidavit of Rexella Hodge of Vistra (BVI)
Ltd., Aronex’s Corporate Services Provider).

  ELYSIUM-02301014, ELYSIUM-03436516. See also CAYMAN_00000002 (Affidavit of David Lloyd of
170

Bell Rock Group Financial Services Ltd., Esengi’s Corporate Services Provider).

  ELYSIUM-03255608, ELYSIUM-07232611. See also BVI_00016680 (Affidavit of Macia Payne of Harneys
171

Corporate Services Ltd., Gnosis’s Corporate Services Provider).
172
      Carr Report, ¶ 164 and Exhibit 13.
173
      Carr Report, ¶ 166. See also, ELYSIUM-03572348 (trade approval from Old Park Lane).
174
      Ibid.
175
      Ibid. See also, PROPPACIF00001323 (trade confirmation from Bastion Capital).
176
      ELYSIUM-03572340.


                                                          52
      Case 1:18-md-02865-LAK               Document 813-2           Filed 06/10/22        Page 58 of 114



100.       On December 1, 2014, the Record Date, Proper Pacific financed its stock purchase by lending its

CHR shares to Gnosis, to settle on the next day. The shares were valued at the original purchase price of

DKK258.90, and there was no haircut. 177 The shares were lent at a fixed interest rate of 70 basis points,

and the lending fee was 35.67 basis points. 178


101.       As an aside, I note that Proper Pacific and Gnosis had already signed a GMSLA for this stock

loan. 179 Again, Dr. Carr does not ask how Gnosis came up with the necessary cash and, again, the

production record provides the answer: Gnosis re-lent the shares to Esengi, on the same day and under

similar terms. 180 Esengi, in turn, re-lent the shares to Aronex Partners. 181 Aronex, in turn, sold the shares

to Ballygate Capital. 182




177
      Carr Report, ¶ 117. ELYSIUM-03582169.
178
      ELYSIUM-03582169. See also, Carr Report, ¶ 155.

  Carr Report, ¶ 169, citing to PROPPACIF00001035. The same points made earlier in respect of the Colbrook
179

GMSLA not being a properly negotiated GMSLA similarly apply to this transaction.
180
      ELYSIUM-03582197. Esengi would pay a slightly higher lending fee to Gnosis, at 40.67.
181
      ELYSIUM-03582227. Aronex would pay 45.67 basis points as a lending fee to Esengi.
182
      ELYSIUM-03572332.


                                                        53
      Case 1:18-md-02865-LAK            Document 813-2          Filed 06/10/22       Page 59 of 114



                                                     Figure 3




102.      Just like the other Solo transactions, the Proper Pacific transaction is a complete circle. The

purported source of the shares Bastion Capital would deliver to Proper Pacific on the settlement date was

a sale from Ballygate Capital, who bought the shares from Aronex Partners, who in turn borrowed the

same shares, via Gnosis and Esengi, from Proper Pacific. The purported source of the cash Proper Pacific

would deliver to Bastion Capital as payment on the settlement date was the 100% collateral posted by

Gnosis, who in turn received the same collateral from Aronex, via Esengi. Aronex’s cash, in turn, came

from Bastion Capital, via Ballygate Capital.


103.      Also, on November 27, 2014, Proper Pacific hedged its stock purchase by selling forward

839,500 shares, expiry date March 20, 2015, at a price of DKK256.42. 183 The trade was matched by Old




183
      ELYSIUM-03572456.


                                                     54
       Case 1:18-md-02865-LAK                 Document 813-2          Filed 06/10/22        Page 60 of 114



Park Lane and the counterparty was Amalthea. 184 On the same day Amalthea sold a near-identical forward

to LDW Consultants Ltd., which then sold a near-identical forward to Aronex Partners. 185


104.          As was the case in the RJM Mærsk B 2013 Transaction which Dr. Carr analyzed and the two

transactions that I analyzed in the Wade Initial Report, on December 16, 2014, as it was unwound the

entire loop began moving in the opposite direction for the Proper Pacific trade:


       1.        Proper Pacific recalled its loan to Gnosis, 186 who in turn recalled its loan to Esengi, 187 who

                 in turn recalled its loan to Aronex. 188


       2.        Proper Pacific sold its shares back to Bastion Capital, who turned around and sold them to

                 Ballygate Capital, who in turn sold the same shares back to Aronex. 189


       3.        Proper Pacific bought forward the same number of CHR shares, at the same expiry date, that

                 it had sold forward in November. The counterparty was again Amalthea. The price was

                 DKK261.22. 190 Amalthea, in turn, bought the same number of shares from LDW

                 Consultants, who bought them forward in turn from Aronex. 191




184
      Ibid.
185
      ELYSIUM-03572445; ELYSIUM-03572522.

186
      ELYSIUM-03638605.
187
      ELYSIUM-03638673.
188
      ELYSIUM-03638676.
189
    ELYSIUM-03638582 (trade approval from Old Park Lane to Proper Pacific), ELYSIUM-03638558 (trade
approval from Old Park Lane to Aronex, citing Ballygate Capital as the counterparty), and ELYSIUM-03638540
(trade approval from Old Park Lane to Ballygate Capital, citing Bastion Capital as the counterparty). See also Carr
Report, ¶ 170, where Dr. Carr only mentions the Proper Pacific side of the trade but ignores the rest of the loop.
190
      ELYSIUM-03638592.
191
      ELYSIUM-03638569, ELYSIUM-03638508.


                                                            55
    Case 1:18-md-02865-LAK                Document 813-2            Filed 06/10/22         Page 61 of 114



105.    As in the case of RJM, Dr. Carr’s calculation of Proper Pacific’s net profit differs significantly

from the calculation based on the annual statement to Proper Pacific from Old Park Lane. That

calculation, not surprisingly, nets off perfectly to zero:




                                                         Table 3


                               Step                          Value (DKK)


                               Equity Buy                      (217,346,550.00)


                               Forward Sale                      215,264,590.00


                               Net Dividend                         2,310,387.95


                               Equity Sale                       219,109,500.00


                               Forward Purchase                (219,294,190.00)


                               Stock Loan Interest                   (67,618.93)


                               Stock Loan Fee                          23,880.98


                               Total to Proper Pacific                       0.00


        Source: PROPPACIFIC00000955.




106.    Because Defendants’ own expert, Dr. Carr, only addressed part of the circular structure of the

Solo trades in his report, he failed to identify in his report the essentially fictitious nature of the full cycle

of the Solo trade loop. All of my general comments about the RJM MAERSKB 2013 transaction apply

equally to this transaction. In particular, again I note that if you adjust Dr. Carr’s calculated “Gross


                                                        56
       Case 1:18-md-02865-LAK              Document 813-2          Filed 06/10/22        Page 62 of 114



Profit” 192 of DKK898,265 by the net stock loan fees paid of DKK43,737.95 included in the table above

the corrected Gross Profit is exactly equal to the tax reclaim of DKK854,527.05. This demonstrates yet

again the true nature of these Solo Cum-Ex schemes as tax reclaims generating fictions. 193



                     3.     Basalt Ventures MAERSKB 2015 Transaction

107.        I have also reviewed the trades done by Basalt Ventures LLC Roth 401(k) Plan (“Basalt

Ventures”) associated with Mærsk’s March 2015 dividend. This series of trades is identical, in all

material respects, to the Proper Pacific and Roadcraft transactions analyzed elsewhere. Like those trades,

the trades form a non-market facing loop, and the profits to the pension plan, apart from trading fees, net

off to zero. Below, I review these trades and calculate the economic profit accrued to Basalt Ventures.


108.        The parties to the transaction were:


       1.       Telesto Market LLP (“Telesto”), which served as custodian.


       2.       Basalt Ventures, a U.S. Pension Plan which was a client of Telesto.


       3.       Brokers: Bastion Capital London Ltd., Sunrise Brokers.


       4.       Equity intermediaries: Mako Financial Markets LLP, Arian Financial.


       5.       Stock loan intermediaries: Trance Services Limited, Relative Value Trading GmbH.


       6.       Short seller and ultimate forward counterparty: Metis Cayman Limited.


       7.       Forward counterparty: Connaught Global Limited.




192
      Carr Report, p. 60.
193
   I have also reviewed a diagram of the purported trading that was contained in Solo's records. ELYSIUM-
06020028. My review of the Proper Pacific plan's Chr. Hansen trades and the Basalt plan's Maersk trades
discussed below shows that the email trade confirms match the structure in the Solo diagram.


                                                       57
       Case 1:18-md-02865-LAK               Document 813-2            Filed 06/10/22      Page 63 of 114



       8.         Forward intermediary: Ystwyth Trading Limited.


109.          Most of the non-broker parties were incorporated shortly before taking part in this transaction.

Connaught Global Limited was incorporated on December 12, 2014. 194 Trance Services Limited was

incorporated on October 21, 2014. 195 Ystwyth Trading Limited was incorporated on December 9,

2014. 196


110.          Mærsk declared a dividend for its Class-B shares (MAERSKB) of DKK1,971.00 on March 30,

2015. The Ex-Date was March 31, 2015, the Record Date was April 1, 2015, and the Payment Date was

April 7, 2015.


111.          On March 30, 2015, Basalt Ventures bought 7,877 MAERSKB shares, at a price of

DKK16,410.00 per share, for a notional value of DKK129,261,570.00. 197 The Settlement Date was April

7, 2015. 198 The trade was executed by Sunrise Brokers. 199


112.          Sunrise Brokers purchased the same number of shares, on the same terms, from Arian

Financial 200, who, in turn, purchased them, again on the same exact terms, from Metis Cayman Limited. 201




  BVI_00004227. See also BVI_00016680 (Affidavit of Macia Payne of Harneys Corporate Services Ltd.,
194

Connaught Global’s Corporate Services Provider). BVI_00004227.
195
   BVI_00013784. See also BVI_00016680 (Affidavit of Macia Payne of Harneys Corporate Services Ltd.,
Trance Services’s Corporate Services Provider). BVI_00013784

  BVI_00014746. See also BVI_00016680 (Affidavit of Macia Payne of Harneys Corporate Services Ltd.,
196

Ystwyth Trading’s Corporate Services Provider). BVI_00014746
197
      ELYSIUM-04029726.
198
      Ibid. This was a T+3 trade since April 2,3 and 6 were public holidays in Denmark.
199
      Ibid.
200
      ELYSIUM-04030897.
201
    ELYSIUM-04028325. As further evidence that these trades were not arms-length, Solo Capital Partners’
Report and Financial Statements for the Period Ended 31 March 2014 lists Metis Cayman Ltd as a “related party,”
i.e., one “where the ultimate controlling party of Solo Capital partners LLP has a significant influence.”


                                                          58
       Case 1:18-md-02865-LAK               Document 813-2          Filed 06/10/22       Page 64 of 114



113.          On April 1, 2015, the Record Date, Basalt Ventures financed its stock purchase by lending its

MAERSKB shares to Trance Services Limited, to settle on the next business day, April 7, 2015. The

shares were valued at the original purchase price of DKK16,410.00, and margin was 100%. 202 The shares

were lent at a fixed interest rate of 70 basis points, and the lending fee was 87.5968 basis points. 203


114.          Trance Services re-lent the shares to Relative Value Trading GmbH (“RVT”), on the same day

and under similar terms. 204 RVT, in turn, re-lent the shares to Metis Cayman, on the same day and at the

same price. 205


115.          Almost a carbon copy of the Proper Pacific transaction analyzed by Dr. Carr, and like the other

Solo transactions, the Basalt Ventures transaction is a complete circle. The purported source of the shares

that Sunrise Brokers would deliver to Basalt Ventures on the settlement date was a sale from Arian

Financial, who bought the shares from Metis Capital, who in turn borrowed the same shares, via Trance

Services and RVT, from Basalt Ventures. The purported source of the cash Basalt Ventures would deliver

to Sunrise Brokers as payment on the settlement date was the 100% collateral posted by Trance Services,

who in turn received the same collateral from Metis Cayman, via RVT. Metis Cayman’s cash, in turn,

came from Sunrise Brokers, via Arian Financial.


116.          Also, on March 30, 2015, Basalt Ventures hedged its stock purchase by selling forward 7,877

shares, expiry date June 19, 2015, at a price of DKK14,965.5352. 206 The trade was matched by Telesto,




202
      ELYSIUM-04053345.
203
      Ibid.
204
      ELYSIUM-04052784. RVT would pay a slightly higher lending fee to Trance Services, at 92.5968.
205
      ELYSIUM-04052746. Metis Cayman would pay yet a higher lending fee to RVT, at 97.5968.
206
      ELYSIUM-04029719.


                                                         59
       Case 1:18-md-02865-LAK                 Document 813-2           Filed 06/10/22       Page 65 of 114



and the counterparty was Connaught Global Ltd. 207 On the same day Connaught Global Ltd sold forward

7,877 shares to Ystwyth Trading Ltd that sold forward 7,877 shares to Metis Cayman Ltd. 208


117.          As was the case in the other Solo transactions analyzed by Dr. Carr and in my initial report, the

entire loop began moving in the opposite direction to unwind the Basalt Ventures trade:


       1.         The forward contracts Basalt had sold were set to expire on June 19, 2015. On June 16, 2015

                  Basalt Ventures rolled its hedge forward to September 18, 2015. The counterparty was again

                  Connaught Global. The price difference was DKK5.1476 per share. 209 Connaught Global

                  rolled its own position forward vis-à-vis Ystwyth Trading, which did the same vis-à-vis Metis

                  Cayman. 210


       2.         On June 26, 2015, Basalt Ventures recalled its loan to Trance Services, 211 who in turn recalled

                  its loan to RVT, 212 who in turn recalled its loan to Metis Cayman. 213


       3.         Also, on June 26, 2015, Basalt Ventures sold its shares to Bastion Capital 214, at

                  DKK12,440.00 per share, settling on June 30, 2015. Bastion Capital sold the same share on




207
      Ibid.

  ELYSIUM-04121959 (Ystwyth statement showing trades with Connaught Global (CON01) and Metis Cayman
208

(MET02)).
209
   ELYSIUM-04450231, ELYSIUM-05087718. Basalt Ventures closed it hedge at DKK12,069.3881 a share,
and opened a new hedge at DKK12,064.2405.
210
      ELYSIUM-04443491, ELYSIUM-04443787, ELYSIUM-04449409 and ELYSIUM-04449621.
211
      ELYSIUM-04520674.
212
      ELYSIUM-04520612.
213
      ELYSIUM-04520438.
214
      ELYSIUM-04520662.


                                                           60
      Case 1:18-md-02865-LAK             Document 813-2          Filed 06/10/22       Page 66 of 114



               the same terms to Mako Financial Markets LLP, 215 who in turn sold the same shares on the

               same terms to Metis Cayman. 216


       4.      Lastly, on June 26, 2015, Basalt Ventures closed its hedge, at DKK12,434.0449 per share. 217

               Connaught Global closed in position vis-à-vis Ystwyth Trading, which did the same vis-à-

               vis Metis Cayman. 218


118.        Similar to the Proper Pacific CHR 2014 and Roadcraft NZYMB 2015 transactions, Basalt

Ventures’ annual statement from its custodian (Telesto in this case) shows that the net profit from the

sequence of trades is exactly zero:




215
      ELYSIUM-04520288.
216
      ELYSIUM-04520295.
217
      ELYSIUM-04520623.
218
      ELYSIUM-04520454, ELYSIUM-04520595.


                                                      61
   Case 1:18-md-02865-LAK                Document 813-2         Filed 06/10/22       Page 67 of 114



                                                     Table 4


                          Step                                 Value (DKK)


                          Equity Buy                           (129,261,570.00)


                          Forward Sale                          117,883,520.77


                          Net Dividend                           11,333,663.91


                          Forward Rollover                          (40,547.64)


                          Equity Sale                            97,989,880.00


                          Forward Purchase                      (97,942,971.68)

                          Stock Loan Interest                      (211,127.23)


                          Stock Loan Fee                            249,151.87


                          Total to Basalt Ventures                         0.00



Source: ELYSIUM-05087718.



        E.      Opinion 5: Dr. Carr Ignores the Fact That Designing the Cum-Ex Transactions to
                Include Multiple Pension Plans and IDBs Appears to Have Had No Legitimate
                Purpose Other than to Further Conceal the Scale and Deception of the Trades.
                Numerous Aspects of Their Design Raise Regulatory Concerns Related to: Money
                Laundering, Know Your Customer (“KYC”) Rules, Prearranged Wash Trading in
                Futures and Netting Practices, Position Size Disclosure Requirements and
                Restrictions, and Capital Requirements. These transactions could only have been
                executed because their structural improprieties were disregarded by participants
                in the first place.

119.    Any reputable financial institution that had been approached to participate in the Solo

transactions would not have been able to simply ignore the then-prevailing securities industry regulatory

duties that were in place at the time of the trades. In addition, the institution would also not have been

                                                     62
      Case 1:18-md-02865-LAK                Document 813-2           Filed 06/10/22         Page 68 of 114



able to ignore the market conventions, customs, and practices that were typical of equity financing

transactions at the time of these trades.


120.     As explained in the Wade Initial Report, no reputable market participant would have considered

the Solo trades to be legitimate trading strategies or would have executed them on the basis which Solo

purportedly did. In general terms, the circularity of trades conducted through multiple counterparties in

a closed loop involved equal and opposite “wash” futures transactions without actual shares of securities

or dividends. The transactional results of these trades netted to almost precisely breakeven outcomes

when the tax reclaim is excluded.


121.     These non-market facing trades gave rise to a range of regulatory and compliance issues, each of

which would have either prompted serious consideration about participating in these trades or prevented

the execution of them by any reputable market participant. In fact, the regulatory and compliance issues

that arose from these trades would have given rise to the need to file Suspicious Activity Reports

(“SARs”) or Suspicious Transaction and Order Reports (“STORs”) or both. 219




219
   According to the FCA, “The FCA is the EU competent authority for the Market Abuse Regulation (MAR) in
the UK. As part of our remit, we receive STORs from firms that are required under MAR to notify us and
supervise the regime in the UK. The National Crime Agency (NCA) is responsible for receiving SARs.” The
FCA’s reporting requirements for filing a STOR set out that “any person professionally arranging or executing
transactions shall establish and maintain effective arrangements, systems and procedures to detect and report
suspicious orders and transactions. Where such a person has a reasonable suspicion that an order or transaction in
any financial instrument, whether placed or executed on or outside a trading venue, could constitute insider
dealing, market manipulation or attempted insider dealing or market manipulation, the person shall notify the …
competent authority… without delay.” These requirements apply broadly to market participants responsible for
arranging or executing transactions and include “buy side firms, such as investment management firms… as well
as firms professionally engaged in trading on own account.” Finally, “firms that know or suspect that criminal
offences may have also occurred will need to consider whether there is an obligation… to submit a SAR to the
NCA.” See, a letter clarifying the application of the SAR and STOR regimes to firms, available at:
https://www.fca.org.uk/publication/correspondence/letter-uk-finance-sars-stors.pdf, last accessed January 15,
2022.


                                                         63
       Case 1:18-md-02865-LAK                Document 813-2            Filed 06/10/22         Page 69 of 114



122.        Had I been asked to review the Solo trades when I worked as an Approved Person 220 in an FCA

regulated firm I would have escalated these transactions to the firm’s compliance team and would have

expected the firm to file a SAR. The FCA has confirmed that this was its expected response. 221


123.        Some of the concerns raised by the Solo trades include:


                         1. Money Laundering and Know Your Customer (“KYC”) Rules


       a.       Money Laundering Rules: The goal of money laundering rules as expressed in FINRA Rule

                3310 222 is to ensure that, among other things, “the program must include appropriate risk-

                based procedures for conducting ongoing customer due diligence, including (i)

                understanding the nature and purpose of customer relationships for the purpose of developing

                a customer risk profile; and, (ii) conducting ongoing monitoring to identify and report

                suspicious transactions and, on a risk basis, to maintain and update customer information,

                including information regarding the beneficial owners of legal entity customers”. 223


                The FCA has a similar rule that requires firms that fall under its purview to undertake money

                laundering risk assessments because “the assessment of money laundering risk is at the core

                of the firm’s AML [Anti-Money Laundering] effort and is essential to the development of




  The term “Approved Person” is used to describe an individual who is authorized by the FCA or Prudential
220

Regulation Authority (“PRA”) to conduct regulated activity for a registered firm in the U.K.
221
   In its final notice to Sunrise Brokers, one of the failings enumerated by the FCA is the failure to identify or
escalate any of the failings during the relevant period. See, Final Notice to Sunrise Brokers LLP, November 12,
2021, ¶ 2.20, available at: https://www.fca.org.uk/publication/final-notices/sunrise-brokers-llp-2021.pdf, last
accessed January 14, 2022. I understand this failure to mean that the FCA expected Sunrise Brokers to escalate
the aforementioned failings through appropriate regulatory notifications, including a SAR for matters related to
financial crime.
222
   The European Union had very similar rules during the Relevant Period in the third EU Directive on the
prevention of the use of the financial system for the purpose of money laundering and terrorist financing
(2005/60/EC), available at: https://eur-lex.europa.eu/legal-content/EN/TXT/?uri=celex%3A32013R0575, last
accessed January 22, 2022.
223
      See, https://www.finra.org/rules-guidance/key-topics/aml, last accessed January 29, 2022.


                                                           64
       Case 1:18-md-02865-LAK                Document 813-2            Filed 06/10/22         Page 70 of 114



                effective AML policies and procedures.” 224 Among other provisions, such firms must

                implement “systems and controls [that] must be comprehensive and proportionate to the

                nature, scale and complexity of a firm’s activities” and “must regularly review their risk

                assessment to ensure it remains current. 225


       b.       Know Your Customer (“KYC”) Rules: FINRA Rule 2090 specifies that “every member

                shall use reasonable diligence, in regard to the opening and maintenance of every account, to

                know (and retain) the essential facts concerning every customer and concerning the authority

                of each person acting on behalf of such customer”. 226


                The FCA has similar rules which require firms to conduct customer due diligence checks

                where they “must identify their customers, and where applicable, their beneficial owners, and

                then verify their identities. Firms must also understand the purpose and intended nature of

                the customer’s relationship with the firm and collect information about the customer and,

                where relevant, beneficial owner. This should be sufficient to obtain a complete picture of

                the risk associated with the business relationship and provide a meaningful basis for

                subsequent monitoring. 227




224
   See, FCA Financial Crime Guide: A firm’s guide to countering financial crime risks (FCG), FCG 3: Money
laundering and terrorist financing, ¶ 3.2.3, available at: https://www.handbook.fca.org.uk/handbook/FCG.pdf, last
accessed January 15, 2022.
225
      Ibid.
226
      See, https://www.finra.org/rules-guidance/rulebooks/finra-rules/2090, last accessed January 26, 2022.
227
   See, FCA Financial Crime Guide: A firm’s guide to countering financial crime risks (FCG), FCG 3: Money
laundering and terrorist financing, ¶ 3.2.4, available at: https://www.handbook.fca.org.uk/handbook/FCG.pdf, last
accessed January 15, 2022.


                                                           65
      Case 1:18-md-02865-LAK                Document 813-2           Filed 06/10/22         Page 71 of 114



124.       In fact, the combined trading involved a labyrinthian series of related party transactions that were

not conducted at arm’s-length. It should come as no surprise then, that the FCA made findings that bear

on the very issues associated with Solo clients’ failures to abide by money laundering and KYC rules.


125.       According to the FCA, “Sunrise staff had in place inadequate systems and controls to identify

and mitigate the risk of being used to facilitate fraudulent trading and money laundering in relation to

business introduced by four authorised entities known as the Solo Group. In addition, Sunrise staff did

not exercise due skill, care and diligence in applying AML [Anti-Money Laundering] policies and

procedures and in failing to properly assess, monitor and mitigate the risk of financial crime in relation

to the Solo Group business.” 228


126.       The FCA also noted that “Sunrise failed to properly review and analyze the KYC materials that

were provided by the Solo Clients or ask appropriate follow up questions to red flags in the KYC

materials… Even after a number of red flags appeared, Sunrise failed to conduct any ongoing

monitoring, allowing the Solo Clients to purportedly trade equities totaling approximately £36.6

billion.” 229


                        2. Prearranged Wash Trading in Futures and Netting Practices


127.       Nasdaq rules prohibits wash trading and state that: 230


                All Orders should be entered in good faith for the purpose of executing bona fide transactions.
                An Authorized Trader should not accept such Orders if that person knows, or reasonably
                should know, that the Orders are for the same account owner and the purpose of the Orders
                is to avoid taking a bona fide market position exposed to market risk. Similarly, an
                Authorized Trader should not accept buy and sell orders for different accounts with common



228
   See, Final Notice to Sunrise Brokers LLP, November 12, 2021, ¶ 4.3, available at:
https://www.fca.org.uk/publication/final-notices/sunrise-brokers-llp-2021.pdf, last accessed January 14, 2022.
229
   See, Final Notice to Sunrise Brokers LLP, November 12, 2021, ¶ 2.20, available at:
https://www.fca.org.uk/publication/final-notices/sunrise-brokers-llp-2021.pdf, last accessed January 14, 2022.
230
      See, https://www.nasdaq.com/docs/98477_wash-trading-faq-.pdf, last accessed January 14, 2022.


                                                         66
      Case 1:18-md-02865-LAK             Document 813-2            Filed 06/10/22        Page 72 of 114



             beneficial ownership that are entered with the intent to negate market risk or price
             competition.

             The CFTC [Commodity Futures Trading Commission] has held that market participants may
             be found to have unknowingly engaged in wash trades if they facilitate a wash result without
             having made sufficient inquiry as to the propriety of such orders prior to their execution. The
             failure of a market participant to undertake such inquiry may support an inference of knowing
             participation in wash trades.

             Similarly, prearranged wash trading is strictly prohibited under FINRA rules, which state

             that: 231


             (b) No member shall, for the purpose of creating or inducing a false or misleading appearance
             of activity in a designated security or creating or inducing a false or misleading appearance
             with respect to the market in such security:

                  (1) execute any transaction in such security which involves no change in the beneficial
                  ownership thereof; or

                  (2) enter any order or orders for the purchase of such security with the knowledge that
                  an order or orders of substantially the same size, and at substantially the same price, for
                  the sale of any such security, has been or will be entered by or for the same or different
                  parties; or

                  (3) enter any order or orders for the purchase of such security with the knowledge that
                  an order or orders of substantially the same size, and at substantially the same price, for
                  the purchase of any such security, has been or will be entered by or for the same or
                  different parties.

                  …

             (d) No member shall participate or have any interest directly, or indirectly, in the profits of a
             manipulative operation or knowingly manage or finance such a manipulative operation.



128.     Very similar rules applied in the U.K. and EU under the Market Abuse Regulation. 232




231
   FINRA Rules and Guidance, Rule 6140 Other Trading Practices, available at: https://www.finra.org/rules-
guidance/rulebooks/finra-rules/6140, last accessed January 14, 2022.
232
   See for example MAR 1.6 of the FCA Handbook, available at:
https://www.handbook.fca.org.uk/handbook/MAR/1/6.html?date=2016-03-07, last accessed January 26, 2022.


                                                       67
      Case 1:18-md-02865-LAK               Document 813-2             Filed 06/10/22          Page 73 of 114



129.     Again, evidence of wash trading, which is prohibited, should have been a warning about potential

transaction impropriety. 233 However, use of wash trading within Solo helped sustain the Solo loop in

precisely the manner in which the rules warn about i.e., facilitating a manipulative operation and negating

market risk and price competition.


                      3. Position Size Disclosures and Restrictions


130.     Solo’s purported trades involved transaction sizes that would have triggered regulatory scrutiny

and reporting requirements relating to substantial holdings. According to the FCA, “the purported OTC

trades executed by Sunrise on Brokermesh did not have access to liquidity from public exchanges, yet

the purported trades were filled within a matter of minutes, almost invariably, and represented up to 20%

of the shares outstanding in companies listed on the Danish stock exchange… The volumes also equated

to an average of 36 times … the volume of all Danish stocks… traded on European exchanges, on the

relevant last cum dividend trading date.” 234


131.     The FCA’s investigation of the Solo trades involved analyzing transaction reporting data and

material received from Solo and other broker firms. This investigation revealed that “the combined

volume of the purported Cum-Dividend Trading across the six Broker Firms was between 15% - 61% of

the shares outstanding in the Danish stocks… These volumes are considered implausible, especially in

circumstances where there is an obligation to publicize holders of over 5% of Danish… listed stocks.” 235



233
    In fact, both JPMorgan and SEB raised concerns about wash trading. See, Wade Initial Report, ¶¶ 256 – 257.
It seems likely to me that Solo switched from futures to forwards in the later transactions at issue in this matter
because it could no longer find a clearing party to clear futures for it, given the questionable explanations it
appears to have provided for the transactions.
234
   See, Final Notice to Sunrise Brokers LLP, November 12, 2021, ¶ 2.6, available at:
https://www.fca.org.uk/publication/final-notices/sunrise-brokers-llp-2021.pdf, last accessed January 14, 2022.
235
   See, Final Notice to Sunrise Brokers LLP, November 12, 2021, ¶ 2.7, available at:
https://www.fca.org.uk/publication/final-notices/sunrise-brokers-llp-2021.pdf, last accessed January 14, 2022.

According to the Danish Companies Act, “any holder of shares in a limited liability company [public or private]
must notify the company if… the voting rights attaching to the shares represent 5% or more of the voting rights of


                                                          68
      Case 1:18-md-02865-LAK               Document 813-2             Filed 06/10/22          Page 74 of 114



As I have already pointed out, the participants in the Solo scheme created a large number of Pension

Plans, generally with minimal capital. 236 It seems clear that at least one of the factors behind the decision

to involve many Pension Plans was a desire to avoid large holding disclosure rules and even more

significantly, mandatory takeover rules. 237 Under Danish law, a shareholder with one third or more of

the voting rights must submit a mandatory public offer to the remaining shareholders. 238 It is my

experience, that dividing shares between multiple entities under common control or coordination is

prohibited and that in fact this is a key design element of these rules which were introduced precisely to

ensure that a person building a stake in a listed company has to make their ownership public. 239


132.     To illustrate, in the transactions discussed at the deposition of Mr. Markowitz by the Argre Plans,

it was noted that there were eight Pension Plans, each of which was to be allocated up to a maximum cap




the share capital or represent 5% or more of the share capital.” See, Danish Act on Public and Private Limited
Companies (the Danish Companies Act), 55(1). Available at:
https://danishbusinessauthority.dk/sites/default/files/danish_companies_act.pdf, accessed January 14, 2022.

  For example, Mr. Klugman confirms that he was aware of 40 plans which were created by him, Rich
236

Markowitz, and John Van Merkensteijn. See, Deposition Transcript of Robert Klugman, January 28, 2021, p. 19.
237
   For example, as I discussed earlier in this report it is clear that the Solo trading limits in other markets were
driven by a preference to avoid disclosure. Based on my experience, it appears this approach was applied to
Denmark. The following excerpt of the deposition of Mr. Markowitz is instructive: “Q And why was that cap
being used, 5 percent? A I believe 5 percent was being used because, under German regulatory rules, if an
investor exceeded 5 percent, similar to the SEC rules, they would have to have some reporting requirement to the
company or to the stock exchange. And in Belgium, we think -- I think the understanding was that it was a 3
percent limit.” See, Deposition Transcript of Richard Markowitz, April 8, 2021, 143:15 – 23. As noted above,
Mr. Markowitz testified in relation to the Danish trades saying that they “could have put [the liquidity allocated by
Shah] into one entity, but that probably would have required certain reporting requirements.” Ibid, at 356:3-5.
238
   See, https://content.next.westlaw.com/3-585-
3525?__lrTS=20210717033739649&transitionType=Default&contextData=(sc.Default)&firstPage=true#co_anch
or_a561904, Question 16, last accessed January 23, 2022.
239
   For example, Article 10 of Directive 2004/109/EC of the European Parliament and of the Council of 15
December 2004 on the harmonization of transparency requirements in relation to information about issuers whose
securities are admitted to trading on a regulated market and amending Directive 2001/34/EC (“Transparency
Directive”) specifies eight different circumstances where shares must be treated as held by a common shareholder
for the purposes of determining if a threshold has been crossed. Given the close coordination and common
interests of Solo and the Pension Plans, no reputable market participant would have concluded that positions
should not be aggregated, and my experience is that reputable participants take a prudent approach to these rules.


                                                          69
      Case 1:18-md-02865-LAK               Document 813-2             Filed 06/10/22          Page 75 of 114



of 0.75% of the shares in issue. 240 Had such shares been truly acquired this would have taken the

ownership of the Argre Plans to 6%, which would have required regulatory disclosure in Denmark. 241


133.     The creation of shell Pension Plans to reduce the shareholding of any one Pension Plan is a clear

red flag that would have raised significant compliance issues at any reputable financial institution.


                      4. Capital Requirements


134.     Solo and some of the IDBs involved in these alleged transactions were regulated by the FCA. As

such, they were subject to U.K. capital requirements, which during the relevant period were primarily

found in the EU Capital Requirements Regulation (“CRR”) and associated guidance, rules, and

regulations. These regulations call for all regulated firms to hold appropriate levels of capital to cover

the risks their activities give rise to. In particular, firms are required to consider and quantify credit,

market, and settlement risks. Capital requirements are then applied to these identified risk exposures. A

full discussion of the regulatory requirements of these transactions is beyond the scope of this report, but

put simply, the starting point for the Solo Cum-Ex transactions would have been recognition that all stock

loans and forwards required capital 242 for credit risk on the gross exposure under the instruments (i.e.,

the notional of the stock loan or forward ignoring any collateral). A risk weight conversion factor would

then have been applied. I have seen no evidence that any of the Pension Plans or stock loan counterparties




240
   “Okay. So if you turn to the spreadsheet that he attached, on the top left, the very top, it says "Max percentage
of market cap traded: .75 percent." Do you know what that refers to? A limit that's placed in the model to the
extent no trades would exceed .75 percent of the outstanding shares of a company.” See, Deposition Transcript of
Richard Markowitz, April 8, 2021, 280:5 - 12.
241
        Defendants Markowitz, van Merkensteijn, Klugman, and Ben-Jacob were aware of the Danish reporting
requirements and decided to not report the holdings, in part because the “Danish FSA does not have authority
beyond its borders.” GUNDERSON00009928; see also WH_MDL_00317825. In my experience, no legitimate
market participants would justify not complying with regulatory reporting for this reason.
242
   Regulated firms need to hold capital (generally issued equity and any retained profits) to cover the
requirements calculated under the CRR.


                                                          70
       Case 1:18-md-02865-LAK                 Document 813-2             Filed 06/10/22          Page 76 of 114



were rated by a recognized credit rating agency, 243 so this risk weight would likely have been 100%.244

100% risk weight for transactions of the size Solo purportedly engaged in would have been unsustainable

for Solo based on its capital levels.


135.        Assuming that these requirements were not simply ignored, the only prospect the counterparties

had to reduce the transactions’ risk exposure was the use of acceptable credit risk mitigation techniques

that are spelled out in Chapter 4 of the Capital Requirements Regulation, which is an EU regulation that

includes provisions on the calculation of prudential minimum capital requirements, liquidity, leverage

ratio and large exposures. Taking the stock loans as an example, it would have been possible to acquire

some relief from the gross exposures by factoring the collateral received under the stock loans. However,

such actions entail very significant and onerous legal and operational requirements, 245 and still result in




243
    In addition, based on the analysis of the shell-like nature of the Pension Plans and the high volumes of trading
it is inconceivable to me that they would have achieved an investment grade rating anyway.
244
      CRR, Article 121.
245
      See Article 207(4) CRR. Institutions shall fulfil all the following operational requirements:

(a) they shall properly document the collateral arrangements and have in place clear and robust procedures for the
timely liquidation of collateral.
(b) they shall use robust procedures and processes to control risks arising from the use of collateral, including
risks of failed or reduced credit protection, valuation risks, risks associated with the termination of the credit
protection, concentration risk arising from the use of collateral and the interaction with the institution's overall risk
profile.
(c) they shall have in place documented policies and practices concerning the types and amounts of collateral
accepted.
(d) they shall calculate the market value of the collateral, and revalue it accordingly, at least once every six
months and whenever they have reason to believe that a significant decrease in the market value of the collateral
has occurred.
(e) where the collateral is held by a third party, they shall take reasonable steps to ensure that the third party
segregates the collateral from its own assets.



                                                             71
       Case 1:18-md-02865-LAK                  Document 813-2               Filed 06/10/22          Page 77 of 114



material required regulatory capital amounts because the value of the collateral is subject to a haircut and

there are minimum floors. Furthermore, because Solo provided guarantees for some of the affiliated

counterparties, it would have had to calculate a counterparty credit risk exposure in respect of those

guarantees and this could also have been a substantial capital requirement. Based on the sizes of

transactions claimed to have been undertaken and the capital held by Solo and the other entities, it is

inexplicable to me how these rules could have been complied with.


136.       In summary, the manner in which this Cum-Ex scheme was structured gave rise to multiple

regulatory issues, many of which appear to have been ignored or not properly disclosed to the relevant

authorities.



           F.       Opinion 6: Dr. Carr’s Understanding of the Nature of Cum-Ex Transactions and
                    the Meaning of Ex-Dividend Date Are Both Wrong and Undermine the Analysis
                    Which Flows from These Errors

137.       Dr. Carr suggests that one should only focus on the Trade Date and examine whether there were

corresponding book entries of trade to determine the rightful claimant to a share dividend. 246, 247 For

support, he states the following:



(f) they shall ensure that they devote sufficient resources to the orderly operation of margin agreements with OTC
derivatives and securities-financing counterparties, as measured by the timeliness and accuracy of their outgoing
margin calls and response time to incoming margin calls.
(g) they shall have in place collateral management policies to control, monitor and report the following:
           (i) the risks to which margin agreements expose them.
           (ii) the concentration risk to particular types of collateral assets.
           (iii) the reuse of collateral including the potential liquidity shortfalls resulting from the reuse of collateral
           received from counterparties.
           (iv) the surrender of rights on collateral posted to counterparties.
246
      See, for example, Carr Report, ¶¶ 29 – 31, 43, and 52.

247
   A book entry following a new trade execution occurs on the trade date because the economic exposure of an
investor starts as soon as the trade is executed. See, for example, Francotte, Pierre, International Monetary Fund,
“Current Developments in Monetary and Financial Law,” Vol. 1, 1999, pp. 271-289, Chapter 10: Clearing and


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       Case 1:18-md-02865-LAK               Document 813-2             Filed 06/10/22         Page 78 of 114



           In the case of dematerialized shares, security holdings and related transfers are tracked through
           what is commonly called “book entry.” 248

           Book entry is a method of tracking transfers and ownership of securities where no physical
           security is given to investors. The importance of book entry for security transactions and
           ownership is generally recognized in law. 249



138.       According to Dr. Carr, “as soon as a trade is executed, the economic risk associated with holding

the underlying shares is instantly transferred from the seller of the shares to the buyer… Upon the trade’s

execution, the investor immediately bears the economic risk … irrespective of the time taken to complete

the ‘background’ processes of clearing and settling the trade.” 250 Dr. Carr’s view, which suggests that

the transaction date alone, viewed in isolation, is determinative of the dividend rights of the purchaser of

share, is incorrect.


139.       In actual practice, each transaction must be viewed in its totality and with proper regard to the

terms of the trade, which, although often executed in shorthand terms are nevertheless part of a legal

contract for the purchase and sale of shares. A proper analysis shows that the Solo Cum-Ex purchases

were contracts to acquire shares after the dividend’s Record Date. 251 Therefore, irrespective of the date

the trades were executed, the rights purchased under the contract do not include the right to a dividend.




Settlement of Book-Entry Securities Transactions, p. 275, which states that “all transfers take place through
movements in the accounts of the seller and the buyer of the securities (or more generally of the transferor and the
recipient, since the underlying transaction need not be a sale, but could be a pledge or any other form of transfer).
This is called a ‘book-entry’ transfer of securities.”

The Danish CSD VP Securities, uses book entry to track securities on its system. See, Euronext Securities, “VP
Rule Book, Book Entry Rules,” October 11, 2021, available at: https://www.vp.dk/Legal-Framework/VP-
Rulebook, last accessed December 29, 2021.
248
      Carr Report, ¶ 29.
249
      Carr Report, ¶ 29.
250
      Carr Report, ¶ 36.

  This point is explained more fully in the Wade Initial Report. See for example, Wade Initial Report, ¶¶ 227 –
251

233 and Figure 11.


                                                          73
       Case 1:18-md-02865-LAK               Document 813-2            Filed 06/10/22          Page 79 of 114



Accordingly, I do not accept that purchasers had an “economic claim to the forthcoming dividend

amount” as suggested by Dr. Carr. 252


140.        As I pointed out in the Wade Initial Report, 253 the parties needed to pay dividend compensation

payments only because the purchase price under the Cum-Ex purchase was inflated. Dr. Carr’s discussion

of the no-arbitrage price of forwards and futures indicates that he would agree with this logic, although

because he has not focused on the settlement terms, he appears to not have followed his own logic through

to its conclusion.


141.        He notes that when pricing a forward contract, its price varies depending on the timing of the

forward contract relative to the dividend dates. 254 This is precisely because determination of the

appropriate no-arbitrage price for a forward requires the parties to carefully consider whether it is the

buyer or seller 255 that will receive the dividend on the underlying shares. 256 There is no economic

difference between a Cum-Ex Transaction and a forward contract executed on the day before the Ex-

Dividend Date with delivery on the day after the Record Date. In both cases the shares received will be

Ex-Dividend shares and the purchaser will not receive a dividend.


142.        To explain this point in more detail I start by considering what the Ex-Dividend Date actually

means. Nasdaq, a company which owns and operates stock exchanges in the U.S. and Europe including



252
      Carr Report, ¶ 17 c.
253
      Wade Initial Report ¶ 85-90.
254
      Carr Report, ¶ 77.
255
    Importantly, there is no requirement for the seller to own the underlying shares. The no-arbitrage principle is
so called because if the parties agreed to trade the forward at any other price than the net return from a person who
holds the shares as a hedge for the delivery under the forward, then it would be possible for an arbitrageur to earn
a risk-free profit by executing the forward at the different price and using the shares as a hedge.
256
   Although Dr. Carr’s view on the general principle of forward pricing is correct, his view of the Trade Date and
Ex-Dividend Date in the discussion of the change in forward price is incorrect. See, Carr Report, ¶¶ 67 - 94. The
parties need to determine the owner of the shares at close of business on the Record Date because the owner of the
shares at this point in time is the one that receives the dividend.


                                                          74
       Case 1:18-md-02865-LAK               Document 813-2            Filed 06/10/22         Page 80 of 114



the Copenhagen Stock Exchange, 257 defines the Ex-Dividend Date as “the first day of trading when the

buyer of a stock is no longer entitled to the most recently announced dividend payment (i.e., the trade

will settle the day after the record date, too late for the buyer to appear on the shareholder record and

receive the dividend).” 258 Nasdaq adds that the Ex-Dividend Date for specific shares is set by the relevant

exchange on which the shares trade. 259 This explanation relies on the implicit assumption, and often

regulatory requirement, that trades will be executed in accordance with the applicable rules of the

exchange where the securities trade. 260 The vast majority of listed equity transactions are executed in

accordance with exchange rules. 261


143.          The parties to the Solo transactions agreed to enter into Cum-Ex purchases with non-standard

settlement terms (i.e., T + 4 prior to October 2014 (and T+3 thereafter) when the standard market

settlement was T + 3 (T + 2)). As a result, the trades occurred outside standard market settlement terms,

which in turn meant that the transactions were over-the-counter transactions. It also meant that the Cum-

Ex purchases were guaranteed to result in the receipt of shares without dividend rights. The Ex-Dividend




257
   Nasdaq is a “global technology company serving the capital markets and other industries” that owns and
operates stock exchanges in the U.S. and Europe. See, Nasdaq Form 10-K for the fiscal year ended December 31,
2020, p. F-9, available at: https://ir.nasdaq.com/static-files/de0486ee-a34c-4c00-90b5-b0d1446cf72b, last
accessed January 12, 2022.
258
      See, https://www.nasdaq.com/glossary/e/ex-dividend-date, accessed January 12, 2022.
259
      Ibid.
260
   For example, the SEC’s amended Settlement Cycle Rule (Rule 15c6-1(a)), effective May 30, 2017, requires the
vast majority of transactions executed on U.S. stock exchanges by brokers to settle no later than T+2. See,
https://www.sec.gov/rules/final/2017/34-80295.pdf, accessed January 12, 2022.

In Denmark, Nasdaq OMX implemented a two-day standard settlement cycle for securities trading on the
exchange effective October 6, 2014. See, https://www.nasdaq.com/about/press-center/nasdaq-omx-implements-
t2-standard-settlement-its-nordic-and-baltic-markets, accessed January 12, 2022.
261
   According to the SEC, “its belief that the usage of the override provision of Rule 15c6-1(a) was intended to
apply only to unusual transactions, such as seller’s option trades that typically settle as many as sixty days after
execution as specified by the parties to the trade at execution.” SEC’s amended Settlement Cycle Rule (Rule
15c6-1(a)), effective May 30, 2017, available at: https://www.sec.gov/rules/final/2017/34-80295.pdf, p. 48 of 145,
accessed January 12, 2022.


                                                          75
       Case 1:18-md-02865-LAK                Document 813-2            Filed 06/10/22          Page 81 of 114



Date for a T+3 settled trade is Record Date – 2. 262 The Ex-Dividend Date for a T+4 settled trade is Record

Date – 3. 263 Accordingly, although the Solo trades were executed before the Ex-Dividend Date for market

standard settlement trades, they were nevertheless agreements which provided that shares be delivered

after the Record Date.


144.       Put another way, the Cum-Ex purchases are nothing more than an agreement executed on the day

before the Ex-Dividend Date with delivery on the day after the Record Date, or (to quote the Nasdaq

definition of a forward) they are “a contract that specifies the price and quantity of an asset to be delivered

in the future”. 264


145.       Having established the economic equivalence of a Cum-Ex Transaction and a forward contract

executed on the day before the Ex-Dividend Date with delivery on the day after the Record Date, I now

turn to the appropriate pricing of a Cum-Ex transaction. As Dr. Carr rightly points, out the no-arbitrage

price for such a forward contract is given by:


                    Forward Price = Current Market Price + Interest - Expected Dividends


146.       Ignoring the interest component in the equation above given the low interest rates during the

Relevant Period and the transaction’s short time period, the correct Cum-Ex price is actually the Ex-

Dividend price, which can be observed as follows: 265




262
   Under a T + 3 settlement cycle, a trade on Record Date – 2 would settle three business days later, on Record
Date + 1 (=Record Date – 2 + 3), a day later than the last date on which a registered owner of shares is entitled to
receive a dividend.
263
   Under a T + 4 settlement cycle, a trade on Record Date – 3 would settle four business days later, on Record
Date + 1 (=Record Date – 3 + 4), a day later than the last date on which a registered owner of shares is entitled to
receive a dividend.
264
      See, https://www.nasdaq.com/glossary/f/forward-contract, last accessed January 29, 2022.

265
   As explained in the Wade Initial Report, structuring the Cum-Ex purchases to be traded at the Cum-Dividend
price had two advantages in the Solo transactions: (i) the reported trade price matched the market price, and (ii) it
meant a dividend compensation payment was required to return the excess purchase price and this compensation


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       Case 1:18-md-02865-LAK              Document 813-2           Filed 06/10/22         Page 82 of 114



                     Cum-Ex Price = 4-day Forward Price 266


                     4-day Forward Price = Cum-Dividend Price 267 - Expected Dividends = Ex-Dividend

                     Price


147.        To conclude this analysis, I address Dr. Carr’s assertion that a party had an economic claim to a

dividend simply by virtue of the date or price at which a trade was executed. 268 This is an entirely novel

concept and not one that any practitioner of legitimate equity finance transactions would recognize. For

example, the longstanding practice of dividend and coupon stripping would not exist if it were not

possible to trade the right to income (“fruit”), distinct from the shares (“tree”). 269


148.        In any case, what is evident from these Cum-Ex transactions is that:


                1. The purchase agreement was for the delivery of shares without rights to dividends at the

                     time they were received.


                2. No shares were actually received.


                3. None of the parties in the Solo transactions received a real dividend.




payment was used to justify the production of Tax Vouchers and a tax reclaim. See, Wade Initial Report, ¶¶ 85 –
90.
266
   Here I assume that market standard settlement is T+3 and the Cum-Ex Purchase has T+4 settlement. Similar
logic applies for a T+3 Cum-Ex Purchase when market standard settlement is T+2.

  The market Current Market Price is a Cum-Dividend price because the Cum-Ex trade is executed before the
267

Ex-Dividend Date.
268
      Carr Report, ¶ 17 c.
269
   In many civil law jurisdictions like France this may be achieved with a usufruct agreement where the bare
ownership of the shares is separated from the rights to income. In addition, the OECD notes that the owner of a
dividend and the owner of the underlying shares may well be different. See, ¶ 12.4 of the commentary on Article
10 of the Model Tax Treaty, available at: https://read.oecd-ilibrary.org/taxation/model-tax-convention-on-income-
and-on-capital-2017-full-version_8dc818b1-en#page6, last accessed January 22, 2022.


                                                        77
       Case 1:18-md-02865-LAK              Document 813-2          Filed 06/10/22         Page 83 of 114



149.        Therefore, I see no basis for Dr. Carr’s conclusion that the dividend compensation payment

purportedly received by the Pension Plans, if analyzed correctly, was a real dividend or even a payment

representative of a real dividend which entitled them to a tax reclaim.



         IV.       SUMMARY OF OPINIONS ON MR. WARREN’S REPORT


            A.       Background

150.        Mr. Warren’s report has drawn certain “conclusions” from the evidentiary record. 270         Those

conclusions, which are demonstrably false, can be divided into two separate categories: (i) conclusions

about the share ownership of the Acer Pension Plans, and (ii) conclusions about the receipt of real

dividends by those Pension Plans. I address each of those categories separately in this report.


151.        The facts that formed the basis for Mr. Warren’s conclusions, as well as the examples he has used

in his own analysis, fully support the opinions I express in the Wade Initial Report and the additional

opinions expressed in this report. I will address certain of those facts first and will describe my opinions

thereafter.


152.        Based on SWIFT messaging, Mr. Warren concludes that all the shares related to 72 Acer Tax

Vouchers were acquired by Acer Pension Plans before and were held by them until the Ex-Dividend

Date. 271 This is demonstrably false based on the same evidentiary record Mr. Warren cites. Mr. Warren’s

conclusion is, by definition, false for all the Cum-Ex transactions undertaken by the Acer Pension Plans,

because the shares were not contracted to settle and did not settle in the Pension Plans’ custody account

until after the Record Date. 272 In fact, in his own analysis Mr. Warren points out several examples of


270
      Warren Report, ¶ 11.
271
      Warren Report, ¶ 11 i, j.
272
   Depending on the standard market settlement terms in force during the Relevant Period, the Record Date is one
or two trading days after the Ex-Dividend Date.


                                                        78
       Case 1:18-md-02865-LAK              Document 813-2            Filed 06/10/22          Page 84 of 114



Acer trades settling after the Record Date. 273 Furthermore, all the Cum-Ex related settlements are same-

day matched in-and-out movements in the custody account, so these shares were never held in any real

sense by the Pension Plans at all. As explained in the Wade Initial Report and further below, in many

cases it appears that the same shares were used to settle multiple transactions.


153.       Again, relying on SWIFT messaging, Mr. Warren draws another “conclusion” that a real dividend

payment 274 was received on all Acer transactions other than in Annex E Schedule 1. 275 In fact, there is

no evidence of any real dividend payment for the Acer Cum-Ex trades. 276 Further, based on a combination

of emails and SWIFT messages, he appears to suggest that the reader should infer that Acer had a

legitimate right to a tax reclaim on the alleged dividends. 277 This claim is also demonstrably false. Using

the same record that Mr. Warren cites, it is evident that the expected SWIFT MT566 message was

received for all Acer Cum-Cum transactions. 278 For the Acer Cum-Ex transactions, on the other hand,

there is no evidence consistent with the receipt of a real dividend and the limited number of SWIFT


273
      See, for example, Mr. Warren’s Notes to Appendix 1, Annex E Schedule 2, March 2014 TDC dividend.
274
   I note that Mr. Warren uses the somewhat ambiguous term “dividend payment” which is not defined in his
report although I proceed on the basis that he means real dividend. I use “real dividend” to indicate a payment in
respect of an actual right to a dividend as a result of being shareholder on the Record Date, as opposed to
“dividend compensation payment” to indicate a payment which arises under a contract for the transfer of shares.
275
      See the Warren Report, ¶ 11 k.

  It would be surprising if there were because, again by definition, a Cum-Ex purchase is a contract to acquire
276

Ex-Dividend shares.
277
   In particular he refers to a “ceded dividend from the party from whom ED&F Man acquired the shares”
(Warren Report ¶ 11 k(i)). For all the reasons given earlier there is no ceding of any dividend under a Cum-Ex
purchase. The parties agreed to structure the Cum-Ex purchases to include a contractual payment of an amount
representative of the dividend but that is very different from the real dividend.
278
   For all but one of these Cum-Cum transactions, the SWIFT MT566 is a standard dividend confirmation. The
outlier is for a payment received in respect of 2,000,000 shares for the August 2014 TDC dividend, the SWIFT
MT566 is labelled with the “CLAI” Qualifier indicating that it is a dividend compensation payment. This is
because the Cum-Cum trade settlement failed. It can be thought of as an unintentional Cum-Ex transaction. This
point is also highlighted by Mr. Warren in his report in footnote 33. See ED&F-00042905 at 76.

In addition, as explained further below, the receipt of a SWIFT MT566 message in this situation is a necessary,
but not sufficient, condition for evidence of the receipt of a real dividend as opposed to a market claim or
manufactured dividend.


                                                         79
       Case 1:18-md-02865-LAK               Document 813-2             Filed 06/10/22          Page 85 of 114



MT566 messages actually received were either reversed or clearly indicate that the received payments

are dividend compensation payments, not actual dividends. 279 ED&F Man have conceded that the Tax

Vouchers in respect of the Annex E Cum-Ex transactions were invalid. 280 I have not seen any evidence

which contradicts my view that the non-Annex E Cum-Ex transactions were substantially identical to the

Annex E Cum-Ex transactions in this respect. As I will demonstrate, the evidence which is available

suggests that the IDBs did not own the shares either, but instead the non-Annex E Cum-Ex transactions

were settled using shares held by ED&F Man which were acquired for Cum-Cum transactions.


154.       Finally, Mr. Warren states that for the majority of the documentation that he reviewed there was

a SWIFT message and therefore a dividend was received. 281                   Mr. Warren’s claim is somewhat

disingenuous in the context of the issues being discussed, because while Mr. Warren may have reviewed

fewer Cum-Ex transactions compared to the Cum-Cum transactions, many Acer trade packs that he

reviewed indicate that the relevant Pension Plan claimed tax vouchers on far more Cum-Ex purchases

than Cum-Cum ones. 282 These trade packs contain SWIFT messages representing only the Cum-Cum




279
    There is one Cum-Ex MT566 associated with a Cubix-managed pension plan in ED&F-00026581 at 94. It is
not clear why this Cum-Ex transaction had an MT566 which did not have the CLAI designation (which I explain
later in this report). I think it is most likely a misclassification by BNP Paribas which was not picked up due to its
relatively small size (DKK39k of withholding tax). In any event, for the reasons given in the Wade Initial Report
the receipt of cash equal to the net dividend does not mean that one has received a real dividend.
280
   In a letter to Pinsent Masons dated January 11, 2021, Rosenblatt conceded that, “MPT Dubai was unable to pay
the Pension Plans’ dividends” because “it did not have a right to the relevant Danish Shares on the Trade Date and
thus did not receive the dividends from the underlying Danish company.” Rosenblatt also wrote that, “[Michael
Meade of ED&F Man] did not understand at the time that the payments received by the Pension Plans could not
constitute dividends net of WHT [withholding taxes] (i.e., although equivalent in value, they were not dividends
which had been paid by the underlying Danish company).”
281
      Warren Report, ¶ 27 a.

  See, for example, the March 2014 TDC dividend, in which the following 3 Acer Pension Plans held more
282

Cum-Ex shares than Cum-Cum shares.

                a.   AIG claimed 5 million shares, of which 1 million were purchased Cum-Cum and 4 million were
                     purchased Cum-Ex (ED&F-00040919 at 76; Warren Report, Notes to Appendix 1, ¶¶ 55-57).




                                                           80
   Case 1:18-md-02865-LAK                 Document 813-2            Filed 06/10/22        Page 86 of 114



shares, not the larger Cum-Ex position, yet, nonetheless Mr. Warren seems to conclude that the entire

position in the Tax Voucher is backed by a SWIFT MT566 message.


155.    Nothing in Mr. Warren’s report contradicts the opinion in the Wade Initial Report that there were,

in fact, no real dividends received by ED&F Man in respect of the Cum-Ex transactions.



        B.        Organization of My Response to the Warren Report

156.    It is useful to provide detailed information about SWIFT messages and the tracking of settlements

through custody accounts in order to explain the bases for my opinions in response to the Mr. Warren’s

report. Accordingly, I frame my discussion as follows.


157.    First, I explain the use of different transaction referencing approaches in the Wade Initial Report

compared to Mr. Warren’s report. His Tax Vouchers referencing approach can be confusing because

different types of transactions can impact the same Tax Voucher.


158.    Next, I provide detailed information about SWIFT messages and what can and cannot be

determined from such messages. There are two key SWIFT message types which are relied upon by

market participants:


             1.        MT566 Messages – This type of message is related to corporate action. Contrary to

                       the impression created by Mr. Warren, it is important to note that an MT566 Message

                       is not the same as a dividend.




             b.   Kamco LP Profit Sharing Plan claimed 5 million shares, of which 1 million were purchased
                  Cum-Cum and 4 million were purchased Cum-Ex (ED&F-00041108 at 65; Warren Report,
                  Notes to Appendix 1, ¶¶ 58-60).

             c.   Moira Associates LLC 401k Plan claimed 6 million shares, all of which were purchased Cum-
                  Ex (ED&F-00041236 at 75; Warren Report, Notes to Appendix 1, ¶¶ 61-62). I note that while
                  Mr. Warren correctly does not cite an MT566 associated with Moira for this dividend, he does
                  attribute an MT566 to them on the last page of his Appendix 1.


                                                        81
   Case 1:18-md-02865-LAK               Document 813-2         Filed 06/10/22       Page 87 of 114



             2.      MT545 Messages – This type can be thought of as a statement balance update

                     message which is used to confirm the movement of securities into and out of a

                     custody account.


159.    With that as background, I am able to track the settlement of TDC shares to specific transactions

in the BNP Paribas custody account.


160.    An analysis of the BNP Paribas custody account transactions demonstrates that the only shares

held by ED&F Man in its BNP Paribas custody account over the Record Date related to Cum-Cum

transactions.


161.    Next, I explain how ED&F Man would have been able to settle its Cum-Ex transactions with a

much smaller number of shares than the gross number of shares ED&F Man and its clients purportedly

owned, and the evidence suggests that this is exactly what happened.


162.    Finally, I discuss how to determine what evidence there is in the transactions for the receipt of

real dividends by ED&F Man



        C.        Summary of Opinions Related to the Warren Report

163.    Based on the steps outlined above I have formed the following opinions:


             1.      Opinion 7: The custody records show that the only TDC shares that ED&F Man

                     actually owned over the March 11, 2014 Record Date were all from Cum-Cum

                     transactions.


             2.      Opinion 8: For the reasons given in the Wade Initial Report and expanded on further

                     below, the Pension Plans never acquired the shares related to the Tax Vouchers

                     issued by ED&F Man for the Cum-Ex transactions. Instead, they settled the Cum-




                                                    82
   Case 1:18-md-02865-LAK               Document 813-2           Filed 06/10/22        Page 88 of 114



                     Ex transactions using matching, same day, in and out small shapes of shares that

                     facilitated settlement of large transactions with a much smaller quantity of shares.


             3.      Opinion 9: The only real dividends received by ED&F Man in respect of TDC shares

                     on March 12, 2014 were from the Cum-Cum transactions. The Pension Plans did

                     not receive any real dividends in respect of the Cum-Ex transactions, and, in fact, the

                     Warren Report’s analysis supports this conclusion and is consistent with the opinions

                     expressed in the Wade Initial Report on this matter.



        D.        Comparison of Nomenclature and Categorization Mapping in the Warren and
                  Wade Initial Reports

164.    Before addressing Mr. Warren’s Report, it is important to clarify some differences in the ways

that Mr. Warren has categorized the trades and how his categorization compares to the nomenclature

used in the Wade Initial Report.


        The principal difference is that Mr. Warren generally groups the transactions by the Tax Voucher

        which they were included in whereas I have categorized trades by the nature of the individual

        trade execution terms. The following table shows the mapping:




                                                     83
      Case 1:18-md-02865-LAK                Document 813-2           Filed 06/10/22        Page 89 of 114



                                                         Table 5


        Warren Report                          Wade Report                          Wade Report Appendix
        Categorization                         Categorization

        37 Annex E Schedule 1 Tax              Annex E Cum-Ex                       Appendix C – marked as Annex
        Vouchers                               transactions                         E in Trade Class column

        5 Annex E Schedule 2                   Combination of Cum-Ex                Appendices C and F
        Vouchers                               and Cum-Cum
                                               transactions 283

        30 Non-Annex E Tax                     Cum-Cum transactions                 Appendix F, plus trade number
        Vouchers                               (with one exception) 284             13 in Appendix C




165.       Throughout the rest of the report, I continue to use the categorization from the Wade Initial

Report because I think it is more precise and accurate. In addition, Mr. Warren has to deconstruct his

different groups when making some of his points and conclusions. He refers to transactions which settled

on or before the Record Date at various points in his report. I refer to such trades as Cum-Cum

transactions. He also refers to trades which settle after the Record Date. I refer to such trades as Cum-

Ex transactions. By focusing on the details of the relevant transaction and not the Tax Voucher on which

it appears, no such issues arise.




283
   For example, Mr. Warren includes 5,000,000 shares acquired by AIG in respect of the TDC dividend with
Record Date March 11, 2014 in his schedule of these 5 trades in his Appendix 1. However, these shares relate to
three different trades which are numbered 22, 25 in Appendix C and number 6 in Appendix F of the Wade Initial
Report. They are all found in trade pack ED&F-00040919. This Tax Voucher comprises a Cum-Cum transaction
of 1,000,000 shares, an Annex E Cum-Ex transaction of 2,000,000 shares, and a non-Annex E Cum-Ex
transaction of 2,000,000 shares.
284
      The exception is for the AIG COLOB 2013 transaction noted in the Warren Report ¶ 20 and footnote 14.


                                                         84
      Case 1:18-md-02865-LAK               Document 813-2          Filed 06/10/22        Page 90 of 114



166.       In Mr. Warren’s Opinion k, 285 which relates to the 30 Non-Annex E Tax Vouchers and the 5

Annex E – Schedule 2 Tax Vouchers, there are two sub-sections which map straightforwardly to my

definitions:


           1.       In his point (i) he refers to “each instance in which the equity settled on or before the

                    record date.” These are all Cum-Cum transactions.


           2.       In his point (ii) he refers to “each instance in which the equity settled after the record

                    date.” These are all Cum-Ex transactions.


167.       Finally, I can confirm that all of the transactions which are reflected on Mr. Warren’s 72 Tax

Vouchers are included in Appendix C or Appendix F of the Wade Initial Report, so that there are no

transactions which are addressed by Mr. Warren which are not included in my Initial Report. I note too

that Mr. Warren has only included trade packs for Pension Plans managed by Acer in his report, whereas

I have included all of the same Acer trade packs included by Mr. Warren as well as 42 additional trade

packs related to other managers including Cubix, Zeta, and Duet.



           E.       Background on SWIFT Messages

168.       SWIFT messages are used by financial institutions as a reliable, secure, and efficient messaging

service for a range of trade, reporting, and settlement needs. 286 Often, in settlement processes, a custodian

or clearing bank treats a SWIFT or two matching SWIFT messages as a binding legal instruction to

perform an action, such as settling a transaction or moving money from one account to another. There

are two key SWIFT message types (‘MT’) that are relevant to the analysis of the AIG Plan’s TDC

transactions. The background of these messages is explained below.



285
      Warren Report, ¶ 11 k.
286
   See, SWIFT website https://www.swift.com/about-us/discover-swift/messaging-and-standards, last accessed
January 14, 2021.


                                                        85
    Case 1:18-md-02865-LAK                Document 813-2         Filed 06/10/22        Page 91 of 114




                  1.       SWIFT Message Format

169.    The SWIFT messages I reviewed are made up of a series of rows (or Index numbers in the ED&F

Man screenshots included in the production documents). I use the following nomenclature in this report:


             1.        Index/Row – The position at which the given part of the SWIFT message can be

                       found. Each SWIFT message is a series of consecutive rows of information which

                       fully define the contents of the message when taken together.


             2.        Tag – A SWIFT defined code e.g., 20C or 22F. These codes indicate the type of

                       information on that row and the syntax which the remainder of that row should use.


             3.        Qualifier – Defines the specific type of information on that row further. Each Tag

                       has a range of permitted Qualifiers.


             4.        Field – Not part of an actual SWIFT Message but the Generic Field Name is used by

                       SWIFT to explain in common parlance what that Field is for.


170.    When referring to a specific SWIFT message in the ED&F production the labelling of Index-

Tag-Qualifier defines exactly which part of the message is being referred to. For example, 4-22F-DVCA

means Row 4 of a SWIFT MT566 Message with Tag 22F, which indicates a dividend corporate action

event in its Qualifier.


171.    SWIFT Messages have alternative information that can vary from message to message as related

to the Index or Row number. However, the ordering of the Tags and Qualifiers (including sub-sequences

thereof) is clearly defined by SWIFT.



                  2.       SWIFT MT566 Messages

172.    The SWIFT MT566 Corporate Action message covers a wide range of corporate actions ranging

from dividends, to mergers, liquidations, and rights issues.


                                                       86
      Case 1:18-md-02865-LAK                 Document 813-2          Filed 06/10/22           Page 92 of 114



173.       The type of event is included in the “Indicator” Field 287 which is labelled with Tag 22F. The

relevant Qualifier for the corporate actions in this case is DVCA which means Cash Dividend. 288


174.       Notably, simply having a DVCA label in the Qualifier does not mean that the payment is an

actual dividend. Instead, it means that the corporate action that the payment relates to is a cash dividend.

Again, there can be a wide range of messages sent, all of which relate to a cash dividend.289 For example,

an MT566 message which relates to the dividend corporate action event can be the real dividend, a market

claim, a reversal, or a different type of message. This is clearly highlighted by the numerous SWIFT

messages included in respect of transactions executed around the TRYG dividend with Record Date of

April 23, 2013, which I will discuss further below. 290 Later, I show that a number of SWIFT MT566

Messages are actually reversals (indicated by the “REVR” Qualifier) or contractual payments that are not

real dividends (indicated by the “CLAI” Qualifier).


175.       Also relevant to this matter is the coding of the cash movement, which may contain a range of

information. There can be one or more optional sub-sequences of Rows which relate to a given cash




287
      See, https://www.iso20022.org/15022/uhb/finmt566.htm, last accessed January 12, 2022.
288
      See, https://www.iso20022.org/15022/uhb/mt566-4-field-22f.htm, last accessed January 12, 2022.
289
   The ISO 20022 Guidance states “This message is used to confirm to the account owner that securities and/or
cash have been credited/debited to an account as the result of a corporate action event. This message may also be
used to:

•          reverse a previously sent corporate action confirmation

•          re-send a corporate action confirmation previously sent

•          provide a third party with a copy of the message.”.

See, https://www.iso20022.org/15022/uhb/finmt566.htm last accessed January 12, 2022.

290
   This event was covered by trades on behalf of a number of plans including Hamlyn LP. ED&F-00044265
contains several of the relevant SWIFT messages and the dividend reconciliation worksheet for this event.


                                                           87
       Case 1:18-md-02865-LAK                Document 813-2            Filed 06/10/22         Page 93 of 114



movement. Those Rows include one or more “Amount” fields (message Row 83) which have Tag 19B,291

and they can also include Tag 23B descriptive information.


176.       Amount fields can contain a range of qualifiers to indicate what the amount relates to. Examples

which are included in the MT566 messages I have reviewed include:


                                                           Table 6


                         Qualifier                 Description
                         GRSS                      Gross Amount
                         NETT                      Net Amount
                         WITF                      Withholding Tax



                    3.       SWIFT MT545 Messages

177.       An MT545 SWIFT message is “a message sent by an account servicer (account servicing

institution) to an account owner.” 292 An MT545 message is seen in the trade packs corresponding to all

of the Cum-Ex purchases. These are effectively a message from BNP Paribas or SEB to ED&F Man

confirming the movement of shares in or out of the omnibus custody account. Note that this message is

a form of confirmation statement which can be used for a number of reasons in addition to confirming a

settlement. 293 In and of itself, an MT545 message does not mean that any particular transaction by a

Pension Plan has been validly settled or completed.




291
      https://www.iso20022.org/15022/uhb/mt566-83-field-19b.htm last accessed January 9, 2022.
292
      https://www.iso20022.org/15022/uhb/finmt545.htm. Last accessed January 15, 2022
293
      This message is used to:

                •   confirm the receipt of financial instruments against payment, physically or by book-entry, from
                    a specified party (the function of the message is NEWM).

                •   cancel a confirmation of a receipt against payment previously sent by the account servicer (the
                    function of the message is CANC); and




                                                           88
      Case 1:18-md-02865-LAK                Document 813-2            Filed 06/10/22          Page 94 of 114



178.     For example:


             1.        Trades may be broken into multiple shapes 294 such that the trade is not fully settled

                       until all shapes are complete.


             2.        These are messages from BNP Paribas or SEB as one custodian to ED&F Man in its

                       capacity as a parent custodian. As the shares are in an omnibus account, proper

                       account needs to be taken of any arrangements or agreements that gave rise to the

                       share movements. If it is important to establish clear ownership of shares for legal,

                       tax or security perfection reasons, market participants will typically avoid omnibus

                       accounts with title transfer re-hypothecation rights or situations where multiple in

                       and out transactions settle on the same date.


179.     Again, the message contains detailed information about the settlement in the fields of the

transaction. The most relevant for this discussion are:




             •    reverse a confirmation of a receipt against payment previously sent by the account servicer (the
                  function of the message is RVSL).

The message is also used to pre-confirm settlement or to confirm a partial settlement of a receipt of financial
instruments against payment. Ibid.

  Hamlyn LP is shown to “hold” 24,000,000 shares on Record Date, but this was in fact settled in 4 separate
294

movements each of 6,000,000 shares. See ED&F-00041059 at 67 and 72-77.


                                                          89
       Case 1:18-md-02865-LAK               Document 813-2           Filed 06/10/22          Page 95 of 114



                                                          Table 7


 Tag                     Qualifier            Field

 20C                     SEME                 Senders Reference i.e., the reference BNP Paribas has given
                                              to the SWIFT message 295

 35B                     ISIN                 The ISIN for the trade. As this review is focused on TDC,
                                              this is always DK0060228559 296

 36B                     ESTT                 Number of shares settled 297

 98A                     TRAD                 Trade Date 298

 98A                     SETT or ESET         Settlement Date 299

 19A                     ESTT                 The settled amount, which is the total consideration for the
                                              settlement. 300




              F.     Explanation of The Analysis Performed in Respect of the Transactions in TDC
                     shares in March 2014

180.          In this section, I provide information that shows that ED&F Man’s transactions as reported in

their trade packs can be tracked through their custodian BNP Paribas’ account statements and dividend

histories. The settlement of the relevant trades in the Excel copies of the BNP Paribas custody account

records can be traced using the BNP Paribas references as explained below. 301



295
      https://www.iso20022.org/15022/uhb/mt564-3-field-20c.htm.

296
      See, https://www.iso20022.org/15022/uhb/mt545-29-field-35b.htm, last accessed January 29, 2022.
297
      See, https://www.iso20022.org/15022/uhb/mt545-36-field-36b.htm, last accessed January 29, 2022.
298
      See, https://www.iso20022.org/15022/uhb/mt545-14-field-98a.htm, last accessed January 29, 2022.

299
      Ibid.
300
      See, https://www.iso20022.org/15022/uhb/mt545-77-field-19a.htm, last accessed January 29, 2022.

301
   ED&F-00604196.xlsx relates to BNP Paribas Account 778523F which is the main account and settles the vast
majority of transactions. ED&F-00604678.xlsx Relates to BNP Paribas Custody Account 778045F and was used
to settle the trades with Lutetia, which can be observed by the fact that the shares were received in this account


                                                          90
       Case 1:18-md-02865-LAK               Document 813-2           Filed 06/10/22     Page 96 of 114



181.        As described in the Wade Initial Report, TDC approved a dividend of DKK2.20 per share at the

company’s Annual General Meeting in March 2014. 302 The Record Date for this dividend was March

11, 2014, and the Ex-Dividend Date, using a standard settlement cycle of T + 3, was March 7, 2014. 303


182.        I continue to adopt the nomenclature from the Wade Initial Report below to discuss the “AIG –

Lutetia TDC 2014” transaction, 304 which was documented by ED&F Man in a trade pack of related

emails, trade confirmations, account statements, and SWIFT messages. 305 Because these conclusions

apply to the entire TDC March 2014 dividend event, they also apply to the “AIG – MPT Dubai TDC

2014” transaction that I reviewed in Appendix E of the Wade Initial Report, although the prices and sizes

of those trades are different.


183.        In the initial Cum-Ex purchase leg of this transaction, 2 million shares were purchased by ED&F

Man at a price of DKK52.55 per share for a total purchase consideration of DKK105,101,320. 306 These

shares were purchased on a Cum-Ex basis, because this initial equity purchase has a Trade Date of March

6, 2014, one day prior to the Ex-Dividend Date, and a T+4 settlement date of March 12, 2014, one day

after the Record Date. 307


184.        In order to unpack some of the details of this Cum-Ex purchase, I examined the corresponding

SWIFT MT545. Across the trades I examined, ED&F Man’s MT545 messages correspond to the book



from RBC which I understand from ED&F-00040919 was used by Lutetia. Filtering the tab “DK0060228559”
(ISIN of TDC) for rows with an “intitule tiers” (third party title) of RBC INV SERV BANK SA yields several
records logging the receipt of shares from RBC.
302
      Wade Initial Report, ¶ 120.
303
      Wade Initial Report, Figure 3.
304
      Wade Initial Report, ¶ 97.
305
      ED&F-00040919.
306
      Wade Initial Report, ¶¶ 121 and 136; ED&F-00040919, at 56, 76, and 81.
307
      Wade Initial Report, Figure 3; ED&F-00040919, at 76 and 81.


                                                         91
      Case 1:18-md-02865-LAK              Document 813-2          Filed 06/10/22         Page 97 of 114



entries given in the “Shadow Data” pages of each trade pack, 308 albeit with more detail in the MT545

message Tags.


185.       The SWIFT MT545 message corresponding to this purchase is included in ED&F Man’s trade

pack, on page ED&F-00040979. This correspondence can be established using, for example, the SWIFT

message’s Tag 36B which gives a share quantity of 2 million; Tag 19A which gives a settled amount of

DKK105,101,320 and matches the (negative) proceeds given for this equity purchase on AIG’s account

statement 2 pages later in the trade pack; 309 and Tag 98A, which gives a Trade Date of March 6, 2014

and a Settlement Date of March 12, 2014, which also match AIG’s account statement. 310


186.       Another feature of this MT545 message is the sender’s reference, PG311BIE0A001 (2-20C-

SEME). 311 The same reference appears in BNP’s transaction-level custody statements, albeit with the

last 4 characters removed. In ED&F-00604196.xlsx, tab “DKK0060228559” which is the ISIN of TDC,

the Transaction Ref PG311BIE0 appears in 3 rows in column “refexterne,” 312 i.e., “external reference”.


187.       For every settlement of TDC shares in March 2014, similar correspondence has been identified

between the MT545 SWIFT Messages in the trade packs and the BNP custody records using the SEME

Field. For every transaction that settled in March 2014, there are three rows in the BNP Custody records




308
      See, for example, ED&F-00040919, at 76.
309
      ED&F-00040919, at 81.
310
   ED&F-00040919, at 79; ISO Data Field Dictionary, available at: https://www.iso20022.org/data-field-
dictionary, last accessed January 14, 2022.
311
      ED&F-00040919, at 79.
312
      ED&F-00604196.xlsx.


                                                       92
      Case 1:18-md-02865-LAK             Document 813-2            Filed 06/10/22        Page 98 of 114



(apart from two trades which relate to stock loans transactions, which I believe to be cancelled and

amended bookings). 313


188.     It appears that the trades marked with 11X00 in the “racine” column are the actual settlement leg

of the relevant rows for each trade. I conclude this because the quantity, Trade Date, and Settlement Date

columns in these rows of the BNP record also match the MT545 in the ED&F Man trade packs. The

other two rows for each trade are presumably related to pre-settlement matching, confirmation, or internal

allocation messages.


189.     Based on a complete mapping of the transactions from ED&F Man records, trade confirms and

SWIFT Messages to these BNP Paribas custody records, I make the observations detailed below.


       V.      BASES FOR OPINIONS ON MR. WARREN’S REPORT


         A.      Opinion 7: The Custody Records Show That the Only TDC Shares That ED&F
                 Man Actually Owned Over the March 11, 2014 Record Date Were Those from
                 Cum-Cum Transactions

190.     By reconciling the BNP Paribas custody unique identifiers to the sizes, dates, and other relevant

trade details, one can confirm that all transactions settled by BNP Paribas relate to the Cum-Cum

transactions, including two stock loans (one with Macquarie and one with Jefferies which both extended

across the Record Date). One can also see that the balance of shares in the BNP Paribas accounts

gradually increases as it acquires shares prior to the Record Date from a balance of zero at open of




313
   The first relates to a stock borrow from Jefferies International which appears to amend the date of the
transaction and the second relates to a stock loan to JP Morgan which appears to have been initially booked
incorrectly to Chase Bank instead of JP Morgan. Since the JP Morgan transaction occurs after the settlement of
the Cum-Ex transactions, it does not impact my analysis. It appears to be ED&F Man using the Cum-Cum shares
as collateral for an overnight financing transaction.


                                                       93
       Case 1:18-md-02865-LAK               Document 813-2           Filed 06/10/22     Page 99 of 114



business on March 6, 2014 to a balance of 24,845,000 at close of business on the Record Date of March

11, 2014 and then back to zero by close of business on March 17, 2014. 314


191.       The figure of 24,845,000 matches the final entry in the ‘noveau_solde’ column in the BNP

Paribas custody records, which translates roughly to updated balance (i.e., each row has a quantity change

in the ‘quantite_mvt’ column followed by an updated balance after that change).


192.       This figure also matches the ED&F Man dividend reconciliation worksheet at ED&F-00040983-

84. 315 This worksheet breaks out ED&F Man’s holdings of TDC shares as of this dividend event by

Pension Plan. It provides matching accounts where each Pension Plan’s shares are held and sums the

total numbers of shares held by ED&F Man in aggregate. The total number of shares included as long

holdings on the ED&F Man Dividend Reconciliation Worksheet is 163,445,000. 316 All of the Tax

Vouchers that I reviewed in my Initial Report which relate to this particular dividend event are included

in that balance. Of those shares, 24,845,000 (or 15.2%) 317 are held at BNP Paribas 318 in account 778523F,

the omnibus account for the Pension Plans on the Record Date of March 11, 2014. 319 The rest of the

shares are listed as being held at Volcafe, ED&F Man Professional Trading (Dubai) Limited, and Equity

Finance vs IDB. 320 The reference to these shares being held at these IDBs is self-serving fiction, as there




314
      ED&F-00604196.
315
      ED&F-00040919.
316
      ED&F-00040919, at 84. 64,300,000 of these shares relate to Volcafe.
317
      Wade Initial Report, Figure 10.
318
      ED&F-00040919, at 83.
319
      Draft SKAT and ED&F Man Market Limited and Others Schedule of Agreed Facts, at p. 3.
320
      ED&F-00040919, at 83-84.


                                                         94
      Case 1:18-md-02865-LAK                Document 813-2        Filed 06/10/22         Page 100 of 114



were no actual shares held by ED&F Man on the Record Date and ED&F Man is treating unsettled Cum-

Ex purchases as if they are real holdings of shares that give rights to a dividend, which they do not. 321


193.       Thus, based on the relevant records of BNP Paribas and ED&F Man that show a total holding of

24,485,000 shares on the Record Date and no pre-Record Date settlement for all the shares related to

Cum-Ex transactions, I conclude that all shares held by ED&F Man on the Record Date relate to the Cum-

Cum transactions.



           B.       Opinion 8: For the Reasons Given in the Wade Initial Report and Expanded on
                    Further Below, the Pension Plans Never Acquired the Shares Related to the Tax
                    Vouchers Issued by ED&F Man for the Cum-Ex Transactions but Instead Settled
                    the Cum-Ex Transactions in Matching, Same Day, In-and-Out, Small Shapes of
                    Shares which Facilitated Settling Large Transactions with a Much Smaller
                    Quantity of Shares

194.       As explained in the Wade Initial Report, ED&F Man could not have genuinely acquired the

number of shares that it claimed it did in the Cum-Ex transactions due to the very large numbers

involved. 322 ED&F Man used settlement strategies involving a significantly smaller number of shares to

purportedly settle the transactions for which it produced Tax Vouchers.


195.       I illustrate this point with an analysis of how ED&F settled trades involving more than 161

million shares of TDC on March 12, 2014. The total number of TDC shares included as “long holdings”

on the ED&F Man Dividend Reconciliation Worksheet is 163,445,000 323. All of the Tax Vouchers that

I reviewed in my Initial Report which relate to this particular dividend event are included in that total and

can be matched to movements in the BNP Paribas accounts on March 12, 2014. As I have previously




321
   ED&F Man have confirmed that the only custody accounts used for settling Danish shares at this time were the
BNP Paribas accounts which I have reviewed. Draft SKAT and ED&F Man Market Limited and Others Schedule
of Agreed Facts, p. 9.
322
      See, Wade Initial Report, ¶¶ 204 – 209 and Figure 9.
323
      ED&F-00040919, at 83.


                                                             95
      Case 1:18-md-02865-LAK                  Document 813-2            Filed 06/10/22   Page 101 of 114



explained, only 24,485,000 shares were actually held at BNP Paribas at close of business on the Record

Date of March 11, 2014.


196.       On March 12, 2014, there were 34 transfers in and 33 transfers out of the BNP Paribas accounts,

resulting in a net 495,000 shares leaving the accounts. This was comprised of gross movements of

161,095,000 (being movements in of 80,300,000 and movements out of 80,795,000) 324, compared to the

138,600,000 total “long holdings” in the reconciliation worksheet excluding the Cum-Cum “long

holdings”. 325 The maximum ‘shape’ which moves in or out is 6,000,000 shares. 326


197.       As explained in the Wade Initial Report, it would simply not have been possible to acquire these

amounts of TDC shares on March 12, 2014. 327 The ADTV for transactions around the March 2014

dividend event was 2,393,898, meaning that ED&F Man settled nearly 67 times the ADTV for TDC on

a single day. 328 It is also about 6.5 times the amount that ED&F Man managed to acquire in Cum-Cum

transactions. Given that ED&F Man was active in the market, no doubt trying to source whatever supply

it could for its clients, the amount of actual Cum-Cum trading is a much more realistic view of ED&F

Man’s likely true ability to acquire real TDC shares.


198.       The only plausible conclusion from my analysis of the BNP Paribas custody records is that ED&F

Man did not acquire 138.6 million TDC shares (or anything like that amount). Instead, ED&F Man settled



324
      In: 74,300,000 in 778523F plus the 6,000,000 shares in 778045F.

Out: 74,795,000 in 778523F plus the 6,000,000 shares in 778045F.

See ED&F-00604196.xlsx and ED&F-00604678.xlsx, tabs “DK0060228559” (ISIN of TDC).

  163,445,000 shares on the schedule ED&F-00040919, at 83 less 24,485,000 shares which were held from
325

Cum-Cum transactions.
326
      ED&F-00604196.xlsx.
327
      See, Wade Initial Report, ¶¶ 204-209.
328
   See Appendix D of the Wade Initial Report for the relevant ADTV data. Even if you count each in an out as a
single settlement this is still over 30 times the ADTV.


                                                          96
   Case 1:18-md-02865-LAK               Document 813-2           Filed 06/10/22      Page 102 of 114



some of the trades in smaller shapes by recycling and reusing the same shares over and over again. Based

on my experience of how such settlement processes would work, I consider it likely that these settlement

loops were started by re-hypothecating some of the Cum-Cum shares. Those shares were likely used to

settle most, if not all, of the 161,095,000 shares which actually settled.


199.    Despite the wide range of holdings by the different Pension Plans clients of ED&F Man which

were purportedly reflected on the dividend reconciliation worksheet, it is evident that the majority of

settlements were for common shape sizes.




                                                      Figure 4




                                                      97
      Case 1:18-md-02865-LAK             Document 813-2            Filed 06/10/22         Page 103 of 114



200.       Based on my experience of the processes used for managing settlement cycles, efficient collateral

management, availability of cash funding lines, and settlement credit risk capacity, it is obvious that these

settlements were carefully optimized to generate the maximum sizes of Cum-Ex transactions that could

be accommodated from the shares that were available from the re-hypothecation of shares held for Cum-

Cum transactions. This is corroborated by the evidence included in my Initial Report 329 that ED&F Man

and its Pension Plans were clearly seeking to maximize the “holdings” claimed with the minimum number

of shares actually acquired as highlighted by the email chain between Sara Mina of ED&F Man and Acer

in which she stated that “Denmark is slightly more efficient settlement wise than Belgium so 25%

coverage should suffice.” 330       This confirms that the parties knew that they could settle multiple

transactions on the same day re-using the actual shares that they were able to source.


201.       As explained in the Wade Initial Report, in the non-Annex E Cum-Ex transactions, the IDB

(IDB1) which was counterparty to the Cum-Ex purchase by the Pension Plan and the other IDB (IDB2)

that ED&F Man sold the shares to allegedly found each other directly or indirectly in the market such

that IDB2 sold or lent the same shares directly or indirectly back to IDB1. This created a circular loop

similar to the Solo trades. Notwithstanding that there were different IDBs in different transactions, if they

all settled their trades through the same custodian (or perhaps 2 or 3 custodians) it would still have been

possible for most of the settlements to occur in a single processing batch. Given that there 7 batches per

day at VP Securities, it would have been relatively straightforward to settle 161,095,000 shares across 67

transactions in one day. 331



329
      Wade Initial Report, ¶¶ 185-203
330
   ED&F-00201236. In fact, this particular settlement was effected with only 10% of the TDC shares (3,030,000
out of 30,300,000). Ibid.
331
   VP Securities has 7 batch settlements per day which allow multiple transactions to be simultaneously settled.
See Section 3.2 Net Settlement of the VP Securities Settlement Rules (Part 4, VP Rule Book.
https://www.vp.dk/Legal-Framework/VP-Rulebook. Last accessed January 30, 2022). It is also possible to do real
time settlement outside the batches although these cannot use the same matching rules to settle all matchable
trades simultaneously as explained in the Settlement Rules.


                                                        98
      Case 1:18-md-02865-LAK              Document 813-2         Filed 06/10/22       Page 104 of 114



202.          I have also read one Bloomberg chat that suggests knowledge among the participating traders

that the number of shares they were able to acquire for these transactions was limited by market supply

more than appetite. In the trade pack ED&F-00042261, at 93, Oliver Bottomley of ED&F Man asks Billy

Kwong of Morgan Stanley for liquidity: “looking for up to 5m shs @ 88 if you have any to go.”332 Mr.

Kwong is able to source the shares, and the chat continues for a few pages until Mr. Bottomley asks,

“think you’ll have anymore to show.” 333 Mr. Kwong replies, “so much for the max 5mm :-) im still

waiting to hear back from a few guys”, to which Mr. Bottomley responds, “haha theres always a new max

:-)”. 334 While these messages do not directly discuss recycling shares, taken along with the other evidence

from the BNP custody record and my own professional knowledge and experience, they corroborate my

view that the 24,845,000 shares actually held on the Record Date was the true capacity of ED&F Man to

locate and acquire TDC shares for this dividend event.



              C.     Opinion 9: The Only Real Dividends Received by ED&F Man in respect of TDC
                     shares on March 12, 2014 Were from The Cum-Cum Transactions. The Pension
                     Plans Did Not Receive Any Real Dividends in Respect of the Cum-Ex Transactions,
                     and, in Fact, the Analysis Produced in the Warren Report Supports This
                     Conclusion and Is Consistent with the Opinions I Expressed in the Wade Initial
                     Report on This Matter

203.          Based on my review of the SWIFT messages for this TDC Dividend event, I can confirm that I

agree with Mr. Warren, that in all Cum-Cum transactions where ED&F Man actually held the underlying

TDC shares, the expected MT566 messages were received.




332
      ED&F-00042261 at 93.
333
      ED&F-00042261 at 95.
334
      Ibid.


                                                       99
      Case 1:18-md-02865-LAK                Document 813-2           Filed 06/10/22         Page 105 of 114



204.        No such messages were received, however, for the Cum-Ex transactions associated with this

dividend event. 335


205.        As Mr. Warren states, the evidence for all the dividends on shares that were actually held by BNP

Paribas on the Record Date, i.e., Cum-Cum transactions, is from the expected SWIFT MT566

Messages. 336


206.        In this dividend event none of dividend compensation payments on the Cum-Ex transactions were

processed by BNP Paribas as the settling custodian, meaning the normal SWIFT messages were not

produced. 337 The ED&F Man trade pack for AIG only includes ShadowSuite screenshots in the last 3

pages, 338 rather than actual SWIFT messages. 339


207.        Instead, the parties appear to have agreed to these payments via email and then made payments

manually. 340 In the case of the Annex E Cum-Ex transactions, the normal SWIFT corporate action

process could not be followed because ED&F Man has admitted to not owning the required shares. 341

The paying custodian cannot process a market claim if it does not have the relevant shares.




335
      ED&F trade packs associated with this dividend event, Wade Initial Report, Appendices C and F.

336
      Warren Report, ¶ 11 k. i.
337
   None of the cum-ex dividend compensation payments were processed by BNP over this dividend event, as
indicated by the absence of MT566’s relating to cum-ex transactions from the trade packs as well as BNP’s
dividend sheet ED&F-00603586.
338
      ED&F-00040919 at 88-90.
339
   This point is also highlighted by the reversal of the market claims initially processed in error by BNP Paribas
on the TRYG 23 April 2013 Record Date dividend. These were initially credited to ED&F Man’s BNP Paribas
account but subsequently reversed on June 27, 2013. Pierre-Antoine Patinet of BNP Paribas confirmed in his
email of June 26, 2013 that this was because the claims had been rejected because the “contractual date > record
date” which I understand to be explaining that they cannot pass on a dividend when the shares did not settle before
the Record Date. See ED&F-00137236.
340
      See for example, ED&F-00040919, at 86-87.
341
      See, Wade Initial Report, ¶ 115.


                                                          100
      Case 1:18-md-02865-LAK              Document 813-2          Filed 06/10/22     Page 106 of 114



208.       Only one SWIFT MT566 message appears in the AIG trade pack in this TDC March 2014

example. 342 However, this SWIFT message relates to the 24,845,000 shares which have already been

established as being related to the Cum-Cum transaction positions that ED&F Man and BNP’s records

both confirm involve shares that BNP actually held during this dividend event. 343



                   1.       Extension of TDC March 2014 Conclusions to Other Dividend Events

209.       I have reviewed all of the other trade packs for the trades in Appendix C and Appendix F of my

Initial Report and found a similar pattern. There are SWIFT MT566 messages representing dividends on

each the share balances held at BNP Paribas or SEB over the Record Date, all of which relate to the Cum-

Cum transactions.


210.       For the Cum-Ex transactions, however, there are no such SWIFT MT566 messages in nearly all

cases, except a handful cases which help to corroborate my understanding of what happened, which is

that the payments received were not real dividends, but instead were contractual payments.


211.       First, there are numerous SWIFT messages included in respect of transactions executed around

the TRYG dividend with Record Date of April 23, 2013. 344 In total, there are 11 SWIFT Messages, five

of which have the Qualifier of “NEWM” in Tag 23G (meaning new message), and the remaining six have

the Qualifier “REVR” (meaning message sent to reverse a previous posting). 345 These are a series of

market claims which were initially credited to ED&F Man shortly after the Record Date but then

subsequently reversed such that the money was debited from the ED&F Man account.




342
      ED&F-00040919, at 85.
343
   See 16-93B-CONB of the SWIFT message in ED&F-00040919, at 85. CONB means confirmed balance. See,
https://www.iso20022.org/15022/uhb/mt566-26-field-93a.htm, last accessed January 16, 2022.
344
      ED&F-00044265.
345
      https://www.iso20022.org/15022/uhb/mt566-3-field-23g.htm.


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      Case 1:18-md-02865-LAK              Document 813-2             Filed 06/10/22          Page 107 of 114



212.       All these SWIFT Messages have the Qualifier “DIVI//REGR” in one of the 22F Tags (meaning

it relates to a regular dividend), and most of them have the additional Qualifier “ADDB//CLAI” indicating

that they are contractual claims not real dividends. 346


213.       This and another reversal 347 in the summer of 2013 are discussed in an email thread 348 between

ED&F Man and BNP Paribas that I have reviewed. At the beginning of the thread, on June 26, 2013,

Pierre-Antoine Patinet of BNP wrote to Miguel Senra of ED&F Man saying, “as the counterpart did not

agree (contractual date > record date) with the claims on trades attached, please liaise directly with your

counterpart to solve this break”. 349 This email demonstrates that because the contractual date (Settlement

Date) of the trades in question was after the Record Date, i.e., the trades were Cum-Ex transactions, the

custodian of the counterparty who sold the shares chose to reject the claim when BNP Paribas requested

a net dividend, which is the expected behavior in my experience. 350 In other words, ED&F Man’s

custodian, BNP Paribas, realized it had made a mistake and then articulated its view that a Cum-Ex trade

does not entitle ED&F Man’s clients to a dividend.


214.       The rejection of these market claims seems to have caused a stir within ED&F Man. Mr. Senra

replied to Mr. Patinet, “Why has DKK market been such an issue this year? Huge compensation

payments with little or no success? Is this because of the complexities of our trades? Please advise, this

[sic] is extremely worrying, that a big institution like yourselves are unable to market claim these huge




346
      https://www.iso20022.org/15022/uhb/mt566-37-field-22f.htm.
347
      ED&F-00076918, at 31-42.
348
      ED&F-00137236.
349
      ED&F-00137236, at 41.
350
   For the reasons explained in the Wade Initial Report, in all likelihood the selling party’s custodian did not
receive delivery of the shares itself until after the Record Date and so would not have had any funds to cover the
market claim.


                                                         102
      Case 1:18-md-02865-LAK                Document 813-2          Filed 06/10/22        Page 108 of 114



amounts. As a % of success, I believe this has been quite poor, I need to understand why?” 351 Later, an

email about a payment made by Mitsubishi on July 5, 2013 shows that ED&F Man was very intent on

sorting out the manual process to replace these reversed payments. In particular, Sagar Ahamed of ED&F

Man Operations stated, “Many thanks for all your help in getting the DKK resolved. As discussed, please

please please can you get this payment out this morning before the DKK cut-off.” 352


215.          The reason these claims had “little or no success” is that a purchase of a dividend-paying stock

needs to settle before or on the Record Date in order to entitle the buyer to the dividend. By definition, a

Cum-Ex trade settles after the Record Date.


216.          From the date of the email thread onwards, there are no more SWIFT MT566 Messages on any

Cum-Ex transactions, either from BNP Paribas or from SEB when ED&F Man switched to using SEB as

its custodian for Danish shares 353.


217.          Excluding the market claims which were reversed, I have only found one SWIFT MT566

message from BNP Paribas related to a Cum-Ex transaction which is not marked as a market claim via

the “CLAI” Qualifier indicating that it is a contractual payment not a real dividend. This MT566 relates

to a dividend paid by CHRH on December 3, 2012, and the total withholding tax suffered by ED&F Man

was DKK39,150. 354 Based on the relatively small amount and given that this was one of the earliest




351
      Ibid.
352
      ED&F-00113963.
353
   There is one MT566 from December 2013 that is erroneously included in the Cum-Ex trade pack ED&F-
00026628. The first page of this trade pack is a Tax Voucher for Cambridge Way, indicating ownership of
1,326,000 shares of Christian Hansen Holdings A/S. The dividend reconciliation sheet in this trade pack at 47
shows that these shares were not held at BNP, and that instead, 5,831,700 shares allocated to other pension plans
were held at BNP. The MT566 in this trade pack at 49 is from BNP, because the Message ID begins with
“OPARBFRPP”, and the share count visible in Index 21, Tag 93B, Tag CONB / UNIT is 5,831,700, matching the
ED&F dividend sheet. Thus, this MT566 is not associated with Cambridge Way’s shares.
354
      ED&F-00025681, at 94 SWIFT 37-19B-WITF.


                                                         103
      Case 1:18-md-02865-LAK                Document 813-2           Filed 06/10/22         Page 109 of 114



transactions undertaken, I am of the view that this is most likely a mis-booking which was not picked up

by BNP Paribas.


218.       MT566 messages from SEB, which are distinguishable via an SEB contact phone number in one

of the message fields 355 as well as a Message ID prefix of “OESSO” rather than “OPARBFRPP” for BNP

Paribas, 356 are only ever associated with Cum-Cum transactions in the trade packs from Appendices C

and F in the Wade Initial Report.


219.       In summary, as Mr. Warren himself acknowledges, there is no evidence of real dividend receipts

by ED&F Man on any of the Cum-Ex transactions (Annex E or otherwise). 357 Such a real dividend receipt

would have been a threshold prerequisite for ED&F Man to pass on a real dividend to its Pension Plan

clients. Accordingly, absent a real dividend, it is not possible that the Pension Plans were entitled to make

a tax reclaim and ED&F Man should not have issued any Tax Vouchers on these transactions.



Based on my review of the facts and circumstances in this litigation, various documents produced in this

litigation, and the analyses presented in this expert report, I submit that the opinions contained herein are

an accurate representation of my views on this matter.


Submitted by:




Graham Wade
February 1, 2022



355
      See, for example, ED&F-00049870, at 903.
356
      Mr. Warren establishes the same distinction in the SWIFT message identifiers. Warren Report, ¶ 22 a.
357
   For Annex E transactions, Mr. Warren notes the admission by ED&F Man that there were no shares and for the
other Cum-Ex transactions he concludes only that ED&F Man received a payment from the Cum-Ex Purchase
counterparty. See, Warren Initial Report, ¶¶ 9(a) and 11 k(ii).


                                                          104
      Case 1:18-md-02865-LAK           Document 813-2        Filed 06/10/22     Page 110 of 114



          Appendix A: Materials Considered

I.         Expert Reports

      •    Expert Report of Adam L. Warren In re Customs and Tax Administration of the Kingdom of
           Denmark (Skatteforvaltningen) Tax Refund Scheme Litigation, December 31, 2021.

      •    Expert Report of Emre Carr In re Customs and Tax Administration of the Kingdom of Denmark
           (Skatteforvaltningen) Tax Refund Scheme Litigation, December 31, 2021.

      •    Expert Report of Graham Wade In re Customs and Tax Administration of the Kingdom of Denmark
           (Skatteforvaltningen) Tax Refund Scheme Litigation, December 31, 2021.


II.        Specific Bates Stamped Documents
BVI_00004227                          ELYSIUM-00873871                    ELYSIUM-01860774
BVI_00013784                          ELYSIUM-00879476                    ELYSIUM-02301014
BVI_00014746                          ELYSIUM-01001178                    ELYSIUM-02521340
BVI_00016570                          ELYSIUM-01307083                    ELYSIUM-02997512
BVI_00016680                          ELYSIUM-01311710                    ELYSIUM-03064431
BVI_00016691                          ELYSIUM-01342518                    ELYSIUM-03078154
CAYMAN_00000002                       ELYSIUM-01354486                    ELYSIUM-032000803
CAYMAN_00000083                       ELYSIUM-01363300                    ELYSIUM-03200803
CAYMAN_00002658                       ELYSIUM-01365057                    ELYSIUM-03255608
CAYMAN_00002698                       ELYSIUM-01365057                    ELYSIUM-03436516
CAYMAN_00002756                       ELYSIUM-01450347                    ELYSIUM-03572332
CAYMAN_00004211                       ELYSIUM-01475804                    ELYSIUM-03572340
CAYMAN_00004215                       ELYSIUM-01482371                    ELYSIUM-03572348
CAYMAN_00005688                       ELYSIUM-01482447                    ELYSIUM-03572445
ED&F-00025681                         ELYSIUM-01488492                    ELYSIUM-03572456
ED&F-00025694                         ELYSIUM-01552933                    ELYSIUM-03572522
ED&F-00026581                         ELYSIUM-01552935                    ELYSIUM-03582169
ED&F-00040919                         ELYSIUM-01552936                    ELYSIUM-03582197
ED&F-00041059                         ELYSIUM-01552940                    ELYSIUM-03582227
ED&F-00041108                         ELYSIUM-01553174                    ELYSIUM-03638508
ED&F-00041236                         ELYSIUM-01553174                    ELYSIUM-03638540
ED&F-00042261                         ELYSIUM-01554930                    ELYSIUM-03638558
ED&F-00042905                         ELYSIUM-01555519                    ELYSIUM-03638569
ED&F-00044265                         ELYSIUM-01574028                    ELYSIUM-03638582
ED&F-00047428                         ELYSIUM-01574029                    ELYSIUM-03638592
ED&F-00049870                         ELYSIUM-01574029                    ELYSIUM-03638605
ED&F-00076918                         ELYSIUM-01744706                    ELYSIUM-03638673
ED&F-00137236                         ELYSIUM-01744925                    ELYSIUM-03638676
ED&F-00201236                         ELYSIUM-01744940                    ELYSIUM-03853867
ED&F-00603586                         ELYSIUM-01746161                    ELYSIUM-03860310
ED&F-00604196                         ELYSIUM-01823054                    ELYSIUM-04028325
ED&F-00604678                         ELYSIUM-01823066                    ELYSIUM-04029719
ED&F-00605994                         ELYSIUM-01823082                    ELYSIUM-04029726
ED&F-00605995                         ELYSIUM-01823083                    ELYSIUM-04030897
ED&F-00605996                         ELYSIUM-01860759                    ELYSIUM-04052746

                                                   105
     Case 1:18-md-02865-LAK             Document 813-2         Filed 06/10/22     Page 111 of 114



ELYSIUM-04052784                        ELYSIUM-04520662                   MPSKAT00119640
ELYSIUM-04053345                        ELYSIUM-04520674                   MPSKAT00135581
ELYSIUM-04121959                        ELYSIUM-05087718                   MPSKAT00166249
ELYSIUM-04443491                        ELYSIUM-05822425                   PROPPACIF00001035
ELYSIUM-04443787                        ELYSIUM-06020028                   PROPPACIF00001323
ELYSIUM-04449409                        ELYSIUM-07232611                   RC00000056
ELYSIUM-04449621                        ELYSIUM-07639612                   SKAT_MDL_001_00056852
ELYSIUM-04450231                        ELYSIUM-08521698                   SKAT_MDL00100056852
ELYSIUM-04520288                        ELYSIUM-09318785                   WH_MDL 00317825
ELYSIUM-04520295                        ELYSIUM-09758834                   WH_MDL_00317825
ELYSIUM-04520438                        ELYSIUM-10259211                   WH_MDL_00461595
ELYSIUM-04520454                        FGC_SKAT-0000780                   WH_MDL_00462434
ELYSIUM-04520595                        GUNDERSON00009928                  WH_MDL_00464384
ELYSIUM-04520612                        MPSKAT00000961                     WH_MDL_00476560
ELYSIUM-04520623                        MPSKAT00068151


III.       Deposition Transcripts

       •   Deposition Transcript of Richard Markowitz, April 8, 2021.

       •   Deposition Transcript of Robert Klugman, January 28, 2021.

       •   Deposition Transcript of Ronald Altbach, October 30, 2020.


IV.        Legal Documents

       •   Draft SKAT and ED&F Man Market Limited and Others Schedule of Agreed Facts.

       •   The High Court of Justice, Business and Property Courts of England & Wales, Commercial Court,
           SKAT v. Solo Capital Partners (in Special Administration) & Others, Sanjay Shah Defendants’
           Response to Claimant’s Request Dated June 4, 2019 for Further Information Under CPR 18.


V.         Statutes and Rules

       •   Capital Requirements Regulation (CRR): REGULATION (EU) No 575/2013 OF THE
           EUROPEAN PARLIAMENT AND OF THE COUNCIL of 26 June 2013 on prudential
           requirements for credit institutions and investment firms

       •   Directive 2004/109/EC of the European Parliament and of the Council of 15 December 2004 on
           the harmonization of transparency requirements in relation to information about issuers whose
           securities are admitted to trading on a regulated market and amending Directive 2001/34/EC.


VI.        Publicly Available Documents

       •   https://content.next.westlaw.com/3-585-
           3525?__lrTS=20210717033739649&transitionType=Default&contextData=(sc.Default)&firstPag
           e=true#co_anchor_a561904



                                                    106
Case 1:18-md-02865-LAK           Document 813-2          Filed 06/10/22      Page 112 of 114




•   https://corporatefinanceinstitute.com/resources/knowledge/finance/sharpe-ratio-definition-
    formula/
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                                           109
